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      1                        UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
      2

      3    N.V.E., INC.,                      :         Civil Action No.:
                                              :         2:06-cv-5455-GEB-ES
      4             Plaintiff,                :
                                              :
      5        vs.                            :
                                              :
      6    JESUS J. PALMERONI, a/k/a Joseph   :
           Palmeroni, RONALD SUMICEK, SUNBELT :
      7    MARKETING, ABC CORPORATIONS 1-10   :
           and JOHN DOES 1-10,                :
      8                                       :
                    Defendants.               :
      9    ---------------------------------- :
           JESUS J. PALMERONI,                :
      10                                      :
                    Third-Party Plaintiff,    :
      11                                      :
               vs.                            :          Newark, New Jersey
      12                                      :          Thursday, May 26, 2011
           ROBERT OCCHIFINTO and WALTER       :          2:50 p.m.
      13   ORCUTT,                            :
                                              :
      14            Third-Party Defendants.   :

      15                       TRANSCRIPT OF MOTION HEARING
                            BEFORE THE HONORABLE ESTHER SALAS
      16                      UNITED STATES MAGISTRATE JUDGE

      17   APPEARANCES:

      18   For Plaintiff and
           Third-Party Defendants:          Pashman Stein, PC
      19                                    By: ELLEN W. SMITH, ESQUIRE
                                                 AIDAN P. O’CONNOR, ESQUIRE
      20                                    Court Plaza South
                                            21 Main Street, Suite 100
      21                                    Hackensack, NJ 07601-7054

      22   Transcription Company:           KLJ Transcription Service, LLC
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                                                                                    2

      1    APPEARANCES (Cont.):

      2    For Defendant/Third-Party
           Plaintiff Jesus Palmeroni:       FRED SHAHROOZ SCAMPATO, ESQUIRE
      3                                     445 East Broad Street, 2nd Floor
                                            Westfield, NJ 07090
      4
                                            DAVID ROSTAN, ESQUIRE
      5                                     248 Columbia Turnpike, Building 1
                                            Florham Park, NJ 07932
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                            Colloquy / Synopsis by the Court                        5

      1                    (Conference commenced at 2:50 p.m.)

      2              THE COURT:    -- et al., Civil Action Number 06-5455.

      3              Can I have appearances by counsel, please?

      4              MS. SMITH:    Ellen Smith from Pashman Stein, Your

      5    Honor; and Mr. O’Connor just stepped out for a second.

      6              THE COURT:    All right.    I’ll --

      7              MS. SMITH:    He’ll be right back in.

      8              THE COURT:    I’m sure I’ll see him shortly.

      9              And for the defendants?

      10             MR. SCAMPATO:    Good afternoon, Your Honor.       Fred

      11   Shahrooz Scampato, representing defendant/third-party

      12   plaintiff, Mr. Palmeroni.

      13             MR. ROSTAN:    Good afternoon, Your Honor.      David

      14   Rostan on behalf of third-party plaintiff and defendant, Mr.

      15   Palmeroni.

      16             THE COURT:    All right.    And Mr. Palmeroni is present

      17   in court; I can see him in the back.

      18             So, the Court is going to do two things.        We have

      19   actually two matters to address today.

      20             The first matter that we have to address is the

      21   sanctions motion that was filed by Mr. Palmeroni; and that

      22   sanction motion was filed back on February 15, 2011.          I did

      23   review the motion itself; that’s document 180-1.         There were

      24   several attachments, as well, that were reviewed by the Court.

      25             And of course we have an opposition; that’s document
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      1    186, filed March 2nd, along with declarations by Mr. Yang, Mr.

      2    Jensen and by Ms. Smith.

      3               Then we have a reply brief that was also filed in

      4    this matter; and I have had the benefit of --

      5               Hello, Mr. O’Connor.    How are you?

      6               I’ve had the benefit of looking at the reply brief,

      7    as well, in preparation for today’s argument.

      8               So, I am going to hold the argument on the sanctions

      9    motion.    Counsel, during a previous conference with me,

      10   indicated that they had, despite the pending motion to

      11   withdraw, which is the next issue that we have to address at

      12   the end of today’s hearing, counsel indicated to me that they

      13   were willing at least to argue the sanctions motion.          Is that

      14   still correct, counsel?

      15              MR. SCAMPATO:    Yes, Your Honor.

      16              THE COURT:   All right.

      17              MR. O’CONNOR:    Judge, if we might ask Mr. -- I

      18   believe Mr. Palmeroni is here and I just want to make sure

      19   that he understands that, although his counsel have made a

      20   motion to withdraw, that he consents to them arguing this

      21   motion on his behalf.

      22              THE COURT:   All right.    Mr. Palmeroni, do you

      23   consent?

      24              MR. PALMERONI:    Yes, Judge.

      25              THE COURT:   All right.    And he has consented to them
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                                    Palmeroni - Consent                             7

      1    and the record will reflect that he also nodded when Mr.

      2    O’Connor was speaking.

      3              So, Mr. Palmeroni, one more time, just please stand

      4    and say once again; do you understand it’s kind of a weird

      5    situation, in that you have attorneys that are seeking to

      6    withdraw from the case and you’re opposing that withdrawal, so

      7    we have to address that?      But they have written and

      8    extensively on this issue of sanctions, a 52-page brief on it,

      9    along with a reply brief; it is being opposed.         So, it’s an

      10   awkward posture for the parties to be in.

      11             But you still, despite the motion to be relieved as

      12   counsel or to withdraw as counsel in this case, you consent to

      13   them arguing the sanctions motion?

      14             MR. PALMERONI:    Yes, Your Honor.     I feel that there

      15   was a lot of work put into the motion.        I feel the motion was

      16   a proper motion and I think that --

      17             THE COURT:    You’re going to have to come forward, Mr.

      18   Palmeroni.   Come to the podium, please.

      19                              (Extended pause)

      20             THE COURT:    Go ahead.    You were saying?

      21             MR. PALMERONI:    I was saying that I think the motion

      22   is a proper motion, they spent a lot of time on it and I feel

      23   that they can argue the motion.       So, I do agree with it.

      24             THE COURT:    All right.    And you do consent?

      25             MR. PALMERONI:    Yes, I do consent.
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                        Palmeroni - Consent / Scampato - Argument                   8

      1              THE COURT:    All right.

      2              MR. PALMERONI:    Yes, Your Honor.

      3              THE COURT:    Thank you so much, sir.

      4              Mr. O’Connor, do you have any questions to ask of Mr.

      5    Palmeroni?

      6              MR. O’CONNOR:    No, sir.    I believe that was

      7    sufficient, Your Honor.

      8              THE COURT:    Okay.    So, we’re going to start with --

      9    let’s start with the sanctions motion.        We’ll start with

      10   defense counsel.    And I have, again, had the benefit of

      11   reading the brief and I do have a couple of questions for both

      12   sides, but I’ll allow you to at least place on the record your

      13   arguments.   And feel free to refer to the submission and

      14   amplify any portions of the submission you feel necessary.

      15             MR. SCAMPATO:    Thank you, Your Honor.      Is it okay to

      16   argue from here, Your Honor?

      17             THE COURT:    It is.   We’re picking you up just fine.

      18             MR. SCAMPATO:    May it please the Court, Your Honor,

      19   Fred Shahrooz Scampato on behalf of Mr. Palmeroni.

      20             There’s no way I could really give you all of the

      21   information that has already been meticulously provided in our

      22   papers.   The few points that I wanted to highlight are that,

      23   key to this litigate -- to this motion are two issues:          one is

      24   the --

      25             THE COURT:    You know what, Mr. Scampato?      I’m going
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                                      Scampato - Argument                           9

      1    to ask you come forward.

      2               MR. SCAMPATO:    Okay.

      3               THE COURT:   Because sometimes we pick you up and

      4    sometimes we don’t.

      5               MR. SCAMPATO:    Right.

      6                                (Extended pause)

      7               MR. SCAMPATO:    Key to the issue that is before Your

      8    Honor are two issues:      the first one is --

      9               THE COURT:   Put that mic close to you, sir.

      10              MR. SCAMPATO:    The first one is prejudice; the second

      11   one is culpability.

      12              The prejudice here is extensive.      In our reply brief,

      13   we tried as well as we could to identify specific categories

      14   that -- of documents that no longer exist.        Those are on pages

      15   6 through 10.    It would include sales data records,

      16   commissions, broker and distributor records, financial

      17   compensation records, insurance documents, documents requested

      18   in defendants’ requests for admissions, internal and external

      19   correspondences, the MACS generated documents and computer and

      20   e-mails.   And e-mails I think are -- is extremely important

      21   here.   The --

      22              THE COURT:   But here’s what I want to do, because I

      23   want to try to understand and it’s not clear -- believe me, I

      24   have read these submissions actually several times in trying

      25   to get to the bottom of some of this information.
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                                      Scampato - Argument                        10

      1               The issues we have, we have the MACS system issue; we

      2    have the shredded documents issue; and then the e-mails and

      3    server issue.    Right?

      4               MR. SCAMPATO:     Yes, Your Honor.

      5               THE COURT:     Okay.   So, what I want to deal with first

      6    off is I want to start talking about when your first requests

      7    for production went out and when you first requested e-mails,

      8    as well as the sales and commission information.          When did you

      9    -- when did your client first make that request?

      10              MR. SCAMPATO:     The first request was in the initial

      11   disclosures, where --

      12              THE COURT:     Okay.

      13              MR. SCAMPATO:     -- I believe the plaintiff --

      14              MR. ROSTAN:     No, when was the defendants’ first

      15   request?

      16              THE COURT:     Right, your -- well, --

      17              MR. SCAMPATO:     Defendants.   Defendants --

      18              MR. ROSTAN:     It was in March of --

      19              MR. SCAMPATO:     It was -- there was indication, I

      20   think by both sides, that sales records -- and that was in

      21   2007 -- that sales records that -- as well as sales documents

      22   were relevant.

      23              What’s really key, even before those, is the fact

      24   that, unlike a lot of litigations, as soon as the parties

      25   parted ways, there was an understanding that there was going
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                                      Scampato - Argument                          11

      1    to be a lawsuit here.      There was no question about it.

      2               THE COURT:    Your understanding is that -- was there

      3    ever a litigation hold in this case?

      4               MR. SCAMPATO:    No.   We’ve requested it.     We have not

      5    been provided with --

      6               THE COURT:    And you would argue -- and I tend to

      7    agree with you -- that the minute that Mr. Palmeroni was

      8    terminated on January 6th of 2006, right?

      9               MR. SCAMPATO:    That’s right.

      10              THE COURT:    That would be a red flag to the company

      11   that there was an issue with respect to Mr. Palmeroni,

      12   correct?

      13              MR. SCAMPATO:    Right, because very, very shortly

      14   after Mr. Ozzie Torres, Mr. Palmeroni’s personal attorney,

      15   sent a letter in stating --

      16              THE COURT:    January 24th.

      17              MR. SCAMPATO:    -- stating that we’re going to bring a

      18   lawsuit against you.     Right at that point, the machinery

      19   started working for N.V.E. to obtain Pashman Stein as their

      20   counsel to handle this specific litigation.

      21              THE COURT:    When did -- you referenced it, but I want

      22   it on the record.     When did Pashman Stein come into the case?

      23              MR. SCAMPATO:    I think it was --

      24              MR. ROSTAN:    Exhibit 7.

      25              MR. SCAMPATO:    I’m sorry?
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                                       Scampato - Argument                       12

      1                MR. ROSTAN:    What the Ozzie Torres letter is Exhibit

      2    7.

      3                MR. SCAMPATO:    No.    The -- when did they get

      4    permission from the bankruptcy attorney?

      5                MR. ROSTAN:    That was the -- that was I believe --

      6                MR. SCAMPATO:    In March.

      7                MR. ROSTAN:    -- January 25, 2006 was the Daniel Stolz

      8    letter --

      9                MR. SCAMPATO:    Okay.

      10               MR. ROSTAN:    -- from the --

      11               THE COURT:    Okay.

      12               MR. SCAMPATO:    That’s when it started.

      13               THE COURT:    Right.    So, you --

      14               MR. SCAMPATO:    So they had ultimately got permission.

      15               THE COURT:    So, here is my question.    So, your

      16   understanding as an attorney would be that January 6th was as

      17   far back when they terminated him.

      18               MR. SCAMPATO:    Right.

      19               THE COURT:    You have a January 24th letter that’s

      20   sent out by Osvaldo F. Torres.        Then you have a letter that we

      21   know counsel is now being requested and obtained as far back

      22   as January 25th.

      23               MR. SCAMPATO:    Yes, Your Honor.

      24               THE COURT:    Correct?

      25               MR. SCAMPATO:    Yes.
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                                      Scampato - Argument                           13

      1               THE COURT:   And a litigation hold at the time, would

      2    you argue, would have been -- a litigation hold is generally a

      3    very general hold; anything to do with Mr. Palmeroni --

      4               MR. SCAMPATO:    Right, right.    Yes.

      5               THE COURT:   -- arguably.

      6               MR. SCAMPATO:    Exactly.   That’s exactly our point.

      7    Our point is that he was the national sales manager, so any

      8    transactions that dealt with him being in the role of national

      9    sales manager, regardless of what they uncovered at that

      10   point, should have been placed on hold.        That’s why, you know,

      11   if we had that, if we had that general hold, then we would

      12   have no -- absolutely no problem with being able to defend

      13   against the Smart World allegations that have now occurred.

      14              THE COURT:   But you would argue -- because what the

      15   other side says in their opposition is that they had no idea;

      16   you know, they were focusing, when they focused on relevant

      17   documents and what to -- obviously, what to obtain, had to do

      18   with Smart -- they had no idea that Smart World was even in

      19   the picture, they were just looking at Sumicek and Sunbelt.

      20              But you would argue, right, because there were

      21   counterclaims involved, CEPA claims -- they had notice of

      22   various issues -- that the relevant documents and the span of

      23   relevant documents went outside Sunbelt and went outside

      24   Sumicek.

      25              MR. SCAMPATO:    Yes.   Absolutely, Your Honor.      And in
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                                     Scampato - Argument                            14

      1    addition to that, they weren’t even sure and in their pleading,

      2    the way that they wrote the pleading, they said, at this time,

      3    we are aware of this, but we’re not -- you know, we don’t know

      4    for sure if there’s going to be other things coming out.           So,

      5    they were just beginning their investigation.         They weren’t --

      6    they weren’t sure what they uncovered; and that          even before, I

      7    guess a year before the litigation began, in         the summer of

      8    2006, they started taking depositions that were relevant to

      9    this litigation through the bankruptcy powers, the powers

      10   through the bankruptcy trustee.

      11             So, they knew that they had investigations to be

      12   conducting and they didn’t know exactly how broad or how un --

      13   how narrow these investigations would be.

      14             THE COURT:    So, what’s -- you know, obviously there’s

      15   certain categories of documents missing, all right?          And what

      16   I’m trying to figure out is, what’s on the server --

      17             MR. SCAMPATO:     Right.

      18             THE COURT:    -- and what was shredded.

      19             MR. SCAMPATO:     Right.   Right.

      20             THE COURT:    Right?    Because what’s on the server --

      21   now, we know that they started this conversion in November of

      22   2000 -- they actually say, November 1st of 2005.

      23             MR. SCAMPATO:     Right.

      24             THE COURT:    And then they actually finished the

      25   conversion in May of ‘06, right?       Into the new system.      Into
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                                       Scampato - Argument                        15

      1    the --

      2                MR. SCAMPATO:    We know that as of through a document

      3    that I was able to uncover, having read all of the 10,000 that

      4    they supplied.     There was one particular document that

      5    indicated that the MACS system was still in operation in May

      6    of 2007.    So, that’s obviously along the way into this.         If

      7    they had a litigation hold, they would have been able to

      8    place --

      9                THE COURT:   At minimum, backup.

      10               MR. SCAMPATO:    Backup, of course.    Not -- we’re not

      11   asking them to do anything, but certainly it’s not hard to get

      12   a backup.    That’s part of it.       The -- I don’t -- the story

      13   morphs over the period of time.        Every time we would obtain

      14   information, something different would be told.

      15               As we stand here to -- I stand here today, Your

      16   Honor, I don’t know what part of their e-mail server is

      17   intact, is not intact; that’s never been supplied.          The only

      18   thing that we know for sure is that, when it comes to Joseph

      19   Palm -- Jesus Palmeroni, Vincent Rosarbo and two of Mr.

      20   Palmeroni’s assistants, they are no longer on --

      21               THE COURT:   Jennifer Hunsicker and Jacqueline Prasse.

      22               MR. SCAMPATO:    Right.    They are no longer on the

      23   e-mail server.     We don’t know any other information, other

      24   than that.

      25               What’s extremely key in this case is that in our
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                                     Scampato - Argument                           16

      1    initial interrogatories, we describe documents in a broad way,

      2    to include e-mails.     And as we stand here today, the only

      3    settled documents that were produced by plaintiff, that have

      4    more than literally a handful of e-mails contained in it, are

      5    only those documents from Mr. Perdell (phonetic) from 2005, I

      6    believe, to 2007 dealing with Smart World.

      7              We don’t have any other e-mails.        And the e-mails

      8    that were missing are relevant to so many different areas.

      9    They’re relevant to Smart World.       What was the profit?      What

      10   kind of profit did you have?       What was the percentage of

      11   profit that you’re going to get?       We would have been able to --

      12             THE COURT:    Well, arguably, the e-mails would contain

      13   even the commission information and back and forth from Mr.

      14   Occhifinto to Mr. Palmeroni on here.

      15             MR. SCAMPATO:     Exactly.   The commission information --

      16             THE COURT:    And here’s a question that I’m -- you

      17   know, I’m going to ask you, but I really want to hear from Mr.

      18   O’Connor, because I disagree with N.V.E. strongly that this is

      19   a non-issue.    I am very concerned about some of this e-mail

      20   and being wiped -- his computer being wiped clean.          And let me

      21   tell you why.

      22             This has been a litigation that has been ongoing and

      23   hotly contested.     I have had to have numerous conferences with

      24   the parties throughout the years.       For me to hear for the

      25   first time that Mr. Palmeroni’s computer, which they had
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                                     Scampato - Argument                         17

      1    possession of, was wiped clean, now in opposition, and that

      2    there is some kind of -- they are intimating or they seem to

      3    be intimating that he was friends with the system

      4    administrator and that the system administrator was fired in

      5    March or -- February or March of 2006, and that I never heard

      6    from N.V.E. that there was a spoliation issue they had on

      7    their end with respect to -- because they’re in the process of

      8    uncovering all this stuff and nobody bothers to look at his

      9    hard drive?    That’s just mind boggling to me right now.

      10             And then I’m hearing for the first time, we don’t

      11   know who wiped it clean; we don’t know how it happened; that

      12   it was not only wiped off the computer, but wiped off the

      13   server; and that I never heard from N.V.E., in all these years

      14   of litigation, their own request for spoliation as it relates

      15   -- if they thought he did it or had any hand in doing it.

      16             So, I guess I want to hear your comment -- and then,

      17   of course, I’m going to want to hear from Mr. O’Connor on it --

      18   your comment on this issue, because that -- in that system and

      19   in those e-mails there’s a lot of information you seek, is it

      20   not?

      21             MR. SCAMPATO:     Yes, Your Honor.     I think our -- the

      22   authority on this issue is with Major Tours, which applied the

      23   Zubulake case.     And in that case, as I put in the reply brief,

      24   the obligation isn’t only to provide a litigation hold, but to

      25   have -- for the attorneys to have an active role in making
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                                     Scampato - Argument                          18

      1    sure that those litigation holds are followed through, that

      2    documents that need to be preserved, computers need to be

      3    backed up, are done properly.

      4              That, if there is a destruction of any documents,

      5    such as they had made in 2009, that that be under the

      6    supervision of an attorney.       We don’t have the litigation

      7    hold.   We don’t have any proof.      We don’t have an inventory of

      8    the documents that were lost.       We don’t have an inventory of

      9    the documents --

      10             THE COURT:    Or a protocol.

      11             MR. SCAMPATO:     -- that were shredded.

      12             THE COURT:    Or a protocol.

      13             MR. SCAMPATO:     Or a protocol.    There was no protocol

      14   in place for this company, even though it has been in numerous

      15   litigations throughout the years.       This isn’t an isolated case

      16   where this is the only litigation N.V.E. has been in.           It’s

      17   been in a number of litigations over the period of time in the

      18   last 11 years.     Therefore, it’s even more, it gives more

      19   reason as to why a protocol should have been in place.

      20             Obviously, the lack of it is an issue of credibility.

      21   The fact that their story morphs from when we first learn

      22   about it until the --

      23             THE COURT:    Tell me how it morphed.

      24             MR. SCAMPATO:     -- the opposition.

      25             Well, for example, when we originally found out about
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 19 of 197 PageID: 4567
                                     Scampato - Argument                            19

      1    the shredding, we were told that this administrative assistant

      2    was shredding documents.      That she went through this storage

      3    area and she just picked up files and started shredding

      4    documents.    That was --

      5              THE COURT:    Heather Gamboa, right?

      6              MR. SCAMPATO:     That was what our understanding was.

      7    And that it occurred at a certain time in 2009.

      8              The second time that we learned about it --

      9              MR. ROSTAN:    It was an unspecified time.

      10             MR. SCAMPATO:     An unspecified time, but sometime in

      11   2009.

      12             The second time we learned it, it was a little bit

      13   earlier in 2009 and this time she had Mr. Jensen being more

      14   involved in it.     In their opposition brief, for the first time

      15   Mr. Jensen, in his affidavit, states that he took his time to

      16   go through everything, to make sure that there was nothing

      17   relevant about it, with the understanding that this is now two

      18   years after the fact that this affidavit is coming out.           That

      19   we weren’t advised of any shredding in 2009, 2010.

      20             Another --

      21             THE COURT:    When were you first --

      22             MR. SCAMPATO:     Another morphing, --

      23             THE COURT:    -- advised of it?

      24             MR. SCAMPATO:     I’m sorry?

      25             THE COURT:    That you were first advised in -- on
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 20 of 197 PageID: 4568
                                     Scampato - Argument                         20

      1    November 19th, right?

      2              MR. SCAMPATO:     Right; 2010.

      3              THE COURT:    Of 2010, right?

      4              MR. SCAMPATO:     And another morphing, Your Honor, just

      5    as significant, is the MACS system.        In one group of papers,

      6    they state that the MACS system -- in the first, the initial

      7    document that we received, they said that the MACS system was

      8    an accounting system.      In their opposition brief, they stated

      9    the MACS system is not an accounting system; that it is a data

      10   entry system.    So, we don’t even know what the MACS system is.

      11   And I believe that’s highlighted, that discrepancy is

      12   highlighted in the reply brief in our papers.

      13             So, these internal discrepancies are -- go to

      14   culpability.    They go to -- I think that Your Honor had an

      15   earlier case that dealt with a similar type of a situation

      16   where, at some point we know that the defendant had control of

      17   this.   Or the party in that particular -- and now we know that

      18   the defendant no longer has control of it.

      19             So, that’s really what the issue is and that’s what I

      20   would submit is what controls here, is the fact that they had

      21   everything, they had the ability to put through the --

      22             THE COURT:    So, tell me what you’re missing.

      23             MR. SCAMPATO:     -- protocols and follow through.

      24             THE COURT:    Tell me what you’re missing, because what

      25   I’m trying to understand is what you don’t have in hand with
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 21 of 197 PageID: 4569
                                     Scampato - Argument                         21

      1    respect to any of your defenses and/or counterclaims.

      2              MR. SCAMPATO:     Right.   There’s a number of -- I guess

      3    the one that I would start with is the lack of sales data that

      4    would otherwise have allowed us to find out what their profit

      5    was for Smart World.     If there’s no loss of profit, then there

      6    is no damages with regard to that amended complaint, that

      7    aspect of the amended complaint.

      8              We can no longer determine what their profit was,

      9    because we don’t have the e-mails, we don’t have the

      10   commissions, we don’t have any of the information that we

      11   have.   The example, with Sumicek.      All of the documentation

      12   that we have with Sumicek, we don’t have any of that

      13   documentation.     But even -- regardless of whether it’s Sumicek

      14   or it’s Smart World, we don’t have e-mails between the sales

      15   people, we don’t have e-mails between the customers, we don’t

      16   have e-mails between the brokers.       We don’t have all of those

      17   things that would confirm the oral conversations that they

      18   have.

      19             And so that prevents us, not only from being able to

      20   defend Smart World -- and that is the main reason why we’re

      21   seeking exclusion of that count, as opposed to an adverse

      22   inference -- but with regard to the brokers, that is something

      23   that rises in one of our defenses; and that is that, if Mr.

      24   Palmeroni asserts that, yes, he did get a certain amount of

      25   percentage of income from Sunbelt, but that was something that
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 22 of 197 PageID: 4570
                                     Scampato - Argument                         22

      1    was dealt -- was negotiated with Mr. Occhifinto.

      2              And the reason why it was negotiated with Mr.

      3    Occhifinto was because Mr. Palmeroni said “Your brokers are

      4    charging you way too much; they are charging you ten percent.

      5    I can bring you -- I can make them bring it down.”          And Mr.

      6    Occhifinto allegedly said something to the effect that “If you

      7    can bring that down, then you can keep a percentage of what

      8    you save for us.”

      9              It’s very clear from all of this litigation that Mr.

      10   Occhifinto and N.V.E. does not like to have written contracts.

      11   So, the fact that this was an oral contract is not something

      12   that is really unusual regarding the modus operandi of N.V.E.,

      13   so why -- so the -- it becomes absolutely critical as to what

      14   documents we can obtain regarding the original brokers, the

      15   brokers that existed before Mr. Palmeroni --

      16             THE COURT:    And those original brokers, --

      17             MR. SCAMPATO:     -- became involved.

      18             THE COURT:    -- are those the three brokers you noted

      19   with respect to Wayne Dail, Harold Miller and Kris Sujack?

      20             MR. SCAMPATO:     That’s right, Your Honor.

      21             THE COURT:    And you say you have no information with

      22   respect to Sujack?

      23             MR. SCAMPATO:     Yeah, they have made -- they lost him.

      24   They don’t -- they don’t have him.        One of the three.     I don’t

      25   know which one it was, but one of the three.
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 23 of 197 PageID: 4571
                                      Scampato - Argument                         23

      1               MR. O’CONNOR:    That’s just a mischaracterization of

      2    our position.

      3               THE COURT:   It says missing -- you’re missing

      4    information concerning -- at least what I obtain from page 12

      5    of your brief, is that you’re missing info concerning broker

      6    Sujack, and there is actually no actual sales and commission

      7    data for all three brokers.

      8               MR. SCAMPATO:    Right.   And that -- if we had the

      9    e-mails, the e-mails would also have the discussions regarding

      10   what the percentages were.

      11              THE COURT:   So, you’re missing the -- but I’m trying

      12   to be clear.

      13              MR. SCAMPATO:    Right.

      14              THE COURT:   So, we’re missing e-mail, totally.

      15              MR. SCAMPATO:    We’re missing e-mails.     We’re miss --

      16              THE COURT:   We’re missing e-mails, --

      17              MR. SCAMPATO:    -- brokerage information.

      18              THE COURT:   -- but you’re also missing the actual

      19   sales and commission information with respect to those

      20   brokers.    You don’t have any of that?

      21              MR. SCAMPATO:    Some of them we have, but with regard

      22   to Sujack we do not.

      23              THE COURT:   Okay.

      24              MR. SCAMPATO:    I believe there was one broker that,

      25   upon us filing this motion, we received information about one
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 24 of 197 PageID: 4572
                                     Scampato - Argument                           24

      1    of the three brokers.

      2                (Discussion among counsel, off the record.)

      3              MR. SCAMPATO:     I don’t remember which one it was, but

      4    there was -- it was shortly after we filed a motion that we

      5    obtained some of the information.       The --

      6                               (Extended pause)

      7              THE COURT:    All right.    So, you -- you --

      8              MR. SCAMPATO:     The insurance documents go towards the

      9    counterclaim.    And Mr. Rostan has been seeking information and

      10   that -- that is absolutely critical to that count -- that

      11   particular counterclaim that has now -- that has not been

      12   provided to us.     We assume that it was lost.

      13             One of the ways that we really found out about this --

      14   how broad-based this was, was the fact that after we found out

      15   about the spoliation issue, we went back to plaintiff’s

      16   request for admissions, which took place I believe in March of

      17   2010, so several months earlier, and that’s when we first

      18   found out that their answers said we don’t have documents that

      19   are responsive to this.

      20             THE COURT:    Let me ask you about your -- because I

      21   was confused and I was following that in your brief and I

      22   don’t know if this -- this is on page of your brief.          Exhibit

      23   17, when I pull Exhibit 17?

      24             MR. SCAMPATO:     Yes.

      25             THE COURT:    It is --
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 25 of 197 PageID: 4573
                                      Scampato - Argument                           25

      1               MR. SCAMPATO:    It’s the wrong one.

      2               THE COURT:    Okay.

      3               MR. SCAMPATO:    Yes.    I know, Your Honor.    I believe

      4    what we did was --

      5               THE COURT:    Counsel, when I am trying to prepare for

      6    this, --

      7               MR. SCAMPATO:    Right.

      8               THE COURT:    -- and you guys cite the wrong thing, --

      9               MR. SCAMPATO:    We did.

      10              THE COURT:    -- you don’t understand what it does to

      11   me.

      12              MR. SCAMPATO:    We did.

      13              THE COURT:    Because you have Response of Defendant

      14   Palmeroni to Plaintiff’s Requests for Admissions.

      15              MR. SCAMPATO:    Yeah, we tried to -- I     believe we

      16   fixed that when we did the reply brief and --

      17              MR. ROSTAN:    The reply.    I believe we did.

      18              MR. SCAMPATO:    We included this.

      19              MR. ROSTAN:    My apologies, Your Honor, --

      20              MR. SCAMPATO:    But we can probably --

      21              MR. ROSTAN:    -- that was my mistake.

      22              THE COURT:    All right.    Just give me the oral -- give

      23   me your argument about this, because it --

      24              MR. SCAMPATO:    Sure.    There’s a number of things that

      25   were -- that they should have had, but they didn’t have.           One
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 26 of 197 PageID: 4574
                                     Scampato - Argument                          26

      1    dealt with Mr. Palmeroni’s -- let’s see.         Specifically, of you

      2    just -- one second, Your Honor.

      3                               (Extended pause)

      4              MR. SCAMPATO:     One of which -- one of them dealt with

      5    the brokers.    That was the first time that we found out about

      6    the brokers.    That they said that they didn’t have information

      7    about the brokers.     But there were approximately five or six

      8    questions that, upon us providing you with that document, you

      9    will read that their answer was always the same, that we’ve

      10   done a diligent search and we have not been able to obtain of

      11   this information.

      12             Now, these attorneys didn’t know what was going on.

      13   We’re not assume -- we’re not asserting that they did.           But

      14   the client, at that point in time the client knew that they

      15   shredded some documents, the client knew that there was

      16   documents that now we’re requesting that they don’t have.

      17   This is six months before they finally fessed up to the fact

      18   that, yeah, we don’t have certain documents.         They didn’t

      19   inform their own attorneys and certainly they didn’t inform

      20   the Court or us about this.

      21             That’s when it should have been triggered.         At any

      22   point in time, as soon as they destroyed anything, as soon as

      23   they found out that their MACS system wasn’t working in 2006,

      24   that’s when they should have informed the Court and us of the

      25   fact that they no longer have access to their MACS system.
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 27 of 197 PageID: 4575
                                     Scampato - Argument                         27

      1    And as soon as they shredded some documents and somebody found

      2    out, oh, they’re asking us questions, maybe some of the quest

      3    -- the answers were in the documents we shredded.          Well, let’s

      4    not tell them about this.      Let’s just say we did a diligent

      5    search and we can’t find them.       That’s really what this

      6    amounted to.

      7              THE COURT:    When did Mr. Palmeroni -- and I know the

      8    state, actually we had it in the last oral argument, but I

      9    don’t have it on hand now.      What’s the time period of

      10   employment for Mr. Palmeroni?

      11             MR. SCAMPATO:     I believe it’s 2 -- it’s 1999 to 2006,

      12   Your Honor.

      13             THE COURT:    And you, again, would argue that any

      14   litigation hold should have -- the litigation hold should have

      15   been a general hold for anything that Palmeroni had --

      16             MR. SCAMPATO:     Yes.

      17             THE COURT:    -- been involved in.

      18             MR. SCAMPATO:     Because of the nature of his role, he

      19   was in charge of all sales.        Therefore, if -- at that point in

      20   time, we don’t know exactly what the specific battle is going

      21   to be, but we know that it has to do with sales.          It has to do

      22   with those transactions.      That he was -- that were made during

      23   his tenure as the sales director.

      24             THE COURT:    And I’m being told on page 5 of

      25   plaintiff’s opposition that what was discarded were documents
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 28 of 197 PageID: 4576
                                       Scampato - Argument                       28

      1    that went from 1980 to 19 -- to 2004.        We know that, --

      2                MR. SCAMPATO:    Right.

      3                THE COURT:   -- at minimum.    They say it included

      4    accounts payable and accounts receivable records, time cards,

      5    purchase orders, commission statements, catalogues,

      6    correspondence files, marketing and promotional literature and

      7    then, of course, the other materials which I have no idea what

      8    that means.

      9                So, I guess my question:    what, out of the little --

      10   of what we -- the little that I do know -- I hope I know more

      11   when Mr. O’Connor stands up -- but the little that I do know

      12   at this point, what would you say would be relevant or

      13   potentially relevant to your claims, your counterclaims and/or

      14   defenses?

      15               MR. SCAMPATO:    Well, --

      16               THE COURT:   I would say commission statements.       I

      17   mean, --

      18               MR. SCAMPATO:    Yes, Your Honor.

      19               THE COURT:   Correspondence.

      20               MR. SCAMPATO:    Commission statements, all sales

      21   documentation that -- between N.V.E. and its customers, all

      22   distributors --

      23               THE COURT:   Not all.

      24               MR. SCAMPATO:    Well, --

      25               THE COURT:   During his employment.
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 29 of 197 PageID: 4577
                                       Scampato - Argument                         29

      1                MR. SCAMPATO:    Well, of course.     I’m sorry, yes.

      2    During --

      3                THE COURT:    1999 to 2006.

      4                MR. SCAMPATO:    Exactly.   The same -- all of the

      5    documentation regarding the relationship between N.V.E.           and

      6    their distributors, such as CB Distributors, as an          example.

      7    All of their documentation for the relevant time period

      8    between their brokers and N.V.E.        So, --

      9                MR. ROSTAN:    And Sunbelt, in particular.

      10               MR. SCAMPATO:    Including Sunbelt, obviously.      And, of

      11   course, if they have paper files, they probably had e-mails,

      12   so they probably had accounting documents.         So, there was

      13   probably an overlap between the paper files and the lost MACS

      14   information, the information lost in the MACS system.           There

      15   probably was an overlap between the paper files and the lost

      16   hard drive of Mr. Palmeroni, the lost e-mail server for Mr.

      17   Palmeroni, Mr. Rosarbo and the two assistants.

      18               And now that Mr. Rosarbo is in this case, now that he

      19   is -- his company and Mr. Palmeroni’s company, the Smart World

      20   company is front and center, it’s even become more relevant

      21   the fact that Mr. Rosarbo’s computer was also wiped clean.

      22               But the -- what the plaintiff wrote in their

      23   opposition brief is more specific than what they initially

      24   told us.    What they initially told us basically was,

      25   everything is gone, except anything that we were able to hold
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 30 of 197 PageID: 4578
                                    Scampato - Argument                          30

      1    onto in personnel files.      If somebody -- if the individual

      2    sales people held onto their own person -- they held onto

      3    files dealing with their customers, then we were able to

      4    obtain information from that.       Other than that, everything

      5    else is gone.

      6              So where it was, again, we don’t have.         We have never

      7    been provided with an inventory of everything that’s been

      8    lost.   So, that’s -- that is -- it makes it hard for us to

      9    even know what was lost, when they can’t even tell us what was

      10   lost.

      11             And of course, Your Honor, we’re seeking exclusion of

      12   the claim regarding Smart World when it come -- with regard to

      13   the adverse inference, as another alternative.         The first

      14   point being that there is documents in the possession of the

      15   plaintiff, documents in plaintiff’s control; I think that

      16   that’s very clear that we can meet that actual suppression or

      17   withholding of evidence.

      18             We believe that the MOSAID case is very much

      19   applicable in this particular situation where, once they have

      20   control and they know that they have control of documents,

      21   they know that there is litigation, even if they don’t

      22   specific -- have a specific intent to destroy that -- those

      23   documentation, they should be held responsible for their

      24   negligent and/or reckless behavior.

      25             The evidence destroyed was relevant to our claims,
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 31 of 197 PageID: 4579
                              Scampato / O’Connor - Argument                     31

      1    our counterclaims and our defenses.        As I mentioned in my

      2    brief and earlier in this discussion, it’s foreseeable that

      3    the evidence would have been discoverable, because of the fact

      4    that they knew that, right from the moment that they fired

      5    him, that they were going to be in litigation.         And Mr.

      6    Palmeroni let them know, as well.

      7              So, it’s not a case where we don’t know, we never

      8    really -- we never thought we were going to be in litigation,

      9    they knew it right from the get go, that’s when they should

      10   have had their protocols executed, that’s when they should

      11   have had their litigation hold.

      12             And once we do get the litigation hold letters -- and

      13   that is one of the things that we’re going to be asking --

      14   that we ask in our requests for remedies -- that may shed more

      15   light as to exactly what degree of culpability N.V.E. has.

      16   And in our proposed order, we basically have a list, Your

      17   Honor, of the different remedies that we’re seeking.

      18             THE COURT:    All right.

      19             MR. SCAMPATO:     Thank you, Your Honor.

      20             THE COURT:    Thank you, counsel.

      21             Mr. O’Connor?

      22             MR. O’CONNOR:     Yes, Your Honor.

      23             THE COURT:    I have a lot of questions.

      24             MR. O’CONNOR:     Okay.

      25             THE COURT:    And I want to start with, was there ever
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 32 of 197 PageID: 4580
                                     O’Connor - Argument                         32

      1    a litigation hold put in place?

      2              MR. O’CONNOR:     There was no official letter, Your

      3    Honor.   But these -- this is a company that --

      4              THE COURT:    Come to the podium, Mr. O’Connor.

      5              MR. O’CONNOR:     Sure.

      6              THE COURT:    And please explain that to me.

      7              MR. O’CONNOR:     Yes, Your Honor.

      8              Your Honor, there was no litigation letter sent by

      9    the law firm to the company.        It is my understanding, Your

      10   Honor, that this is a company that had been involved in a

      11   series of litigations and understood their responsibilities

      12   and acted accordingly.

      13             THE COURT:    Obviously not.

      14             MR. O’CONNOR:     Well, I disagree, Your Honor.

      15             THE COURT:    All right.     Let’s talk a little bit about

      16   what should have happened here, all right?

      17             MR. O’CONNOR:     Very well, Your Honor.

      18             THE COURT:    They terminate this man on January 6.

      19   Rightfully, wrongfully; I am not rendering an opinion.

      20             MR. O’CONNOR:     Okay.

      21             THE COURT:    There’s termination.

      22             MR. O’CONNOR:     Correct.

      23             THE COURT:    There’s letters by an attorney that’s

      24   representing him at the time putting you guys on notice that

      25   there’s going to be counterclaims.        You don’t think that, at
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 33 of 197 PageID: 4581
                                      O’Connor - Argument                        33

      1    that time back in January of 2006, people needed to start

      2    looking at holding anything this -- that Palmeroni may have

      3    dealt with in general?

      4               MR. O’CONNOR:    Your Honor, I think what the

      5    obligation is, is that if there is documents, evidence or

      6    materials relating to the proposed claims, then they would

      7    have to hold onto that.      But what we have --

      8               THE COURT:   You mean to tell me, for a litigation

      9    hold, it’s going to be that narrowly construed, Mr. O’Connor?

      10   That it’s only going to deal with Palmeroni, Sunbelt and

      11   Sumicek?

      12              MR. O’CONNOR:    And the counterclaims that were

      13   eventually raised, in terms of this, you know, the FDA or the

      14   bankruptcy fraud or whatever is the issue that he raised --

      15              THE COURT:   Or the tax -- right and the tax and --

      16              MR. O’CONNOR:    But what they’re trying to do here,

      17   Your Honor, and which goes contrary to the decision this Court

      18   has already rendered, that N.V.E. could not have known about

      19   the Sun -- the Smart World --

      20              THE COURT:   I’m with you on Sunbelt, but I’ve got

      21   counterclaims, Mr. O’Connor.

      22              MR. O’CONNOR:    Right.

      23              THE COURT:   I’ve got counterclaims and claims that

      24   are directly asserted against you and this is where I have a

      25   problem.    I’m not going to say you knew about Smart World;
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 34 of 197 PageID: 4582
                                     O’Connor - Argument                         34

      1    I’ve already ruled that you had no way to know about Smart

      2    World.

      3              MR. O’CONNOR:     Okay.

      4              THE COURT:    But you knew that this gentleman was

      5    arguing and was arguing as far back as when he put you on

      6    notice on January 4th, but at least when he filed his

      7    counterclaim on February 7th and when he amended his

      8    counterclaim on April 25th of 2007.        You knew the various

      9    arguments he was making with respect to being entitled to

      10   commissions, being entitled and also arguing CEPA-related

      11   violations.

      12             So, here’s where my question is.        How can you start

      13   going -- let’s not -- you start changing a system and you

      14   don’t think at some point in time you need to start making

      15   backups of whatever this man may have touched, based on the

      16   universe of counterclaims that now have been asserted against

      17   you?

      18             MR. O’CONNOR:     I think the question, Judge, is where

      19   is that universe.     And they kept the system.      I mean, they

      20   make it sound like we took it and we threw it in the ocean.

      21   All right?    The system is there.     The MACS computer is there.

      22   We’ve hired a forensic expert --

      23             THE COURT:    How come you didn’t -- but how come they

      24   didn’t do backups?

      25             MR. O’CONNOR:     They had --
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                                       O’Connor - Argument                       35

      1                THE COURT:   While they started doing this, couldn’t

      2    they have not protected themselves and began to make copies

      3    and backups of some of the information?

      4                MR. O’CONNOR:    Look.    What they did, Your Honor, is

      5    they acted in a commercially reasonable manner, is that the

      6    system that they had for running their business was they kept

      7    it on this computer.     Right?      So, this is how they ran their

      8    business.    They kept their information on this computer.

      9                They didn’t have a backup to run their business on a

      10   regular day-to-day basis, so what they did is, they kept that

      11   machine.    They didn’t throw it away.      They didn’t delete it.

      12   They didn’t get rid of the data.        They kept the machine.

      13               Now, what’s happened is, six or seven years later,

      14   when this conspiracy finally gets unearthed in 2010, we then

      15   go back and say, now we know that there may be stuff that is

      16   now relevant to the expanded universe of what’s in our amended

      17   complaint and now, for technical reasons, we can’t into this

      18   machine.    We’ve tried to get into the machine, we’ve had our

      19   own computer systems administrator, we’ve hired a retired FBI

      20   agent to look at the machines.

      21               And I know you’re talking about the MACS system, Your

      22   Honor, but I want to tell you that just this week I have --

      23   the FBI, a retired FBI expert, the forensic expert has been

      24   able to recover e-mails from Mr. Palmeroni from his hard drive

      25   of his desktop computer and I think it’s in the thousands of
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                                       O’Connor - Argument                         36

      1    e-mails, somewhere 8 to 9,000 e-mails that we just got this

      2    week.   We’re going through to see if there’s any privilege

      3    issues with regard to them.       As soon as we go through the

      4    privilege review, we’re going to duplicate those and give

      5    those to the defendant; all the e-mails from what was on the

      6    hard drive of his computer.

      7                It is my understanding, from talking to the forensic

      8    expert -- his name is Brian Orsak -- sorry, thanks.          It is my

      9    understanding that his -- let me -- this is what he explained

      10   to me, Your Honor, okay?       That there should be an identical

      11   copy on what was on the hard drive of Mr. Palmeroni’s computer

      12   and what was on the e-mail server.        So, we should have all of

      13   Mr. Palmeroni’s e-mails that were extant at the time that this

      14   happened.    So, we will be turning those over, somewhere in the

      15   neighborhood of 8 to 9,000 e-mails, once we finish with the

      16   privilege review.

      17               THE COURT:   Well, that’s good news, because I tell

      18   you what, I was not happy to hear that this system was wiped

      19   clean and that you’re telling me, in all these years, you guys

      20   never bothered to see whether -- that you never checked his

      21   hard drive?

      22               MR. O’CONNOR:    Judge, I’m not happy that the system

      23   was wiped clean either.       And apparently it was not -- because

      24   all the hiatuses in the litigation as it went forward, that

      25   they had not taken a forensic expert to go look at this or see
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                                    O’Connor - Argument                           37

      1    what was there and there was inclinations that all the other e-

      2    mails that were available were turned over.         And if I can just

      3    jump to the other e-mail server issue, which we raised before,

      4    as long as we’re talking about the forensic expert.

      5              My understanding, Your Honor, is, after talking to

      6    the forensic expert, is that the old e-mail server -- and I

      7    ask the Court to take judicial notice -- over the last ten

      8    years, we’ve had a lot of changes in computer hardware and

      9    software that run all these programs.        They upgraded the

      10   server somewhere in the 2005-2006, which is why we have that

      11   sort of line that we’re dealing with here.

      12             Again, they kept the old server.        They have tried to

      13   get into that system, Your Honor, and what I’m told is the

      14   system just won’t power up, is the words that have been used.

      15   They try to turn it on, it won’t power up.

      16             My understanding -- and this is a layman’s

      17   understanding, Judge -- is that a server like this generally

      18   has six or seven or eight hard drives inside it and that what

      19   happens is, that there is something wrong with the hard

      20   drives, the machine won’t power up, it just won’t turn on, so

      21   they can’t get in there.      And what happens is, is the data is

      22   spread across all seven or so hard drives to try and deal with

      23   the problem that if one goes bad, you don’t lose everything.

      24             And but the problem that we have right now, Your

      25   Honor, is a monetary problem with regard to this.          I am told
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                                     O’Connor - Argument                         38

      1    by the forensic expert that it may, it may be possible to

      2    recreate the machine for this e-mail server.         I am told it

      3    will cost thousands upon thousands of dollars to do so.

      4    Another expert would have to be hired.        It’s beyond the

      5    expertise of the retired FBI agent.        They have to hire someone

      6    who actually builds a new computer and then tries to work it

      7    and there’s still no guarantee.

      8              And what I get to, Judge, is what expenses do we have

      9    to go to, to deal with this, when it’s not something that

      10   we’ve destroyed, it’s not something we’ve gotten rid of, we

      11   have held onto it.

      12             THE COURT:    But it’s something that --

      13             MR. O’CONNOR:     We’ve held onto it.

      14             THE COURT:    -- quite frankly, I’m considering in the

      15   form of sanction, because I am not pleased that N.V.E. knew as

      16   of January 2006 that litigation was imminent, all right, and

      17   yet they did not do anything to back the system up.

      18             MR. O’CONNOR:     Yeah, but I -- Judge, I think you’re

      19   missing the -- the system on the MACS system is a matter of,

      20   as I understand it, an order comes in, say on a fax or by

      21   telephone and says, you know, we want to order how many of

      22   these pill -- these -- these -- this stuff, the Stacker 2 or

      23   whatever the nutritional supplement is, and they just kind of

      24   put it, okay, you know, we want, like, 100 boxes of this, send

      25   it off, mark it up, and then it gets invoiced out and that’s
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                                       O’Connor - Argument                       39

      1    it.   This is not something you go back to.        It’s just a matter

      2    of saying, okay, that --

      3                THE COURT:   There’s no e-mails on the MACS system?

      4                MR. O’CONNOR:    No.   At least to my understanding,

      5    there’s no e-mails, it’s purely a system for if the order came

      6    in and my understanding is back then most of the orders were

      7    coming in by fax or by phone or have you and they’d say, okay,

      8    we need to send out 100 boxes of Stacker 2 to this client or

      9    this store or whatever and then you fill order, you do like a

      10   -- generate I think -- and, Your Honor, I forget some of the --

      11   but my understanding is it generates an invoice.          It generates

      12   an invoice and, boom, that’s it, you’re done.

      13               Once that invoice is paid, that information is no

      14   longer relevant to the company.        They sent out a thousand

      15   dollars worth of stuff, they got a thousand dollars done.

      16   Done.   We’re on to the next thing.

      17               THE COURT:   So, you’re telling me now on the record --

      18   because I need you to tell me definitively what’s on this MACS

      19   system --

      20               MR. O’CONNOR:    That --

      21               THE COURT:   What is on the system?     No e-mail?

      22               MR. O’CONNOR:    No, there’s two computers, just so we

      23   know, Judge.    There is the MACS system, which is -- it’s my

      24   understanding there’s no e-mails on; and there’s an e-mail

      25   server.   So, there’s two different machines.
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                                       O’Connor - Argument                        40

      1                THE COURT:   Okay.   So, how about --

      2                MR. O’CONNOR:    There’s two different machines.

      3                THE COURT:   How about correspondence or anything

      4    related to sales, commissions, anything?          Any of that on the

      5    MACS system?

      6                MR. O’CONNOR:    Can I get a second, Your Honor?

      7                THE COURT:   I would have hoped we had that

      8    information already.

      9                MR. O’CONNOR:    I thought -- I tried to put it into

      10   the affidavit of Mr. Jensen what was on there, but I just want

      11   to double check, Your Honor.

      12                                (Extended pause)

      13               MR. O’CONNOR:    Here, Your Honor, no -- as I said,

      14   there is no correspondence or no e-mails on the MACS system.

      15   It’s purely a system so that when the orders come in, it

      16   generates the invoice and the shipping information, so that

      17   the product can be shipped out.       And as I said, there’s two

      18   machines.    There is an e-mail -- there is no -- there is a

      19   server.   I mean, that’s -- that -- on that server would have

      20   been the e-mails.     And that -- but that’s not the MACS system.

      21               THE COURT:   How about -- and again, it was just a

      22   straight order invoice --

      23               MR. O’CONNOR:    Yes.

      24               THE COURT:   -- type of system.     Nothing else is on

      25   that system?
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                                     O’Connor - Argument                           41

      1              MR. O’CONNOR:     If we looked at -- there is --

      2              THE COURT:    I saw it.    I read it, Mr. O’Connor.

      3              MR. O’CONNOR:     Well, I just want to make sure I --

      4              THE COURT:     I want it confirmed from you, though.

      5              MR. O’CONNOR:     I just want to make sure I don’t

      6    misspeak; that’s all, Judge.

      7                               (Extended pause)

      8              MR. O’CONNOR:     Your Honor, I think, as set forth in

      9    the affidavit of Mr. Jensen, it was a system that did order

      10   entry, sales order and subsequent invoicing system.          That’s

      11   what the MACS system did.

      12             THE COURT:    So, the only thing that would be relevant

      13   to arguably, Mr. Scampato, would be what?         That information

      14   with respect to what was sold and what was generated, in terms

      15   of revenue?

      16             MR. SCAMPATO:     According to the January 18, 2011 that

      17   I received from Ms. Ellen Smith, she stated that the MACS

      18   system was an accounting system.

      19             MR. O’CONNOR:     Would -- could you read the full --

      20             MR. SCAMPATO:     So, --

      21             MR. O’CONNOR:     Could you read the full sentence?

      22             MR. SCAMPATO:     What it is and what it --

      23             MR. O’CONNOR:     Could you read the full sentence?

      24             MR. SCAMPATO:     -- isn’t, I don’t know.      But there is

      25   one thing that’s really relevant that now we’re learning for
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                                       O’Connor - Argument                        42

      1    the very first time, is that when we were provided information

      2    about Smart World and we were told, okay, here’s 50 pages from

      3    here, here’s 50 pages from there; the reason why we don’t have

      4    more information is because the MACS system went down.           That’s

      5    what we were told.

      6                Then why is it, if the MACS system doesn’t have any e-

      7    mails, that all the e-mails relating the Smart World only start

      8    in 2005?    Where are the e-mails between --

      9                MR. O’CONNOR:    It’s not --

      10               MR. SCAMPATO:    -- N.V.E. and Smart World between 2001

      11   and 2005?

      12               THE COURT:   Let’s get an answer.     Where are the e-

      13   mails from 2001 to 2005?

      14               MR. O’CONNOR:    Judge, there’s two computers.      I --

      15   this is not -- this is -- they are trying to make an issue

      16   where there is none.

      17               First of all, he would not read the rest of Ms.

      18   Smith’s letter, which talks about an accounting system for

      19   invoicing.    If they want to make a distinction between an

      20   accounting system for invoicing and a system that does

      21   invoicing, God bless them, Judge.       I -- this is making

      22   something out of nothing.

      23               With regard to the e-mails, we’ve already told you

      24   there’s two computers.       There’s a MACS system for the

      25   invoicing and there is another server that had the e-mails on
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                                     O’Connor - Argument                           43

      1    that we can’t get powered up.       We haven’t got rid of it.      We

      2    didn’t get -- we didn’t lose it.        We didn’t hide it.    It’s

      3    there.

      4              And what happened is, previously Mr. Yang had gone

      5    and got some information, which is how we knew that -- that

      6    these e-mail accounts had been deleted without our knowledge.

      7              THE COURT:    All right.     So, the MACS system is --

      8    there’s two systems.

      9              MR. O’CONNOR:     Yes.

      10             THE COURT:    Right?     The MACS --

      11             MR. O’CONNOR:     There’s two different machines.

      12             THE COURT:    Two different machines:       the MACS system,

      13   which is, as you call it, you know, the accounting invoice

      14   system; and then the other e-mail system that you can’t power

      15   up.

      16             MR. O’CONNOR:     Yes, it’s -- they call them -- the

      17   computer guys call it a server.       So, that’s --

      18             THE COURT:    The server.

      19             MR. O’CONNOR:     A server.

      20             THE COURT:    And the server, even though you -- there

      21   was this transition, you say that server had nothing to do

      22   with this transition you made to the MACS, or did it?

      23             MR. O’CONNOR:     No, it had -- the MACS system is

      24   completely different.      The server was replaced by a new

      25   Outlook or Outlook Express, whatever the new -- there’s a new
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                                     O’Connor - Argument                         44

      1    server for the e-mail system that came into place at some

      2    point, but that’s not the MACS system.        So, there’s two

      3    different machines.     The --

      4              THE COURT:    Okay.     So, when you -- when the

      5    transition occurred finally in May of 2006 or thereabouts,

      6    you’re saying you also upgraded the e-mail service.

      7              MR. O’CONNOR:     Somewhere around that time they also

      8    upgraded the e-mail server.

      9              THE COURT:    And in upgrading the e-mail server, you

      10   say that you didn’t -- there wasn’t an intentional -- I’m

      11   looking to see whether you made this inaccessible and you say

      12   it wasn’t and that you didn’t make it inaccessible.

      13             MR. O’CONNOR:     no.

      14             THE COURT:    You had it just in case, but now all of a

      15   sudden, lo and behold, you just can’t power it up.

      16             MR. O’CONNOR:     Yeah, we have it.     I mean, if they

      17    want to hire an expert to come look at it, hire an expert and

      18   we’ll make it available.      And the same with the MACS system.

      19   If they want to hire an expert to look at the MACS system,

      20   we’ll make it available, as long as it’s with the, you know,

      21   with our expert be in there to make sure that none of the data

      22   gets ruined.    You know, let them do it under conditions.

      23             But the MACS system and the computer, which is this

      24   old HP UNIX system and the --

      25             THE COURT:    Well, did anyone do anything?       Because
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                                       O’Connor - Argument                         45

      1    you had an obligation, once you knew litigation was imminent,

      2    you had an obligation to confirm that the machine was being

      3    kept -- I mean, we have to now try to preserve the

      4    information.    What was done to preserve that e-mail server so

      5    that it wouldn’t go down the way it has gone down?          Was it

      6    properly cared for?      Where was it stored?     What did people do

      7    with it?

      8                MR. O’CONNOR:    Well, I --

      9                THE COURT:   See, that’s all -- before I’m going to

      10   make them pay for it, I’m going to look to you to tell me what

      11   you did to ensure that the information was preserved.

      12               MR. O’CONNOR:    It is my understanding that these

      13   computers were kept -- the company, like many companies, has a

      14   computer room.     And they were basically, when they replaced it

      15   with the new system, they -- the computer stayed there.           And

      16   they stayed under the control of the systems administrator,

      17   which since around 2006 or so, this is still under Mr. Yang,

      18   who is there.    The other fellow who was there at the time Mr.

      19   Palmeroni was fired was a fellow named Diaba (phonetic) and he

      20   was fired for cause by the company and we believe that he was

      21   on good terms with Mr. Palmeroni.         And so, Mr. Yang was not

      22   the systems administrator at the time Mr. Palmeroni was let go

      23   by N.V.E.

      24               So, and that’s how we kept the hard drive to Mr.

      25   Palmeroni’s computer off his desktop computer.         We understood
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                                     O’Connor - Argument                          46

      1    that there was litigation going on, so even though Mr.

      2    Palmeroni left the company, it’s not like in many companies,

      3    okay, you left, new guy comes in, you know, we’ll give you the

      4    computer and off you go, because we want to reuse it.           That

      5    hard drive, Mr. Yang has held onto that hard drive, because he

      6    knew that there was litigation going on.

      7              He couldn’t access it.      He tried to access it.

      8    That’s where he got the information that he believed that had

      9    been scrubbed clean; there was no data on it.         The forensic

      10   expert, the retired FBI agent was able, through whatever he

      11   does as a forensic expert, was able to recover a series of

      12   e-mails, both from the current e-mail server and the old

      13   e-mail server, some of the old stuff that was on the hard

      14   drive and a very limited amount of documents.         There were more

      15   e-mails than documents.      I don’t know what the number of

      16   documents was, but it was a very small number of documents.

      17             THE COURT:    Okay.

      18             MR. SCAMPATO:     Your Honor, can I respond?

      19             MR. O’CONNOR:     Well, can I just --

      20             THE COURT:    No, no, no.    He’s not done yet.

      21             MR. SCAMPATO:     I’m sorry.

      22             MR. O’CONNOR:     I’ve got --

      23             THE COURT:    I’ve got a number of -- a series of

      24   questions.    So go on, Mr. O’Connor.

      25             MR. O’CONNOR:     Your Honor, I just note that, you
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                                      O’Connor - Argument                         47

      1    know, part of what happens is, when Mr. Palmeroni wants to

      2    argue that he had an oral agreement --

      3               THE COURT:    So, we’re -- let’s not move --

      4               MR. O’CONNOR:    Okay.

      5               THE COURT:    Let’s not move.    My next question now --

      6               MR. O’CONNOR:    Okay.

      7               THE COURT:    -- and this I am waiting to hear an

      8    answer.   No litigation hold letter sent, which boggles my

      9    mind.    Continue -- as I sit here, it’s just a hard thing for

      10   me to fathom.    But, okay, no litigation letter sent.

      11   Litigation hold letter sent.        What the heck happened in 2009

      12   and where was your firm in overseeing Mr. Jensen and

      13   overseeing this receptionist as they began to purge documents

      14   from 1980 -- which I could -- I don’t care about.

      15              MR. O’CONNOR:    Right.

      16              THE COURT:    But the ones I do care about are the ones

      17   from 1999 to 2006.      And you stopped at 2004, I think at some

      18   point, maybe because she leaves.

      19              MR. O’CONNOR:    Right.

      20              THE COURT:    But who authorized that?     Who oversaw --

      21   who was overseeing what was being purged?         Where is the

      22   protocol on what’s being purged and where is the inventory

      23   lists?

      24              MR. O’CONNOR:    Okay.    What happened, Your Honor, is

      25   that obviously this lawsuit has been going on for a number of
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                                    O’Connor - Argument                          48

      1    years.   Based on what we knew going through 2006, 2007, 2008,

      2    2009 were the allegations in our original complaints, the

      3    allegations in the counterclaims by Mr. Palmeroni, and the

      4    allegations for Mr. Sumicek and Sunbelt.         Right?

      5                So, folks at N.V.E., namely Mr. Jensen and others,

      6    went through the hard copies of -- well, not hard copies, but

      7    the hard files, the paper files that were in their storage and

      8    culled through those documents, those files, pulled out the

      9    stuff that was responsive to all of the pending discovery

      10   requests, that was responsive to all the claims that N.V.E.

      11   was aware of.    As you know, we were not aware of the Smart

      12   World conspiracy at that time.

      13               And after pulling out what was reasonably foreseeable

      14   to be relevant and what was relevant, based on discovery

      15   requests we received and based on what we thought we needed to

      16   prove our case -- because quite frankly, Your Honor, the stuff

      17   in Smart World, you know, we’re hurt more by the loss of

      18   documents than is Mr. Palmeroni at the end of the day.

      19               But after Mr. Jensen had gone through, based on

      20   communications with our law firm and the requests for

      21   discovery, those documents were pulled out of the hard copies

      22   and made available to our firm and then turned over in

      23   discovery as appropriate.

      24               So, what was left were the documents that were not

      25   relevant.    What was left is the documents that --
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                                       O’Connor - Argument                        49

      1                THE COURT:   We’re making relevance determinations and

      2    who is making them?

      3                MR. O’CONNOR:    Well, the relevance determinations

      4    were made by -- after you say, okay, this is the stuff -- what

      5    happens in any litigation?       The people go through the

      6    documents.    Someone goes through the documents, whether from

      7    the company, from the law firm, whoever.          Someone initially

      8    goes through it in a case, usually someone from the company

      9    initially makes the first cut through the documents, say,

      10   okay, I need all the documents relevant to what our lawsuit

      11   is.   And they made that determination.       These are all the

      12   relevant documents for the lawsuit.

      13               And after that determination was made by Mr. Jensen,

      14   who is the chief financial officer of this corporation, then

      15   what was left was stuff that was determined it wasn’t

      16   relevant.    And that’s what was destroyed.       Not stuff that was

      17   relevant.

      18               They -- and the idea -- the misstatements that are

      19   made in the papers that Sun -- that what happened is, Mr.

      20   Jensen went in there in 2009, looked at the stuff and then got

      21   rid of everything; that’s not what happened.         What happened

      22   is, this determination was made in 2006, 2007, 2008.          When, as

      23   the case went forward through this Court, to say these are the

      24   discovery requests, these are the claims that are involved,

      25   this is the areas of interest.       The areas of interest
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                                     O’Connor - Argument                          50

      1    regarding Sunbelt, regarding Sumicek, regarding the van

      2    program, regarding, you know, allegations of misconduct or

      3    bankruptcy courts.     Those issues are what’s in this case.

      4              So that the idea that there is -- no one knew about

      5    the Smart World conspiracy, so no --

      6              THE COURT:    I’m not talking Smart World, I’m talking

      7    about the other count --

      8              MR. O’CONNOR:     But -- but that is what they’re

      9    talking about, Judge.

      10             THE COURT:    No, no, no, no, no.      They’re talking

      11   about claims and defenses.      And it’s not for your client to

      12   make determinations as to what the possible claims and defense

      13   -- counterclaims and defenses.       I mean, there is arguably

      14   information that we don’t know, because no one did an

      15   inventory, that go to perhaps commission and issues.

      16             MR. O’CONNOR:     Let me ask you this, Judge.      I mean,

      17   let me -- a hypothetical.       I mean, just -- say nothing had

      18   been shredded.     All right?   Just allow me just a little leeway

      19   if you would, Your Honor.       Say nothing had been shredded and

      20   we didn’t tell him nothing.       All right?   What happens is, we

      21   get a discovery request.      Okay, we want these documents in the

      22   discovery request.     And we tell the company, you know what, go

      23   -- this is -- we have this discovery request, this is what you

      24   need to produce, produce -- give us these documents so we can

      25   produce them.    And we do that.     And you know what?     That’s
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                                     O’Connor - Argument                            51

      1    sort of where we are, Judge.

      2              What happens is, we went through the documents we

      3    had, based on the discovery request and based on the claims

      4    and issues that we were aware of.       Right?    And if we were

      5    sitting here today and these documents haven’t been shredded,

      6    no one would ask me, well, who went through it?          Did Mr.

      7    Jensen go through it or did Aidan O’Connor go through it?           You

      8    would never ask me that question, Your Honor.         I -- with all

      9    due respect, that would not --

      10             THE COURT:    No, you’re dead wrong.      Because I asked

      11   that question.     I had this issue come up time and time again

      12   as a United States Magistrate Judge for the last four-and-a-

      13   half years, Mr. O’Connor.

      14             MR. O’CONNOR:     Okay.

      15             THE COURT:    The questions I ask --

      16             MR. O’CONNOR:     I stand corrected.

      17             THE COURT:    -- generally are custodian issues.         How

      18   is information compiled?      I have this issue come up all the

      19   time.   And I do ask these questions.       And when one is as hotly

      20   contested as this one, I would expect that we would have had a

      21   little bit more communication going on between the client and

      22   your office.    And at the time that your client decided to

      23   start shredding away, were you notified?

      24             MR. O’CONNOR:     We were notified.     I think -- I don’t

      25   -- I wasn’t at the firm in 2009, Judge.
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                                     O’Connor - Argument                         52

      1              THE COURT:    Well then, find out from Ms. Smith who

      2    was.

      3              MR. O’CONNOR:     Okay.

      4                 (Discussion among counsel, off the record.)

      5              MR. O’CONNOR:     Your Honor, it’s my understanding that

      6    we did not find out about the shredding until recently when we

      7    advised the other side about the shredded documents, and we

      8    told them.    And my understanding is, is that the company

      9    believed that they had gone through all the documents for all

      10   the issues, as we discussed, regarding to the complaints and

      11   the counterclaims, and had gone through all the stuff that was

      12   relevant to any of the claims that they were aware of at the

      13   time.

      14             And so that, if any documents are missing, Your

      15   Honor, at this stage, it’s my understanding that there may

      16   highest and best documents missing regarding to Smart World,

      17   but any documents relating to the counterclaims of Mr.

      18   Palmeroni or relating to the claims that N.V.E. raised in its

      19   complaint were already pulled out of those hard paper

      20   documents.    And so the stuff that was destroyed did not have

      21   anything relating to any of those issues.

      22             THE COURT:    So, and we don’t have an inventory of

      23   what was actually destroyed, do we?

      24             MR. O’CONNOR:     No.

      25             MS. SMITH:    Your Honor, if I could just add one
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                                     O’Connor - Argument                         53

      1    thing?   We produced -- because N.V.E. had culled it out

      2    beforehand, we produced all of the commission statements for

      3    all of the brokers, except for one person who -- one of the

      4    three that they just mentioned at the end -- but Kris Sujack

      5    was not a broker for N.V.E., she worked for a radio station

      6    and tried to cut some deals, but apparently never succeeded.

      7    She was not a broker.      And I think we have that in our

      8    responding papers.

      9              We gave then thousands upon thousands of pages of

      10   commission statements for all the other brokers for N.V.E.,

      11   with monthly backup sheets.       As I say, thousands and thousands

      12   and thousands of pages for each of them.

      13             THE COURT:    What about -- is there a formal document

      14   retention policy in the company?

      15             MR. O’CONNOR:     No.

      16             THE COURT:    The e-mail situation.      Can we talk a

      17   little bit about that, in terms of what e-mails you have been

      18   able to pull?    With respect to the e-mails from the

      19   assistants, were those obtained?

      20             MR. O’CONNOR:     I’m sorry, I didn’t hear you, Your

      21   Honor.

      22             THE COURT:    The assistants.     Mr. Palmeroni’s

      23   assistants.

      24             MR. O’CONNOR:     Judge, there’s some e-mails, as we

      25   laid out, of Mr. Palmeroni, Mr. Rosarbo and two of the ladies,
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                                       O’Connor - Argument                       54

      1    that those were deleted.       What I -- and -- and I have gone

      2    through with N.V.E. and the system is administrator says he

      3    didn’t do it.    It is his understanding that only the -- a

      4    systems administrator had the password or the authority to

      5    actually go into the system and delete them.         He didn’t do it.

      6                We’ve tried to contact this fellow, Rader, who was

      7    the assistant administrator at the time.          I have not been able

      8    to do so.    They reached out to the man by e-mail and he

      9    refused to respond to -- to -- as to what happened.          My

      10   understanding of it, he left on -- you know, he was fired and

      11   let go.

      12               But no one -- you know, Mr. Occhifinto, Mr. Jensen,

      13   Mr. Yang, they didn’t delete these accounts.         We don’t know

      14   what happened to them.

      15               THE COURT:   And you just found out about these

      16   accounts being wiped clean?

      17               MR. O’CONNOR:    Yeah, because what hap -- yes, Your

      18   Honor.    You know, what happened is, when they did the searches

      19   for accounts, they put in certain keywords for search terms to

      20   try and pull accounts and we -- we’ve asked the other side,

      21   you know, if you want to sit down and go through search terms

      22   to go through this, then tell us what search terms you want,

      23   and that’s never happened.

      24               You know, there’s not been no meet and confer to say,

      25   okay, these are the search terms we now want to go through,
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                                     O’Connor - Argument                          55

      1    based on the new issues involved in the amended complaints.

      2    And we’re willing to run the search through the information

      3    that we do have if they have other search terms.          And we did

      4    run search terms on the issues that we were aware of based on

      5    the request that we received.

      6              THE COURT:    With respect to all of the -- I mean,

      7    it’s not clear what you’re not producing and when I look at --

      8    you know, we start on page 8 and we take -- and it takes us

      9    all the way to page 15.      But I mean, some of this information,

      10   it’s not clear what’s accessible and what’s -- or what’s been

      11   produced or what’s not accessible or inaccessible now with

      12   respect to the MACS system.

      13             Is -- you know, I want to go through all these 18.

      14   And some of these you say are not ready or even ripe for the

      15   Court’s consideration, because you think it’s -- it has

      16   nothing to do with spoliation, it has more to do with perhaps

      17   a motion to compel some of the information.

      18             But now, with respect to the e-mails, so you are

      19   going to provide e-mails?

      20             MR. O’CONNOR:     Your --

      21             THE COURT:    You have been able to pull those.

      22             MR. O’CONNOR:     Yeah.   As I said, Your Honor, the

      23   forensic expert was able to retrieve e-mails of Mr. Palmeroni

      24   from the hard drive of his computer, I believe it’s somewhere

      25   in the neighborhood of 8 to 9,000, and we’re just doing a
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                                     O’Connor - Argument                           56

      1    review for privilege and once we’re done with that we will

      2    provide those to defendant.

      3              THE COURT:    “N.V.E. produced no e-mails bearing on

      4    the commission and compensation agreements for brokers,

      5    distributors, customers and employees.”        Are we going to be

      6    able to comply with that?

      7              MR. O’CONNOR:     My understanding is that we produced

      8    the information that we have regarding brokers and commission,

      9    all the brokers’ information in the files we have.          If they

      10   want to suggest search terms for them, we’ll run another

      11   search.

      12             THE COURT:    Personnel file.     They make an issue with

      13   respect very few documents in the person -- in Palmeroni’s

      14   personnel file.     What do you say back to that?

      15             MR. O’CONNOR:     There’s nothing to say, Judge.       I --

      16   the -- we gave them the entire personnel files.          Again, this

      17   goes back to when Mr. Palmeroni wants to have an oral

      18   agreement for his case, that’s okay.        When we say there’s oral

      19   agreements, then we’re destroying evidence.         You know, you

      20   can’t have it both ways and that’s what he’s trying to do

      21   here, Judge.

      22             He wants this -- the Court to believe or the jury to

      23   believe that he had an oral agreement for these commissions

      24   and there’s no documentation for it.        But then, when we

      25   respond to him that certain of the agreements with other folks
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                                     O’Connor - Argument                         57

      1    are oral agreements or that, you know, he got a promotion and

      2    it’s just a small enough company, so the fact that they made

      3    him the head of sales, it -- Mr. Occhifinto didn’t need to

      4    write a memo.    I mean, he did it.

      5              You know, it’s not a very -- it’s just not IBM or

      6    General Motors, Judge, it’s a relatively small company and

      7    those decisions were made and there wasn’t necessarily a memo

      8    to the file or to a personnel file saying, okay, yesterday you

      9    were assistant sales director and today you’re sales director.

      10   He became sales director and there’s no issue.

      11             I mean, it’s not an issue as to whether he was a

      12   sales director or not.      He was.   What they’re complaining

      13   about is that there should be more pieces of paper in his

      14   personnel file.     He got -- we produced his personnel file.

      15   There was nothing taken out of it, there was nothing

      16   destroyed.

      17             THE COURT:    How about with respect to e-mail or

      18   correspondence from Import Warehouse or CB Distributors nor

      19   the raw data for its sales figures or shown the connection

      20   between this data and the calculation of sales commissions?

      21             MR. O’CONNOR:     Your Honor, I believe that part of the

      22   stuff with the raw data was the substance of much litigation

      23   before this Court a year ago, in terms of the joint protocol.

      24   And it’s my understanding that we have complied with what was

      25   in the joint protocol.      And so now, to kind of get there on
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                                     O’Connor - Argument                         58

      1    the back door and say, well, the Court -- you know, we

      2    litigated, we came to an agreement, the Court ordered that we

      3    produce certain information relating to this raw data, in

      4    terms of the sales.

      5              We did that, pursuant to the Court’s joint protocol

      6    and now they want to say, because we have complied with the

      7    Court protocol in terms of what we produced, that because we

      8    didn’t produce stuff that we were not -- that wasn’t in the

      9    joint protocol, we must have destroyed it.         It’s a circular

      10   argument, Judge.     You know, if they think that there is

      11   something that we should have produced, pursuant to the joint

      12   protocol that we haven’t, I’d be happy to sit down and discuss

      13   that with them.

      14             THE COURT:    Anything else, Mr. O’Connor, that you

      15   want to be heard on?

      16             MR. O’CONNOR:     Just give me one second, Judge.

      17                              (Extended pause)

      18             MR. O’CONNOR:     Judge, I think what I came back to in

      19   a lot of the arguments and that counsel tried to mush a lot of

      20   stuff together and I -- and I know that the Court is aware of

      21   this and -- and I ask for your indulgence -- is that there

      22   really has to be some showing here that, if any documents

      23   were, you know, negligently or wilfully destroyed or hidden or

      24   taken away, that they have to show that it was foreseeable or

      25   reasonably foreseeable that N.V.E. knew that that was going to
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                                    O’Connor - Argument                          59

      1    be an issue in the case.

      2              And that’s why they talk about Smart World, they talk

      3    about a lot of the new claims, they talk about, you know,

      4    there’s other brokers that were not involved in the original

      5    complaint, and we have given them all this broker information,

      6    but there’s really been no showing that any of the information

      7    that they claim is gone had anything to do with any of the

      8    stuff that happened in the complaint up until we found out

      9    about the Smart World stuff in mid-to-late 2010.

      10             And I just ask the Court to keep it in mind, that you

      11   don’t allow them too mush what we should have known after we

      12   found out about the expanded conspiracy versus what was

      13   foreseeable, reasonably foreseeable to N.V.E. at the time that

      14   the shredding took place and in terms of what reasonable

      15   actions of this company were, is that we’re talking about

      16   technological failures here, Judge.        We’re not talking about

      17   wilful destruction.     We’re talking about, we kept the machine.

      18   We kept the two computers we had.       We didn’t destroy them.      We

      19   didn’t get rid of them.      We didn’t delete the data.      We have a

      20   technological problem in terms of trying to get into this

      21   machinery.

      22             In terms of the MACS system, the company that sold us

      23   the software, it seems that it’s, you know, out of business.

      24   We’re trying to find the successor company, if there is one.

      25   We tried to find someone who had some expertise with this MACS
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                                       O’Connor - Argument                       60

      1    software.    We found one person, but he’s employed by someone

      2    else and he can’t do consulting work for other companies.

      3                You know -- you know, so we have tried to find

      4    someone who can get into this system and see what’s there, but

      5    we’re talking about a technological issue, not a wilful

      6    destruction.    It’s not as though we said, like in some of the

      7    cases I think you’ve had, where people have purposely, you

      8    know, let items be deleted.       We’re not talking about, you

      9    know, a document that someone relied upon and then says, oh I

      10   lost it or I don’t have it, and the inclination is maybe it’s

      11   a forgery to start with.       That’s not what’s going on here,

      12   Judge.

      13               THE COURT:   I guess what I’d like to do is look at --

      14   because we know that you had notice as of February and April

      15   of 2007 some of the counterclaims.        And this is where I really

      16   do have and perhaps, you know, we need to look specifically

      17   and maybe I need to pull that off the docket to see

      18   specifically what were the counterclaims in February and

      19   April.

      20               Because the problem I have, Mr. O’Connor, is I agree

      21   with you, you had no idea on Sunbelt -- or not Sunbelt -- on

      22   Smart World.    I understand that.     That’s not where my concern

      23   is.

      24               MR. O’CONNOR:    Okay.

      25               THE COURT:   My trouble is actually in the defenses
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                                       O’Connor - Argument                         61

      1    and/or counterclaims and what was pulled and gathered that

      2    could have been used by the defendant, you know, whether, you

      3    know, you all label him what you want to label him, he has a

      4    right --

      5                MR. O’CONNOR:    Mm-hmm.   Right.

      6                THE COURT:   -- to try to defend against this action.

      7    And he has a right, since the documents are in your

      8    possession, to try to get documents that support his defenses

      9    and/or claims against you.

      10               And the problem I have is, is that when people were

      11   pulling this stuff and gathering the information that was

      12   responsive to either in order for you answer interrogatories

      13   and/or comply with doc requests, that that information was

      14   looked at and that, indeed, they knew -- they knew, as it --

      15   since it wasn’t lawyers, that your client knew what might be

      16   relevant for a claim --

      17               MR. O’CONNOR:    Yeah.

      18               THE COURT:   -- against you and/or defenses.      And I’m

      19   jut not so concerned -- I’m not so clear that a CFO would

      20   understand, unless somebody specifically told him that some of

      21   this information might be actually useful for the defendant

      22   and you need to preserve that.

      23               MR. O’CONNOR:    I -- I -- I --

      24               THE COURT:   And that’s my concern.     Not about Smart

      25   World, --
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                                     O’Connor - Argument                         62

      1              MR. O’CONNOR:     Okay.

      2              THE COURT:    -- but what was done to adequately

      3    preserve the documents so that defense counsel inform -- and

      4    we all know how this works.       You start with interrogatories

      5    and doc requests -- and, in fact, there was an amendment of

      6    the counterclaims a few months later -- that they then start

      7    to look and say, hey, you know what; we might -- in defending

      8    this action, we might need to get certain information with

      9    respect to commissions or with respect to sales and what he

      10   was entitled or what money he saved for the company.

      11             Because the argument was -- and whether you believe

      12   it or not, and then of course this is for a trier of fact to

      13   determine -- whether indeed these oral agreements that were

      14   going back and forth and his assertions to Occhifinto that I

      15   can make you more money, you’re being charged too much by your

      16   brokers, --

      17             MR. O’CONNOR:     Right.

      18             THE COURT:    -- all of that information could have

      19   been contained in those documents and I am not comfortable

      20   sitting here today that Mr. Jensen -- and I am not going to

      21   say that there was -- you know, that we -- that this seems to

      22   be negligent, as I see it.      That we went ahead and pulled what

      23   was clearly relevant for your case, but I am not so sure the

      24   eyes were being looked at and the documents were being looked

      25   at with as an eye towards defending the action.
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                                      O’Connor - Argument                         63

      1               MR. O’CONNOR:    Right.

      2               THE COURT:   And so, when you destroy stuff and after

      3    the fact now telling me, well, believe me, there wasn’t

      4    anything relevant in there, it’s a little hard for me to

      5    really feel comfortable here, as I sit here today.

      6               MR. O’CONNOR:    And I understand that, Judge.       That

      7    makes sense.    And we are asserting that the fellow, Mr.

      8    Jensen, who is sitting here today -- and you can see him -- in

      9    court, you know, he is the chief financial officer.          It’s not,

      10   look, we delegated this to some minor functionary within the

      11   company.    He is someone who has been very much involved in

      12   managing this litigation and in managing other litigations

      13   that this company has been involved in.        So, it’s not some

      14   neophyte that you send -- okay, we’re going to send, you know,

      15   some secretary or the -- you know, the woman, Ms. Gamboa, her

      16   job is to take documents given to her and shred those.           I

      17   mean, she was not a decision maker.        You know, you -- and I

      18   think that there’s been --

      19              THE COURT:   So, what was the procedure?       Did he go

      20   through all these -- because there must have been thousands of

      21   documents --

      22              MR. O’CONNOR:    Yes.

      23              THE COURT:   -- from 1980.     We’re talking 1980 to

      24   2004.   Can you for certain tell me what was the date that

      25   everything ceased with respect to --
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                                     O’Connor - Argument                         64

      1              MR. O’CONNOR:     The last box that was shredded?       I

      2    believe it was approximately 2004.        That’s my understanding.

      3              But, Judge, I think what’s sort of the misconception

      4    here is, is that someone --that the ins -- the conception of

      5    the picture that’s being painted is that in 2009 that’s the

      6    first time that someone decided to make a decision as to what

      7    was in these hard documents.       That someone went in there and

      8    said, okay, this is in, this one shred, this is in, this one

      9    shred.   That’s not exactly what happened.

      10             It’s my understanding, Your Honor, that as this

      11   lawsuit started in 2007, 2006 and when the bankruptcy order

      12   came back, there was document requests, interrogatories.           That

      13   culling of going through the papers happened back then.           So, I

      14   mean, if someone wanted to destroy a document, they could have

      15   gone in 2007 and done this, right?        They could have done some,

      16   you gotta get rid of this stuff in a hurry.

      17             But what happened is, they already had gone through

      18   all the document requests, all the information requested, had

      19   already gone through it and at that point, Mr. Jensen goes,

      20   like, we’ve already gone through these boxes of documents

      21   looking for stuff for the trial, that he had already been in

      22   oral or telephonic communication with the lawyers previous,

      23   prior to 2009 as to what were the issues in the case, as to

      24   what we needed to produce, what our obligations were.

      25             THE COURT:    So, you’re making a representation that
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                                     O’Connor - Argument                           65

      1    he was told what was relevant with respect to not only Sumicek

      2    and Sunbelt, but he was also told to go through these

      3    documents with a fine-toothed comb as it related to defenses

      4    and/or claims?

      5              MR. O’CONNOR:     I don’t want anyone to use the word

      6    fine-toothed comb, Judge, but he was certainly told that,

      7    look, these are the claims being made by Mr. Palmeroni, these

      8    are the document requests that they have served, these are the

      9    interrogatories that they have served; we need to respond to

      10   this, we need documents, anything that’s relating to these

      11   issues, we need the whole -- we need to produce, because

      12   that’s our obligation, is to produce this.

      13             And he had been involved in document production in

      14   other cases, so it’s not -- you know, so can I say was the

      15   entire, you know, discovery process explained to Mr. Jensen

      16   with regard specifically to this case?        I don’t know, Judge,

      17   but what I do know is that he had been involved in more than

      18   one lawsuit, more than one lawsuit where we’re told you have to

      19   produce documents, you have to give them the documents

      20   relating both to our claims and their claims.

      21             So, yes, that happened over a period of years.          And

      22   so, to say that all of a sudden in 2009 that’s the first time

      23   someone looked at these documents to try to decide whether

      24   they’re relevant or not, that’s inaccurate, that’s not what

      25   happened, Judge.
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                                     O’Connor - Argument                          66

      1              THE COURT:    So, you’re saying that he had done this

      2    over a period of time and that everything that you had in hand

      3    before 2009, in terms of RFAs, requests for production and

      4    interrogatories, all of that was -- those documents were

      5    culled through --

      6              MR. O’CONNOR:     Yes.

      7              THE COURT:    -- and you pulled everything.       And the

      8    fact that you don’t have these documents now today, how do we

      9    explain that?    I mean, these documents at some point existed,

      10   right?

      11             MR. O’CONNOR:     What documents?

      12             THE COURT:    Well, counsel has cited to me a number of

      13   documents that he is looking for with respect to sales and

      14   what -- I mean, I understand the Smart World documents are

      15   gone, but at the time --

      16             MR. O’CONNOR:     But all the documents relating to the

      17   brokers that we knew about, we’ve given to them.          You know,

      18   and all the terms of -- you know, and, you know, the documents

      19   and terms were there.      Those -- that was produced.

      20             THE COURT:    How about the insurance information?

      21             MR. O’CONNOR:     Well, Judge, the problem with -- we

      22   have produced a lot of insurance information.         The problem is,

      23   is what defendant complains about, he never asked for.           You

      24   know, and this is -- you know, he just did -- he asked for the

      25   documents from N.V.E. to the insurance company.          That’s what
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                                       O’Connor - Argument                         67

      1    he asked for.    You know, if you read it, that’s what he asked

      2    for.   Now what he complains about is we didn’t provide

      3    information relating to N.V.E. to our customers regarding

      4    insurance.    Well, they didn’t ask for it.

      5                I -- the -- so to say that we didn’t produce

      6    something they didn’t ask for and that is the basis of a

      7    spoliation is illogical, it doesn’t make sense.          I mean, they

      8    -- even after we told them they didn’t ask for it, they still

      9    haven’t asked for it.       I -- you know, with -- you know, I

      10   don’t know if they’re there, but we will do a search and go

      11   look for it.

      12               But, quite frankly, if you say I want, you know, the

      13   information you had with your insurance company -- and the way

      14   this works, as I understand it, Judge, is N.V.E. produces this

      15   product.    All right?   And so they were -- got some kind of

      16   insurance, so that if the seller -- CVS or Rite Aid or, you

      17   know, 7-Eleven or whatever -- got sued, they would have some

      18   coverage.    So, there were sort of three parties here.

      19               Well, what they asked for was N.V.E. to the insurance

      20   company, they didn’t ask N.V.E. to the customer.

      21               THE COURT:   Anything else?

      22                                (Extended pause)

      23               MR. O’CONNOR:    One second, Judge.    That’s all, Your

      24   Honor.   Thank you very much.

      25               THE COURT:   All right.   I’ll let you respond.      Go
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                                       Scampato - Argument                         68

      1    ahead, Mr. Scampato.

      2                MR. SCAMPATO:    Thank you, Your Honor.

      3                                 (Extended pause)

      4                MR. SCAMPATO:    We --

      5                THE COURT:   You know what I find troubling, Mr.

      6    Scampato?    And maybe it was just the way it was briefed.         It

      7    would have been a good idea for us to sort of really get an

      8    idea -- I could get a better assessment of what was asked,

      9    because now I’m hearing and now you’re hearing that Mr.

      10   Jensen, throughout the course, has been very involved in this

      11   litigation, as well as other litigation, the CFO, and as prior

      12   counsel -- it wouldn’t have been you -- prior counsel was

      13   requesting information as it relates to the claims and/or

      14   defenses in this case from Mr. Palmeroni’s perspective, that

      15   they went into this room and they pulled these requested

      16   documents.

      17               And of what your -- not -- we can’t go -- you know,

      18   we can’t play Monday morning quarterback and look back and say

      19   what you’d like now.     I think it’s only fair to assess what

      20   was asked at the time prior to 2009 and what perhaps you feel

      21   is missing and that you feel probably would have been in the

      22   universe of the documents that were shredded.

      23               MR. SCAMPATO:    To respond, Your Honor, I want to just

      24   give a little bit of a background.        We were never told in 2009

      25   that anything was lost.       We were not told in 2010, until the
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 69 of 197 PageID: 4617
                                    Scampato - Argument                            69

      1    end of 2010.    Something had just happened that caused Ms.

      2    Smith to send the letter over to us informing us about this.

      3    That was that the -- we just learned about the allegations

      4    regarding Smart World and they looked at their Smart World

      5    file and they had 50 pages.       That’s it.   They got 50 pages.

      6              So, they figured, okay, well, then we’re going to

      7    send a letter.     This is what the letter says.      Now, you

      8    remember Mr. O’Connor just told you that it was only

      9    irrelevant documents that were destroyed.         That’s what the

      10   story is May 26, 2011.      This is what was told in November of

      11   2010:

      12             “Towards the end of 2009, N.V.E.’s storage room

      13        containing hard copy paper files was purged in the regular

      14        course of business and substantially all records from

      15        2004” -- all records from 2004 -- “and earlier years,

      16        except files that were subject to litigation, personnel

      17        records and certain bank records, were shredded.”

      18             That was the information that we had.        There was no

      19   information stating that, yes, Mr. Jensen, who is not an

      20   attorney, is fluently -- understands the litigation assertions

      21   in the complaint, the defenses that plaintiff -- the defendant

      22   has and their counterclaims.       There was -- there is nothing

      23   there.   It was -- it just states that everything was lost.

      24             Now, why is that -- why did they say that?         Because,

      25   at that time -- and they also said that the MAC machine --
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 70 of 197 PageID: 4618
                                    Scampato - Argument                           70

      1    MACS system was gone.      There was no mention that the e-mail

      2    servers were gone, too.      There was no mention of that.       The

      3    first time we learn anything about any aspect of the e-mail

      4    server being lost is in the opposition certification of Mr.

      5    Yang.   And in that certification, he says, essentially --

      6    Yang, pages -- paragraphs 9 through 13 -- that:

      7              “The hard drive of the computer Mr. Palmeroni used

      8         while employed by N.V.E. was wiped clean and the e-mail

      9         accounts of potential defendants, Vincent Rosarbo, two

      10        Palmeroni assistants Hunsicker and Prasse have been

      11        deleted from the sever.”

      12             Still, even in that declaration, there is no

      13   indication that that entire server went down.         That that

      14   entire server, the e-mail server, which we learned I believe

      15   today from Mr. O’Connor told us today that two computer

      16   systems went down:     one was the e-mail server and one was the

      17   MACS system; they both went down.       Today is the first time we

      18   learned that the entire e-mail server went down.          Up until

      19   today, we were only informed that it was defendant

      20   Palmeroni’s, Rosarbo’s and the two assistants that they were

      21   unable to locate.

      22             Now, here’s another part of the puzzle.         Back in when

      23   they sent us the initial letter in November of 2010, they said

      24   we lost all documents prior to 2004.        They send us e-mails

      25   relating to Smart World.      E-mails all start January 2005 and
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 71 of 197 PageID: 4619
                                     Scampato - Argument                           71

      1    go forward.    There are no e-mails, no correspondences that go

      2    back from 2004 and earlier.       It’s our understanding that

      3    they’ve had a relationship with Smart World from 1999.

      4              If -- what is the answer as to where these e-mails

      5    are?   I still don’t know.     Were they dest -- was the entire

      6    e-mail server destroyed and these e-mail server -- these

      7    e-mails from Smart World are also gone?        Were these --

      8    according to Mr. O’Connor, I believe, well, you never really

      9    just asked us for -- you never gave us the search terms, so we

      10   have not provided you with any e-mails.        That’s not correct.

      11             Our most recent interrogatories that Your Honor

      12   allowed us to submit to them before we brought the -- before

      13   they brought the motion, we asked them, give us all your

      14   information about Smart World.       Give us e-mails.     Give us all

      15   the files that you have.      And they said, well, the only thing

      16   that we have are these 50 pages.       We only have these 50 pages

      17   that we were able to cull from our personnel files and they

      18   are only after 2005.

      19             THE COURT:    When did you make that request?

      20             MR. SCAMPATO:     I’m sorry?

      21             THE COURT:    When did you make that request?

      22             MR. SCAMPATO:     That request was -- we -- when they

      23   wanted to file a motion to amend the complaint, we asked you

      24   if we can send a -- bring another --

      25             THE COURT:    I just want the --
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 72 of 197 PageID: 4620
                              Scampato / O’Connor - Argument                     72

      1              MR. SCAMPATO:     -- interrogatories.

      2              THE COURT:    I just want the time frame on the record.

      3              MR. SCAMPATO:     I think this was November or December.

      4              THE COURT:    November or December.      So, --

      5              MR. SCAMPATO:     Of last year.

      6              THE COURT:    Okay, of last year.      And you’re saying

      7    that in response to that request, you never heard anything

      8    about these e-mail systems being down.

      9              MR. SCAMPATO:     That’s correct.    The first time we

      10   learned about the e-mail server being down was in the

      11   opposition papers --

      12             THE COURT:    Why?

      13             MR. SCAMPATO:     -- that we received here.

      14             THE COURT:    Why, Mr. O’Connor?     Let’s stop and ask

      15   him that question.

      16             MR. O’CONNOR:     Your Honor, first of all, with regard

      17   to -- I think I did state earlier and I’ll say again, is that

      18   we did run a search on the terms of Smart World and I think

      19   that’s in Mr. Yang’s declaration that he ran under those

      20   terms.

      21             And in terms of this -- as you can see, that Mr. Yang

      22   had gone into the system and I think again there’s two -- I

      23   don’t want to make it make more computers that I need -- but I

      24   told you they replaced the server for the e-mail system, too.

      25   So they ran through the searches through all the computers
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 73 of 197 PageID: 4621
                                     O’Connor - Argument                           73

      1    they could.

      2              When I went with the FBI, retired FBI expert to do --

      3    have him try and figure out -- let me start over.          What we

      4    wanted to do, Judge, was find out if we could determine off

      5    the old e-mail server when these files had been deleted.           It

      6    is my understanding Mr. Yang had been able to get into that

      7    server and had found out that those accounts had been deleted.

      8    I brought --

      9              THE COURT:    When did you tell Mr. Scampato all this?

      10             MR. O’CONNOR:     When we found out.

      11             THE COURT:    Didn’t you respond to the e-mails?        I

      12   mean, wasn’t there an initial request from defense counsel,

      13   supplemental requests and did you tell him at that point?

      14             MR. O’CONNOR:     In the fall -- yeah, when it -- in

      15   late 2000 -- when we found out about it, as soon as we found

      16   about it, we -- we went through it -- I went out with the FBI

      17   expert within the last two weeks or so --

      18             THE COURT:    You’re telling me what you did recently.

      19   I want to know what you did in response to the request when it

      20   was initially --

      21             MR. O’CONNOR:     I believe that we asked --

      22             THE COURT:    -- propounded upon you.

      23             MR. O’CONNOR:     -- we asked the systems administrator

      24   to run the search of the e-mail using the Smart World -- the

      25   Jeroen, Gravelijn, Mr. Sikkink -- the principals of the Dutch
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 74 of 197 PageID: 4622
                                     O’Connor - Argument                           74

      1    company and had him to run a search.

      2              THE COURT:    And you didn’t notice that were nothing

      3    that predated 2004?

      4              MR. O’CONNOR:     Whatever we had, we gave them.       Hold

      5    on a second, Judge.

      6                (Discussion among counsel, off the record.)

      7              MR. O’CONNOR:     We ran the search and that’s what we

      8    came up with, Judge.

      9              THE COURT:    And you just didn’t notice that there was

      10   nothing -- what did your request specifically -- what was the

      11   temporal scope of the request?

      12             MR. SCAMPATO:     I believe it was 1999 until to the

      13   present, because there is these two, allegedly two Smart World

      14   companies and they were dealing with both of them, so we

      15   wanted to get all of the information.

      16             THE COURT:    So, the request was the --

      17             MR. O’CONNOR:     Well, that -- that’s --

      18             MR. SCAMPATO:     Right.   But again, remember what --

      19             MR. O’CONNOR:     That’s not accurate, that we’re

      20   dealing with both of the companies.

      21             MR. SCAMPATO:     What I’m saying here today, let me

      22   just be very clear, is all of the papers that you have before

      23   you, the only thing that they say regarding e-mail servers

      24   that they don’t have is Rosarbo, plaintiff -- I’m sorry --

      25   defendant and the two assistants.       Those are the four accounts
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 75 of 197 PageID: 4623
                                     O’Connor - Argument                         75

      1    that they say are not available.

      2              Today I believe we heard something different.

      3              THE COURT:    We did.

      4              MR. SCAMPATO:     Today we heard the entire e-mail

      5    server was lost.

      6              MR. O’CONNOR:     No, that -- that’s not --

      7              MR. SCAMPATO:     That’s why --

      8              MR. O’CONNOR:     That’s not what we said, okay?

      9              MR. SCAMPATO:     Well -- well --

      10             THE COURT:    Well, let’s then clarify it.

      11             MR. SCAMPATO:     What I said is that -- as I said

      12   earlier, the e-mail server was updated and upgraded with a new

      13   e-mail server.     And then, when we ran a search recently within

      14   the last two weeks on the old e-mail server, again, when we

      15   went into that, that’s when we couldn’t get it to do another

      16   search on that computer, we couldn’t get it to work when we

      17   went in there two weeks ago.

      18             So that there is a new e-mail server when Microsoft,

      19   whenever they came up with the new Outlook system, they

      20   upgraded that and that’s the stuff from 2005 going forward.

      21   And that we ran the searches on both computers, but now we

      22   can’t get into the older server.       It won’t turn on.

      23             THE COURT:    Okay.   No.   Let me understand this.

      24             MR. O’CONNOR:     It did turn on previously.

      25             THE COURT:    Let me understand this, because, Mr.
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                                       O’Connor - Argument                       76

      1    O’Connor, I can see the frustration that the defendants have,

      2    because now it’s changing, too.       So maybe we’re get --

      3                MR. O’CONNOR:    No it’s not, Judge.    We just went

      4    through this.    Nothing comes up about Smart World until late

      5    2010 and we all find out about this and when we find out about

      6    it, we tell them in, like, February or March of this year, but

      7    they made their motion in March, so we tell them when we found

      8    about it.    We don’t know about this stuff until November 2010,

      9    and now we’re -- now what we’re arguing about is the period

      10   between November 2010 and, like, February or March of 2011.

      11   That’s what we’re --

      12               THE COURT:   No, we’re not.

      13               MR. O’CONNOR:    That’s -- yes, we are, Judge.

      14               THE COURT:   No, that’s not what he’s asking for.

      15               MR. O’CONNOR:    That is what he’s arg -- that’s what

      16   he’s accusing us of, Judge.

      17               THE COURT:   No.   Mr. O’Connor, he is saying that the

      18   request that they made was a request back in the fall of 2010,

      19   in which they asked you for all e-mails that related to Smart

      20   World, that -- from what they understood at the beginning of

      21   the request -- let’s -- I mean, if we need to take out the

      22   request, we will.     And that you provide -- you say you did a

      23   search back then, --

      24               MR. O’CONNOR:    Right.

      25               THE COURT:   -- because you would have responded
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                                      O’Connor - Argument                        77

      1    within 30 days, I assume.

      2              MR. O’CONNOR:      Whatever time we responded, we did.

      3              THE COURT:      And you’re saying to me that you searched

      4    both servers.    You --

      5              MR. O’CONNOR:      That’s my understanding.

      6              THE COURT:      You searched both, and yet zero documents

      7    came from the older server, that was --

      8              MR. O’CONNOR:      That’s -- I -- I --

      9              THE COURT:      -- was working in the fall of 2010.

      10             MR. O’CONNOR:      I’ll have to talk to Mr. Yang and find

      11   out what he -- how he did his search.          But again, we’re

      12   talking about the time difference between November and when --

      13   and February, when they found about it.          That’s the time

      14   difference.    That’s the time lag we’re arguing about, Judge.

      15             THE COURT:      No.   They’re complaining about the

      16   production you gave them in the fall.          That the production you

      17   gave them in the fall had zippo with respect to anything 2005

      18   -- predating 2005.     And so, if your assertion is correct, that

      19   you just two weeks ago found out that the e-mail server, the

      20   old one -- I’m going to say the new server, so we’re not

      21   confused --

      22             MR. O’CONNOR:      Right.   Right.

      23             THE COURT:      -- the new e-mail server, the old e-mail

      24   server and the MAC, all right?        That you’re saying that when

      25   the request was first made in November, in the fall of 2010,
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 78 of 197 PageID: 4626
                                     O’Connor - Argument                         78

      1    you’re saying and representing that the search was done of the

      2    old server, right?

      3              MR. O’CONNOR:     I’m going to have to ask Mr. Yang,

      4    because I just -- I -- now I don’t know, Judge.          I don’t know.

      5              THE COURT:    We’re here for a spoliation motion.

      6              MR. O’CONNOR:     I -- Judge, this is the first time

      7    we’ve come to this issue of the time lag between November and

      8    February as to how we did the search and when we notified them

      9    that the old e-mail server we couldn’t power up when we tried

      10   to get in there.     So, I mean, I have to ask Mr. Yang to make

      11   sure that he did that.      It’s my -- that was my belief, is that

      12   he searched through all the e-mails and I’m going to have to

      13   ask him and find out.

      14             MR. SCAMPATO:     Respectfully, Your Honor, --

      15             MR. O’CONNOR:     But the problem is, is, you know, as

      16   we said, some of the e-mails have been deleted and we don’t

      17   know how they got deleted.

      18             THE COURT:    So, when you were responding to this

      19   production request, this supplemental production that was the

      20   fall of 2010, you didn’t know that the e-mail servers had been

      21   wiped clean?

      22             MR. O’CONNOR:     I’m not sure when -- what they -- that

      23   we got out --

      24             THE COURT:    See, this is all very important for me.

      25             MR. O’CONNOR:     I -- no, I -- I -- I -- I --
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                                     O’Connor - Argument                         79

      1              THE COURT:    So, you know what?     Because I’m telling

      2    you now, I’m not comfortable with what I am hearing and the

      3    responses I’m hearing, Mr. O’Connor, and you can look at me

      4    and --

      5              MR. O’CONNOR:     No, I -- I -- I -- I --

      6              THE COURT:    -- you can look at me anyway you want to

      7    look at me, --

      8              MR. O’CONNOR:     I don’t mean to be disrespectful,

      9    Judge.

      10             THE COURT:    Well, I really hope not.

      11             MR. O’CONNOR:     Please --

      12             THE COURT:    Knowing your reputation, I really hope

      13   not.

      14             MR. O’CONNOR:     I’m just puzzled and I don’t mean to

      15   be disrespectful, Judge.      Please -- please, Judge, I mean that

      16   very sincerely.

      17             THE COURT:    All right.    Well then, let’s stop with

      18   the faces --

      19             MR. O’CONNOR:     All right.    So, --

      20             THE COURT:    -- and let’s go with the answers that I’m

      21   looking for.

      22             MR. O’CONNOR:     Absolutely, Judge.

      23             THE COURT:    Now, what I am looking for here, is I am

      24   trying to understand, because it’s hard for me to understand,

      25   how now we didn’t have a clear understanding of these various
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 80 of 197 PageID: 4628
                                       O’Connor - Argument                       80

      1    servers now -- we knew about the MAC, I knew about the MAC.           I

      2    knew about the new system.       Now I’m understanding that there

      3    is an e-mail server that now is down and has been down as

      4    recently as you two weeks ago going with the FBI agent.

      5                But I want to know why no one else knew about the

      6    e-mails being deleted when you responded in the fall of 2010

      7    to the requests that were being made of you.

      8                MR. O’CONNOR:    My understanding, Judge, is that the

      9    search was done using search terms.        And so, my understanding

      10   as to how the search was done is that we told Mr. Yang, run it

      11   on everybody and then go see what comes out.         And then, only

      12   later on did we go in and sort of try to look for these

      13   specific accounts and found out that the accounts had been

      14   deleted.    That’s my understanding, Judge.

      15               THE COURT:   And you let the defendants know that

      16   when?

      17               MR. O’CONNOR:    I have to pull out the letter, Judge.

      18               THE COURT:   In the opposition, right?     Can we concede

      19   that the first time you let them know that the e-mails were

      20   wiped clean was when?

      21                (Discussion among counsel, off the record.)

      22               MR. O’CONNOR:    When we found out when we had to

      23   respond, Judge.     That’s when we found out and we told them

      24   about it.

      25                                (Extended pause)
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                                       Scampato - Argument                       81

      1                MR. SCAMPATO:    One last thing, Your Honor, if --

      2                THE COURT:   Am I missing something?

      3                MR. SCAMPATO:    No, Your Honor.   The -- we -- in

      4    November of 2010, I was supposed to get my Smart World

      5    documents.    I didn’t get any e-mails.      Back in November of

      6    2010, if their attorneys see that there are no e-mails, they

      7    would say, well, where are the e-mails.        We have all of these

      8    e-mails from 2005 onwards, where are all the N.V.E./Smart

      9    World e-mails from 2004 earlier?       We don’t have any.     What

      10   happened?

      11               It doesn’t appear that any of those questions were

      12   asked, because we don’t have them.        We still don’t have them.

      13   Mr. O’Connor is not telling us today that he is able to find

      14   them.   The only thing that he is telling us today is that one

      15   particular computer hard drive that was of Mr. Palmeroni, that

      16   they have been able to retrieve 8,000 e-mails from; 8 to

      17   10,000 e-mails from.     We still don’t know what happened to

      18   this.

      19               How hard, if you have protocols in place, how hard

      20   would it be to make a backup of an e-mail sever?

      21               THE COURT:   Tell me what you asked of -- tell me --

      22   because I’m curious.     Tell me what you requested pre-2010,

      23   fall of 2010, by way of what e-mails, because now am I

      24   understanding this correctly that you haven’t received any

      25   e-mails for Mr. Palmeroni to Rosarbo or to -- you’re saying
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 82 of 197 PageID: 4630
                                      Scampato - Argument                           82

      1    there are no e-mails --

      2               MR. SCAMPATO:    Right, that’s exactly what we’re

      3    saying, Your Honor.

      4               THE COURT:    There are no e-mails from Occhifinto to

      5    Palmeroni, Palmeroni to Rosarbo; no e-mails.         Were those --

      6    when were those requested?      That type of that -- those --

      7               MR. SCAMPATO:    Right, and if you could just give me

      8    one second, because --

      9               THE COURT:    You can sit, Mr. O’Connor.      I’ll ask --

      10              MR. O’CONNOR:    Thank you, Judge.

      11               (Discussion among counsel, off the record.)

      12              THE COURT:    I want to take a break.       And what I want

      13   specifically the defendants to tell me -- and it may take some

      14   time -- I want to know what you asked them, all right?

      15              MR. SCAMPATO:    Right.    We have it in our brief, Your

      16   Honor.

      17              THE COURT:    All right.    What you asked them for, by

      18   way of document production --

      19              MR. SCAMPATO:    Right.

      20              THE COURT:    -- and e-discovery requests pre-fall of

      21   2010.    All right?   Pre the shredding in 2009, all right?

      22   Because I want to know what was out there, in terms of

      23   specific requests, Mr. Rostan.        I want to know, did you ask

      24   for e-mails back in 2007 and 2008?        All right?

      25              MR. ROSTAN:    We did.
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                                    Synopsis by the Court                        83

      1               THE COURT:    I want to know what was asked

      2    specifically by the plaintiffs with respect to doc production

      3    and e-discovery.     Because, at some point, this arguably was

      4    looked at.    Someone looked at this hard drive and must have --

      5    there must have been a request for the Palmeroni information

      6    on this hard drive.

      7               MR. ROSTAN:    There were, Your Honor.     There was.

      8               THE COURT:    Then get it for me and I want to know

      9    specifically.

      10              MR. SCAMPATO:    Okay.

      11              THE COURT:    Call Mr. Yang.    I want to know what Mr.

      12   Yang --

      13                   (Recess from 4:25 p.m. to 4:52 p.m.)

      14              THE COURT:    Okay.   We’re back on the record in the

      15   matter of N.V.E. versus Palmeroni, et al., Civil Action Number

      16   06-5455.

      17              I took a little break and requested a number of

      18   things from both sides.      First I asked defense counsel to give

      19   me the very first request.       I want the date of the first

      20   request in which correspondence, which I assume also included

      21   e-mails, was specifically requested by defense counsel to

      22   N.V.E..

      23              I then asked Mr. Aidan O’Connor to go out and speak

      24   to his systems administrator, because I wanted an idea of what

      25   was done in the fall of 2010 once they received the
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 84 of 197 PageID: 4632
                       Synopsis by the Court / Scampato - Argument               84

      1    supplemental requests for production -- requests for

      2    production, rather, from defense counsel and what was

      3    specifically searched.      And I want to get confirmation that

      4    the e-mail syst -- what I am calling the e-mail server, the

      5    old e-mail server, was up and running at least in the fall of

      6    2010.    And then at some point, we now know from Mr. O’Connor’s

      7    arguments on the record, that when he went two weeks ago with

      8    their forensic specialist, former FBI agent, that indeed the

      9    system won’t boot up or the system is inaccessible at this

      10   point.

      11              With respect to that, I assume defense counsel did

      12   what I asked and got me a date certain and what was requested.

      13   And also, I’m again trying to get counsel -- and I’m not

      14   trying to make arguments for you; you need to make the

      15   argument as to what you requested back then that would assist

      16   in both your prosecution of any counterclaims against N.V.E.,

      17   but also in your defense to any of the claims asserted against

      18   your client pre-2009.

      19              MR. SCAMPATO:    Yes, Your Honor.

      20              Your Honor, you have the reply brief that we filed.

      21   And if you could turn to page 2?       At the bottom of page 2 is --

      22   we mentioned that Mr. Grossman, prior counsel, submitted

      23   interrogatories as of September 2007.        And the term document

      24   is in bold -- is, I’m sorry, indented at the bottom of 2 and

      25   at the top of 3 and it also includes computerized
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                                     Scampato - Argument                         85

      1    correspondences.

      2              We -- furthermore, definition 8 -- this is in the

      3    instructions as to what documents mean.        Furthermore,

      4    definition 8 asks for the identify -- the indem --

      5    identification of any document that’s unavailable.

      6              Notably, these interrogatories requested, among other

      7    things, all documents pertinent to the case, detailed

      8    information of how Import Warehouse and CB Distributors became

      9    distributors to N.V.E., including all communications involved

      10   in this process, as well as all agreements.

      11             If you then turn to page --

      12             THE COURT:    So, that was 2007.

      13             MR. SCAMPATO:     That was 2007.    We also have Mr. --

      14   and it’s not as an exhibit -- but we also have Mr. Rostan in --

      15             MR. ROSTAN:    December 2009.

      16             MR. SCAMPATO:     December 2009, he asked for all

      17   documents, including all e-mails.       Right, Mr. Rostan?

      18             MR. ROSTAN:    Yes.    It was in a definition of

      19   documents.    Yes, Your Honor.

      20             THE COURT:    Okay.

      21             MR. SCAMPATO:     We -- and the reason why I want to

      22   direct the Court’s attention to another part of the reply

      23   brief is that, in the MOSAID case, there was an argument

      24   raised that, well, you didn’t specifically mention e-mails,

      25   you don’t say e-mails, you use something close to it, like in
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                                     O’Connor - Argument                           86

      1    our case, computerized documents.       And the court in the MOSAID

      2    case -- and what page is that in our reply brief, David?

      3              MR. O’CONNOR:     Judge, I -- I don’t think we’re -- the

      4    question here is not arguing whether e-mails are encompassed

      5    in documents, the question is, is what the substance of it

      6    was.   I mean, if we can just short circuit this?         I have read

      7    MOSAID or MOSAID -- or however you pronounce it -- as well and

      8    I don’t think the question is whether e-mails are a subset of

      9    document or communication.      That’s not our argument.      I mean,

      10   if the question is, is what was the substance of what they

      11   asked for.

      12             THE COURT:    Well, that’s the question, but also the e-

      13   mails would be important, because if indeed you were requested

      14   e-mails in 2007 and at minimum -- so, let’s take Rosarbo out of

      15   it; let’s just keep it at Palmeroni, Occhifinto and Palmeroni’s

      16   assistants -- any and all e-mails, right?         We would have known

      17   in 2007 when we went to do our -- when we         went to comply and

      18   respond to the request, you would have        known that Palmeroni’s

      19   hard drive was deleted, because it was wiped clean, was it not?

      20

      21             And you guys say that Yang didn’t do it and Yang took

      22   over once the prior systems administrator left in 2006.           So,

      23   at some point, when you’re looking for e-mails, especially

      24   Palmeroni’s e-mails, I am still not linking how we didn’t know

      25   Palmeroni’s hard drive was wiped clean until recently.           That’s
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                                     O’Connor - Argument                         87

      1    a big question in my mind.

      2              MR. O’CONNOR:     Well, I just want to separate out two

      3    things and get to it.

      4              The first is, on a search for e-mails, my

      5    understanding is the searches were not done through the hard

      6    drive, it was done through the server.        And searches were

      7    done, you know, look for Sunbelt, look for Sumicek.          As

      8    opposed to saying give me all the Palmeroni e-mails, the

      9    search was done with a search term of the substance as to

      10   Sumicek or Sunbelt or whatever those issues were back before

      11   2010.

      12             And so, I don’t know that anyone sort of sat there

      13   and put the dots together and said, okay, we did a search for,

      14   for example, Sumicek and this is what spit out of the

      15   computer, as -- and that that was done through the whole

      16   server, as opposed to saying just run the search on

      17   Palmeroni’s account, just run this search on Occhifinto’s

      18   account, it was run -- run the search on the server and see

      19   what pops up, because that’s what I think the understanding of

      20   the request was.

      21             THE COURT:    And in the prosecution of this case, no

      22   one from the plaintiff’s side thought to examine a hard drive

      23   of an individual that you terminated and in which you were now

      24   beginning to uncover and, as you said, unearth a massive

      25   conspiracy amongst not only Sunbelt, but all these other
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                                      Rostan - Argument                            88

      1    people?   No one bothered to look at the hard drive?

      2              MR. O’CONNOR:     Apparently not.

      3              MR. ROSTAN:    Your Honor, if I may?      Just because I

      4    may have a more specific recollection.

      5              Shortly after I became involved in the case, which

      6    was December of 2009, I submitted a set of interrogatories to

      7    plaintiff regarding the third-party complaint, and that

      8    detailed all the elements in the third-party complaint:           the

      9    cash transactions, the allegations regarding insurance fraud,

      10   bankruptcy, the vans that were purportedly used to gain cash

      11   which were allegedly not reported in the bankruptcy.          And

      12   there was -- all the elements of that complaint were

      13   incorporated into interrogatories.        And in the instructions,

      14   the term document was defined to include e-mails.          And beyond

      15   that, there was a further instruction which stated that any

      16   document that had been misplaced or not -- unavailable should

      17   be accounted for.

      18             And then Your Honor might recall that at or around

      19   the time of the joint protocol, which was I think in June 15th

      20   or June 25th of 2010, I had requested permission from the

      21   Court to file supplemental insurance interrogatories.           So --

      22   and that’s listed as Exhibit 19 and attached to the

      23   defendant’s brief as Exhibit 19.       And that also includes a

      24   definition of document to include, I believe electronic

      25   correspondence or e-mails -- I don’t have it right in front of
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                                       Scampato - Argument                       89

      1    me -- and it also asked specifically, if any documents had

      2    been discarded or unavailable, that an explanation be

      3    provided.

      4                THE COURT:   And no such explanation was provided,

      5    correct?

      6                MR. SCAMPATO:    Correct, Your Honor.    And one last

      7    thing, because this goes to the second part of your request

      8    that we provide you with how we have been prejudiced.

      9                Mr. Palmeroni provided a detailed certification which

      10   is Exhibit 21 of our moving papers and he indicated that, on

      11   the MACS system, the MACS system wasn’t simply data entry, he

      12   also kept notes on the MACS system, the MACS system for each

      13   sale.    And it also was where one would find if there were cash

      14   sales.   So, if there was cash sales that -- such as the cash

      15   sales that Mr. Palmeroni raised in his counterclaim, if there

      16   were cash sales, they would be found in one of two places:

      17   the first place it would be found would be the MACS system;

      18   and the second place that they would be found would be in the

      19   hard copy backup, which was in the boxes.

      20               Now that the MACS system is no longer accessible,

      21   there was no backup made for it, now that the hard copies have

      22   been destroyed, Mr. Palmeroni is no longer able to assert --

      23   has no ability to obtain evidence to be able to assert his

      24   counterclaim relating to cash sales.        In other words, N.V.E.

      25   has obliterated any reference, any evidence of cash sales,
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                                     Scampato - Argument                         90

      1    which Mr. Palmeroni objected to and raised as part of his

      2    counterclaim.

      3              Thank you.

      4              THE COURT:    Can I have counsel point out the

      5    interrogatory that relates to e-mail and what type of e-mail

      6    you were requesting of -- Mr. Rostan, of -- so that the

      7    defendants -- so that the plaintiffs, rather, would have known

      8    to search for these e-mails and what specifically were you

      9    looking for?

      10             MR. SCAMPATO:     Well, with regard to Mr. Grossman’s --

      11   and I’ll let Mr. Rostan talk about his own interrogatories.

      12   With regard to Mr. Grossman, document is the -- the

      13   interrogatories is Exhibit 8 -- Exhibit 16.         That is Mr.

      14   Grossman’s initial interrogatories.

      15             And in the first question, we ask that they provide

      16   us with all relevant documents.       In the instruction, we request

      17   that computerized correspondence be included.         In other words,

      18   computerized correspondence is one of the definitions of

      19   documents that we were looking for.

      20             So, right at the very beginning, at least with regard

      21   to all of the claims and the counterclaims as of 2007, the

      22   requests for all relevant documents includes requests for

      23   computerized correspondence or e-mails.

      24             Mr. Rostan, if you can talk about your 2009

      25   interrogatory requests?
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                                      Rostan - Argument                          91

      1              MR. ROSTAN:    Your Honor, unfortunately I don’t have

      2    that particular interrogatory request before me, so I am

      3    basing what I’m saying on my recollection.         It wasn’t actually

      4    referenced as an exhibit to the -- to this pap -- to the

      5    papers, although the second -- the supplemental

      6    interrogatories of June or July of 2010 in Exhibit 19 were.

      7              My recollection is that I went through all the

      8    elements of the amended answer and counterclaim and asked

      9    questions with respect to each one.        There were -- the vans

      10   were covered, the evidence of cash transactions, and I believe

      11   that what I wrote in each question was, and attach any

      12   documents that were pertinent to the questions.          So, there was

      13   a question regarding insurance, I believe there was a question

      14   regarding insurance certificates, but I honestly don’t

      15   remember the verbiage, the specific verbiage, because I don’t

      16   have it in front of me.

      17             But I did go through each element of the counterclaim

      18   and, you know, it was the bankruptcy, the cash transactions,

      19   the insurance, each things that -- and then I believe the

      20   sexual harassment -- the Christmas party, which is part of the

      21   allegation -- and there were questions regarding each element

      22   in the counterclaim.

      23             THE COURT:    And you were asking for any and all

      24   documents, including e-mail documents -- you may have said

      25   electronic correspondence -- as it relates to the particular
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                                      Rostan - Argument                             92

      1    question at --

      2               MR. ROSTAN:   Yeah.    My recollection is that I asked

      3    for any -- to attach any pertinent documents that were related

      4    to the quest -- answering the question.

      5               THE COURT:    And when you received responses to those

      6    interrogatories and/or doc requests, at any time were you told

      7    -- I mean, did you receive e-mails?

      8               MR. ROSTAN:   No, I don’t believe I did receive

      9    e-mails.    What we did receive was I think about -- there were

      10   -- there was the employment handbook, which we asked for.           We

      11   asked for the reasons that Palmeroni was terminated, any

      12   e-mails that were associated with the termination.          There were

      13   no e-mails associated with the termination.

      14              But we -- but I came to learn in the deposition of

      15   Mr. Caldwell, who was then was the general counsel, that there

      16   was correspondence between the insurance carriers and N.V.E.

      17   regarding the lapse of payment to the insurance companies.

      18   And that was done I believe in 2006, which was at or about the

      19   time of the bankruptcy.      I think the bankruptcy was in 2005,

      20   August of 2005.     And Mr. Caldwell, you know, testified about

      21   how there were problems paying people.

      22              And what I had asked for in the supplemental

      23   interrogatories was to know whether that these insurance

      24   certificates -- because we got insurance certificates which

      25   basically said, you know, CVS $5 million dollars, Walmart
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                                      Rostan - Argument                          93

      1    $5,000, etcetera, etcetera.       At the time that these

      2    certificates were issued, did N.V.E. know -- I mean, say -- or

      3    did the parties that were being insured, who were the subject

      4    of these certificates, know that there was a lapse in payment

      5    to the insurance providers?       And there were colloquy back and

      6    forth with counsel regarding that.

      7              So, that -- that -- there were deficiency letters

      8    back and forth, there were three deficiency letters that I

      9    sent between December 2009 and I think May.         And Mr. Samaro

      10   and I think Mr. White were correspondence on that.          And I

      11   don’t believe that there were any e-mails or other letters and

      12   correspondence.     And that’s also contained in the reply brief

      13   in one of the boxes that we made.

      14             So, clearly, correspondence and e-mail correspondence

      15   was requested, because we were specifically looking at

      16   insurance, not only in the deficiency letters, but in the

      17   supplemental request that was made in the summer of 2010.

      18             THE COURT:    And at any time, again -- and I’m hearing

      19   from Mr. O’Connor that they would have only searched the

      20   server for those e-mails and we now know there’s two servers,

      21   an old server and a new server.       At any time, were you made

      22   aware of which server was searched and which server wasn’t?           I

      23   mean, I, reading the papers, didn’t know there were different

      24   servers until Mr. O’Connor specified that on the record.

      25             MR. ROSTAN:    My recollection is that there was no
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                                      Rostan - Argument                            94

      1    reference to a search on a server as such.         In fairness, I

      2    don’t believe that the interrogatory specifically directed

      3    them to look on a server or gave them a search term, but the

      4    interrogatory questions themselves I think were sufficiently

      5    specific to have triggered the search.

      6               THE COURT:    But the parties never engaged in, say, a

      7    dialogue with respect to e-discovery we now know and call them

      8    e-protocols, and you never engaged in that; there wasn’t

      9    keyword searches that were agreed upon.        This was sort of, you

      10   relied on and you gave them this interrogatory and/or doc

      11   request.    Seem to suggest -- and I don’t have the ones that

      12   you supplemented, but -- unless I do.        I didn’t see it.     Did

      13   you provide that in the exhibits, your different set that you

      14   supplemented with?

      15              MR. ROSTAN:    Did I --

      16              MR. SCAMPATO:    One is Exhibit 19.

      17              MR. ROSTAN:    Yeah, Exhibit 19 was the supplemental

      18   interrogatories.

      19                              (Extended pause)

      20              THE COURT:    Right.   So, but at the time that you

      21   provided the supplemental interrogatories, which seemed to

      22   request documents in response to these interrogatories,

      23   correct?    Did you --

      24              MR. ROSTAN:    Yes.    I mean, I believe -- I don’t have

      25   the verbiage in front of me, but I believe that there is the
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                                      Rostan - Argument                          95

      1    requested information that was pertinent to that, including

      2    documents.

      3              THE COURT:    And you say that you left it to their

      4    discretion to sort of search what they needed to search and

      5    comply with the request or at least, you know, advise you if

      6    there were any documents that were not available and why they

      7    were not available.

      8              MR. ROSTAN:    Right.    What we got were certificates.

      9    We got a whole bunch of certificates, but we didn’t get any of

      10   the colloquy between the insurance companies and N.V.E., which

      11   is what we were looking for.       Because we knew from Mr.

      12   Caldwell that N.V.E. wasn’t paying these insurance companies

      13   and there was -- and he stated in his deposition -- I think it

      14   was page 50, if I remember, or something like that -- when I

      15   first got involved in the case, that there was communication

      16   between one insurance company that was called universal and

      17   there was a second one, but that was a little bit earlier, I

      18   think, in 2003, something in Illinois and I forget the name.

      19   But there was communication, according to Mr. Caldwell.

      20   That’s what we never got.

      21             So, we know there was communication.        I don’t know if

      22   it was in a letter form or an e-mail, but there was back and

      23   forth and it was -- and insofar as the insurance was

      24   concerned, for Mr. Palmeroni’s sake we were trying to

      25   establish that perhaps N.V.E. knew at the time it was issuing
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                                       Rostan - Argument                          96

      1    these certificates, that the certificates were bogus.

      2                And Mr. Palmeroni contends that one of the reasons he

      3    was fired was that he was complaining about these certificates

      4    being falsified and Mr. Prindell (phonetic) in particular

      5    falsifying them or being a participant in the process.           And

      6    there were interrogatory questions concerning Mr. Prindell.

      7                And interestingly enough, speaking of Mr. Prindell,

      8    the Smart World e-mails, the ones we did get, are all from Mr.

      9    Prindell.    There’s hundreds of them.      But why would Mr.

      10   Prindell have all of these e-mails after 2005 and suddenly he

      11   is silent before 2005?      It just didn’t make sense to us, so --

      12               THE COURT:    And that’s when you realized you hadn’t

      13   gotten productions that were --

      14               MR. ROSTAN:   Right.

      15               THE COURT:    That’s when you realized that there were

      16   no productions that were responsive to dates pre-2005.

      17               MR. ROSTAN:   The --

      18               MR. SCAMPATO:   Yes.

      19               MR. ROSTAN:   I think their response, you know, was

      20   deficient and, you know, and then November of 2010 is when we

      21   first learned of the amended complaint and then Smart World,

      22   and that’s when we submitted the supplemental submissions.

      23               But I believe that all of the interrogatory requests

      24   that I worked on specifically included as a definition of a

      25   document anything that was electronic.
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                                      Rostan - Argument                          97

      1                               (Extended pause)

      2              THE COURT:    All right.    So, for example,

      3    interrogatory 6:

      4              “If any document during the period of Mr. Palmeroni’s

      5         employment” -- which would have been 1989 to 2006 -- “with

      6         N.V.E. concerning insurance for N.V.E. and/or its

      7         customers was at one time in existence, but has been lost,

      8         discarded or destroyed or not retained, identify each such

      9         document and provide the following information in a

      10        written response designating and identifying the documents

      11        that cannot be produced.”

      12             And then you have a list of things:

      13             “The date and/or approximate date it was lost,

      14        discarded or destroyed; the circumstances and the manner

      15        in which it was lost, discarded or destroyed; the reasons

      16        for disposing of the document, if discarded or destroyed;

      17        the identity of all persons authorizing or having

      18        knowledge of the circumstances surrounding the disposal of

      19        the document; the identity of all persons who lost,

      20        discarded or destroyed the document; the identity of all

      21        persons having knowledge of the content thereof; and the

      22        identity of the person last known to have custody of the

      23        document.”

      24             All right.    And we see, upon response to

      25   interrogatory number 6 -- and I’m just picking this one:
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                                      Rostan - Argument                             98

      1              “Upon advice of counsel, objection is made to this

      2         interrogatory as vague, ambiguous and impossible to

      3         respond   to.   Without waiver of the objection, N.V.E. has

      4         produced all documents it has within its files, including

      5         all certificates of insurance it was able to locate, but

      6         cannot identify what documents, if any, may have been

      7         discarded in the usual course of business.”

      8              And here we find that you say it was not only

      9    important for them to tell you that there was a purging of the

      10   documents in 2009, but you were not told that, correct?

      11             MR. ROSTAN:    That’s correct.     And I might add that I

      12   think, for the perspective of the Court, I would argue that

      13   the various forms of destruction or loss or in-operation of

      14   documents, whether it’s the MACS system, the destruction of

      15   boxes or the wiping clean of the hard drives, has to be viewed

      16   by the Court or should be viewed by the Court in a cumulative

      17   fashion, in terms of the contents.

      18             Now, with respect to Ms. Gamboa, in sometime I

      19   believe in the beginning of 2009, when she’s destroying box

      20   after box, purportedly that’s done for two reasons.

      21             One reason is that N.V.E. needs storage space.          Now,

      22   this is a $60 million dollar company.        Because we have their

      23   bar chart, if you recall, and, you know, there are tens and

      24   tens of millions of dollars that this company is making and I

      25   think they said there were 15 boxes that were destroyed.
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                                       Rostan - Argument                           99

      1                Now, my personal storage space, which I pay 35 bucks

      2    for, is -- you know, could contain that many boxes.          Maybe

      3    even 30 boxes.     So, you know, and then their Web site says

      4    that they have a huge storage space.        So, we have that.     And

      5    then we have that there’s this receptionist who is destroying

      6    the boxes and then after the fact we hear, oh, Mr. Jensen was

      7    supervising that process.      But we never really heard what

      8    happened between January of 2009 to -- 2009; yeah, 2009 -- and

      9    May, when Mr. Jensen becomes involved and it’s very murky.

      10               We don’t know if the boxes were destroyed in serial

      11   fashion.    It’s referred in one case as a project.        Well, it’s

      12   not -- I mean, a receptionist is -- however capable Mr. Jensen

      13   may or may not be -- and we have the Zubulake argument and

      14   Major Tours argument that it should be supervised by an

      15   attorney.    But assuming, for sake of argument, that it’s --

      16   that Mr. Jensen was somehow relatively qualified to supervise

      17   the process, it’s really not clear that it was just him and it

      18   almost appears to be that it was Ms. Gamboa alone.          At least

      19   it’s an open question.      It’s --

      20               THE COURT:    At least for the early part of 2009.

      21               MR. ROSTAN:   For the earlier part of 2009, because I

      22   just don’t think they told their attorneys what was really

      23   going on, but --

      24               THE COURT:    Can I ask you, counsel, a question with

      25   respect to the argument that I believe I’m hearing probably
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                                      Rostan - Argument                          100

       1    for the first time today from Mr. O’Connor, that everything in

       2    this room was already just information that had been culled

       3    through in the course of discovery.       That, you know, that Mr.

       4    Jensen was involved, intimately involved in this case and, you

       5    know, short of having a degree, he knows -- he can tell what’s

       6    relevant and not relevant and he pulled out very carefully,

       7    from the months of complying with the requests for production

       8    of documents and interrogatories, he was able to get through

       9    these documents, these documents in this storage room and it

       10   was all garbage in there, it was all stuff that had been

       11   sifted through, culled, collected and everything there was

       12   just pretty much not relevant to either the claims against

       13   your client and/or his defenses and his counterclaims.

       14             And that he would have been provided -- and that’s

       15   what I’m being asked to accept here -- that he would have been

       16   provided by the attorneys -- who never provided a litigation

       17   hold letter -- but he would have been provided by his

       18   attorneys a good understanding of the causes of action against

       19   Mr. Palmeroni and also would have been told, when you’re doing

       20   this gathering of all this relevant information, you’re also

       21   going to, by the way, be on the lookout for information that

       22   might be helpful to Mr. Palmeroni in his defenses and/or

       23   counterclaims against us.

       24             That when it was finally done -- I mean, that was

       25   done years ago, in ‘07 and ‘08 and then in ‘09, this useless
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                                      Rostan - Argument                            101

       1    information that’s in this room, that’s when they decide to

       2    let Gamboa, on her own, sort of dispose of this, you know,

       3    useful -- I mean, you know, not -- for lack of a better way of

       4    saying it -- stuff that just clearly is not relevant and isn’t

       5    useful in any of the litigation.

       6              MR. ROSTAN:    Well, I guess you’re asking me a

       7    question and I’ll answer your question with a question.          How

       8    difficult would it be for N.V.E. to take those boxes -- and

       9    I’m sure they had pretty good printers and copiers -- to take

       10   them, copy it and say here’s the -- here’s what we got, you

       11   know, can you lawyers come on down, take a look at it or we’ll

       12   send it to you by Fed-Ex, these are the documents.

       13             Or Mr. -- and I imagine also Mr. Jensen, being an

       14   intelligent person who was involved with the David Caldwell

       15   deposition, he was there, that in going through that, he might

       16   have had a question or two.      Where are the records of the

       17   questions?   Is this relevant?     Is that not relevant?      I mean,

       18   presumably he was selected as CFO to exercise his analytical

       19   ability to discern from one fact to another.         Presumably there

       20   would be at least one or two questions that he might have

       21   raised for some record of that and some communication or

       22   colloquy with the lawyers; if, in fact, that was the process.

       23   Even assuming that that’s a process that would have been

       24   permissible under Zubulake or Major Tours.

       25             But for sake of argument, there’s no contemporary
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 102 of 197 PageID: 4650
                                Rostan / O’Connor - Argument                     102

       1    inventory.   The triggering for the going through these

       2    documents is to create storage space, no greater purpose than

       3    that, and it just -- you know, it seems difficult to believe

       4    on its face.

       5              THE COURT:    Anything further, Mr. Rostan?

       6              MR. SCAMPATO:    Anything further?

       7              MR. ROSTAN:    Oh.    Nothing further.

       8              THE COURT:    Okay.    Mr. Scampato, is there anything

       9    that you want to?

       10             MR. SCAMPATO:    No, Your Honor.

       11             THE COURT:    All right.    Mr. O’Connor, a couple

       12   questions.

       13             MR. O’CONNOR:    Yes, Your Honor.

       14             THE COURT:    What did your systems specialist or

       15   administrator say to you?

       16             MR. O’CONNOR:    About -- can I just make one brief

       17   point, Your Honor, if I might?       Mr. Rostan pointed out that

       18   N.V.E. did have a general counsel up until about I think April

       19   or June of 2007, which is the David Caldwell he referred to

       20   deposing back some time ago in the case.        So, at least for

       21   that first year-and-a-half up to mid -- like, somewhere

       22   between April and June of 2007, there was a general counsel at

       23   N.V.E. who was responsible, as well as Mr. Jensen, with

       24   handling discovery requests.      So, it wasn’t as if there was no

       25   lawyer involved.    It’s for a limited period of time up to
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 103 of 197 PageID: 4651
                                     O’Connor - Argument                          103

       1    2007.   Okay?

       2              I think that Mr. Yang, Your Honor, what he told me

       3    was that the new e-mail server appears to have been instituted

       4    prior to the time when Mr. Palmeroni was let go.         Okay.   So

       5    that -- and it was his understanding that the prior system

       6    administrator, when they upgraded the system or bought the new

       7    computer or whatever you want to call it, they were supposed

       8    to have migrated all of the information from the old e-mail

       9    server onto the new e-mail server.       And so that, up until

       10   recently, he never searched the old e-mail server, because he

       11   was under the impression that everything had been migrated

       12   onto the new e-mail server from approximately 2005, and so

       13   that he thought everything was there.

       14             The searches that were done previously were not done

       15   a search for e-mail, the Palmeroni e-mails, they were done on

       16   search terms.    You know, just push a search term into the

       17   computer, give me everything on, say Smart World, and out pops

       18   all the e-mails.    And all he did was download it onto a disk

       19   and handed it over to be -- to the lawyers to be produced, as

       20   what happens.    He didn’t look to see whether the Palmeroni

       21   account was there or the Rosarbo account is there, all he did

       22   was, someone said to him, Philip, you know, we need to search

       23   for X, Y and Z, he did the search.       He did not search the old

       24   server, --

       25             THE COURT:    But he must have searched Palmeroni’s
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 104 of 197 PageID: 4652
                                      O’Connor - Argument                        104

       1    name.

       2              MR. O’CONNOR:    I don’t think he searched Palmer -- I

       3    don’t know.    My understanding is he did search terms, rather

       4    than just every Palmeroni --

       5              THE COURT:    Yeah, but I know about search terms.

       6              MR. O’CONNOR:    Yeah.

       7              THE COURT:    And what you do is, you have connectors

       8    and --

       9              MR. O’CONNOR:    Right.

       10             THE COURT:    -- you know, and you have “but fors” and

       11   you have “have nots” and so that, you know, you limit and

       12   you’re able to at least get -- you’ve got to use the name

       13   Palmeroni if --

       14             MR. O’CONNOR:    Right.

       15             THE COURT:    -- the case is --

       16             MR. O’CONNOR:    No, no.

       17             THE COURT:    -- involving Palmeroni, right?

       18             MR. O’CONNOR:    I think that’s very astute, Your

       19   Honor, but I think that’s different from saying I want you

       20   just to download all of Palmeroni’s e-mails, which maybe

       21   should have been done, but apparently wasn’t done.          There was

       22   no, look, just give me the Palmeroni e-mails, whether they are

       23   relating to Smart World or whether they’re related to, you

       24   know, he got some junk e-mail or related to, you know, Stacker

       25   2.   It wasn’t just sort of a general, say, give me every
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 105 of 197 PageID: 4653
                                      O’Connor - Argument                         105

       1    Palmeroni e-mail, it was a search term; give me the stuff that

       2    relates to, for example, Sumicek or Smart World or what have

       3    you with that.

       4              At some point much more recently, when I was -- we

       5    got involved, there was -- okay, we found out about that there

       6    was this other old e-mail server that hadn’t been searched and

       7    then we tried to find out, especially after we found out that

       8    these e-mail accounts had been deleted, at which point --

       9              THE COURT:    When you say very recently, I need --

       10             MR. O’CONNOR:    Within the last --

       11             THE COURT:    For purposes of this motion, --

       12             MR. O’CONNOR:    Within the last six months.       Within

       13   the last six months.

       14             THE COURT:    Okay.

       15             MR. O’CONNOR:    At which point, I can tell you that I

       16   told Mr. Yang and said don’t even bother looking in that, so

       17   you don’t get accused of anything, we’ll hire an expert and

       18   then have him look at the old e-mail server.         Just leave it

       19   alone for now.    And then is when we hired the retired FBI

       20   agent, this fellow Brian Orsak, to come in, is when they try

       21   to power up, is when they found out in the two to three weeks

       22   when we found out that we couldn’t even turn on the old e-mail

       23   server, although it was sitting in the computer room with the

       24   stuff, it was just sitting there.

       25             THE COURT:    So, you never at any time in the fall of
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 106 of 197 PageID: 4654
                                      O’Connor - Argument                        106

       1    2010 told -- you said within the last six months -- you never

       2    told the other side, though, that there was this other e-mail

       3    server.

       4              MR. O’CONNOR:    No, because I don’t think anyone --

       5    no.   I don’t -- I don’t think anyone understood the relevance

       6    until we got there and then found out we don’t have an account

       7    for Palmeroni, for Rosaro (sic), for these two ladies, and

       8    that the -- there appears to be information that’s not going

       9    back far enough for like when we talked about the Smart World,

       10   we only stuff from 2005 forward.

       11             At that point, we’re like, well, is there anywhere

       12   else to look?    And at that point, he said, well there is this

       13   old e-mail server, and then we went to look for that and we

       14   went to hire the expert to sort of see if we could find out

       15   what was on it.    And then it was only when we did that, within

       16   the last couple weeks, we found out we couldn’t -- we couldn’t

       17   turn it on.    So, that server was not searched in the past.

       18             THE COURT:    Okay.

       19             MR. O’CONNOR:    There --

       20             THE COURT:    Can you -- I don’t want to cut you off,

       21   Mr. O’Connor.

       22             MR. O’CONNOR:    No, no, that’s fine.

       23             THE COURT:    At some point -- and I’m not going to

       24   interrupt your flow here -- but at some point before you sit

       25   down, I want you to reconcile what was written in the letter
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                                      O’Connor - Argument                         107

       1    by Ms. Smith to counsel on November 19th and what you’re

       2    saying now.

       3              MR. O’CONNOR:    Okay.   Could I --

       4              THE COURT:    Because November 19th, when it’s read

       5    verbatim by counsel, seems to suggest, by at least the letter

       6    that Ms. Smith wrote, that everything is gone.         And there is

       7    no explanation that everything is gone, but it was culled

       8    through by Mr. Jensen and all requested documents have already

       9    previously been provided.

       10             Can you reconcile why one attorney is making a

       11   representation on November 19th in writing and now I’m hearing

       12   you stand up here today and give me your arguments -- and I

       13   understand you’re advocating, but I am trying to understand

       14   why we didn’t get this understanding of Mr. Jensen, who is not

       15   an attorney, who I’m going to reserve on my opinion with

       16   respect to allowing Mr. Jensen and entrusting him with the

       17   obligation of not only pulling documents that are relevant to

       18   the claims you’re asserting against Mr. Palmeroni, but also

       19   having an eye out for any documents that may be relevant to

       20   the defenses against those direct claims, as well as the

       21   counterclaims that were asserted in February of ‘07 and April

       22   of ‘07.

       23             But none of that -- we didn’t get that from that

       24   letter and I’m guessing and I’m wondering why that wasn’t

       25   explained.
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                                      O’Connor - Argument                           108

       1              MR. O’CONNOR:    And maybe it’s in-artfully drafted,

       2    Your Honor.    We did put it in the certification or the

       3    declaration of Mr. Jensen that we submitted to the Court, so

       4    we have a sworn statement saying that he did it.         And I’m not

       5    sure -- and I apologize for my memory, Judge -- what exactly

       6    the language of Ms. Smith you’re referring to.         Just --

       7              THE COURT:    The language in the letter.      What was the

       8    paragraph you read, Mr. Scampato, which it says on November

       9    19th you received this letter and --

       10             MR. SCAMPATO:    Just one moment, Your Honor.

       11             MR. O’CONNOR:    If you could just refer to what

       12   Exhibit, so I can pull it up?

       13             THE COURT:    Mr. O’Connor, --

       14             MR. SCAMPATO:    I -- it’s --

       15             THE COURT:    -- also a quick question.      Wait, I’m just

       16   -- I’m going to -- is it also attached to -- can you -- where

       17   is it attached, --

       18             MR. ROSTAN:    Here it is.

       19             THE COURT:    -- so that I can read directly from it?

       20             MR. SCAMPATO:    Yeah, where is it attached?       Where is

       21   it attached?    Smith letter of -- that’s Exhibit 2, Your Honor.

       22             MR. ROSTAN:    Exhibit 2.

       23             THE COURT:    Okay.   And Mr. O’Connor, just with

       24   regards to this migration issue that Mr. Yang thought.           Were

       25   the e-mails ever -- were the old server e-mails ever -- did
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                                       O’Connor - Argument                       109

       1    they ever get migrated to the new server?

       2               MR. O’CONNOR:    My understanding -- and unfortunately,

       3    Your Honor, Mr. Yang was heading to a wake when I spoke to him

       4    just now, so he wasn’t in front -- access to the computer.           My

       5    understanding is that the old e-mails were migrated to the new

       6    server, but it appears that they only go back as far as 2004.

       7    Which --

       8               THE COURT:   But --

       9               MR. O’CONNOR:    Which I don’t -- that the e-mail --

       10   there’s no e-mails prior to 2004 on the new e-mail server and

       11   it is my understanding that that e-mail came into play in and

       12   around 2005, prior to Mr. Palmeroni being terminated by N.V.E.

       13   So, whatever decisions were made as to what to migrate or move

       14   from the old server to the new server were done before Mr.

       15   Palmeroni was terminated.

       16              So, those -- I mean, so there’s no issue that they

       17   were somehow should have been held onto, because there was --

       18   that was a decision made before he was terminated.

       19              THE COURT:   I will tell you, Mr. O’Connor, that again

       20   I understand from reading your position that you didn’t view

       21   this from your perspective as real serious arguments that the

       22   defendants were putting forward, that these were delay tactics

       23   and the like, but when people are faced with potential -- as

       24   you all are -- of an adverse inference minimum, it may have

       25   been a good idea to have your systems administrator here to go
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                                       Smith - Argument                           110

       1    under oath so that I could question him as to what occurred

       2    specifically.

       3              And I am not saying that I’m going to hold that

       4    against you, but this has been pending for some time.          This is

       5    an -- this, quite frankly, is an ‘06 matter that I have been

       6    given a directive on.     Today was the day.     It has been set for

       7    some time and I don’t understand why we didn’t have -- we have

       8    Mr. Jensen here, but we don’t have the person that seems to be

       9    the most knowledgeable with respect to what was searched; how

       10   was it searched; what key terms were used; what were -- why

       11   did they think something had migrated; why no one noticed that

       12   they were providing in response to a request that requested

       13   all e-mails and correspondence, that we were only giving

       14   documents and/or e-mails that were post-2005; why nobody

       15   caught this in the course of litigating this matter.

       16             Those are all questions that I would love to have

       17   someone here to ask, but that’s neither here nor there.          We

       18   now have a letter that I’m looking at from Ellen Smith,

       19   November 19th, --

       20             MS. SMITH:    Your Honor, if I could respond to that,

       21   since it’s my letter?

       22             THE COURT:    Sure.

       23             MS. SMITH:    In the third paragraph it says:

       24             “In addition, towards the end of 2009 N.V.E.’s

       25       storage room, containing hard paper files was purged in
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                                       Smith - Argument                           111

       1        the regular course of business and substantially all

       2        records from    2004 and earlier years, except files that

       3        were the subject of litigation.”

       4              Now, maybe it required more explanation, but to me I

       5    knew that they had culled out and taken everything that they

       6    needed.   We removed everything that related to litigation and

       7    then they were purged.     But I mean, and to say if it’s not

       8    artfully worded, I take responsibility for that.

       9              THE COURT:    All right.    So when you say that you --

       10   subject of litigation, can you -- were you involved in the

       11   culling through of the documents, Ms. Smith?

       12             MS. SMITH:    No.

       13             THE COURT:    Did you, in writing this letter, did you

       14   have any contact with Mr. Jensen?       Were you the person who

       15   told him what documents to pull and -- from the storage room?

       16   Did that include defenses, possible defenses and/or

       17   counterclaims that you were on notice as far back as February

       18   of 2007 and amended in April of 2007?

       19             MS. SMITH:    That was done much earlier in response to

       20   the lit -- discovery and the discovery requests were funneled

       21   through and handled by the legal -- the in-house legal counsel

       22   and his several paralegals that he had.        They -- we would give

       23   them the request and they would give us the responses.          So,

       24   there was an attorney there during that --

       25             THE COURT:    But you can’t speak --
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                                       Smith - Argument                          112

       1              MS. SMITH:    No, I can’t.

       2              THE COURT:    -- definitively as to what Mr. Jensen may

       3    have been told or not told --

       4              MS. SMITH:    No.

       5              THE COURT:    -- in what to do.

       6              MS. SMITH:    No.   I mean, Mr. Jensen would be able to

       7    tell you what his -- what he knew --

       8              THE COURT:    Does Mr. Jensen want to take the stand

       9    and tell me?

       10             MR. O’CONNOR:    If you find that useful, Your Honor,

       11   we’ll have Mr. Jensen testify.

       12             THE COURT:    Let’s swear Mr. Jensen in.

       13                              (Extended pause)

       14             MR. SCAMPATO:    Your Honor, if I could just --

       15             THE CLERK:    Raise your right hand.

       16             MR. SCAMPATO:    -- relay one bit of information to you

       17   before he goes -- he’s sworn?      It’s our understanding that the

       18   in-house counsel, Mr. Caldwell, left in late 2006.

       19             MR. ROSTAN:    Or early 2007.

       20             MR. SCAMPATO:    Or early 2007.

       21             THE COURT:    Well we’ll ask Mr. Jensen when he left.

       22   I’m going to ask Mr. Jensen some questions and then, if anyone

       23   wants to supplement, you can feel free to.

       24                  ERLING JENSEN, COURT’S WITNESS, SWORN

       25             THE CLERK:    Okay.   Please be seated.
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                                       Jensen - Direct                           113

       1                              DIRECT EXAMINATION

       2    BY THE COURT:

       3    Q   Good afternoon, Mr. Jensen.

       4    A   Good afternoon.

       5    Q   Can you spell your complete -- say and then spell your

       6    complete name.

       7    A   Erling Jensen.     E-R-L-I-N-G    J-E-N-S-E-N.

       8    Q   All right.    Mr. Jensen, you have been present when we

       9    commenced with oral argument today -- and we started a little

       10   bit about 2:30-2:40 in the afternoon -- were you not, sir?

       11   A   I was here.

       12   Q   Okay.   So, you’ve got a pretty good understanding of what

       13   we’re talking about in terms of both the electronic files --

       14   which I am not going to ask you too many questions about --

       15   but more importantly the files that were purged in 2009.

       16   A   Yes.

       17   Q   Okay.   Well, let’s first start talking about discovery.

       18   Counsel has told me that you’re intimately involved in this

       19   matter and you have been over the course of the last few

       20   years, is that correct?

       21   A   That’s correct, yeah.

       22   Q   Okay.   And in response, either by direction of in-house

       23   counsel -- which, by the way, who at the time was in-house

       24   counsel in 2006 and 2007?

       25   A   David Caldwell.
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                                       Jensen - Direct                           114

       1    Q   Do you know when Mr. Caldwell left?

       2    A   I -- my recollection was that it was in either April or

       3    June of 2007.

       4    Q   April or June of 2007.

       5    A   I believe it was in June of 2007.

       6    Q   Okay.    In the course of discovery -- and this complaint

       7    was actually filed on November 15th of 2006, right?          So, after

       8    the complaint was filed, you understand that there are

       9    requests for both answers in a written form -- those are

       10   called interrogatories -- and then there’s also requests for

       11   production of documents; you have a general understanding?

       12   A   Yes, I do.

       13   Q   Okay.    And in the course of trying to cull through all of

       14   the documents that you had in the storage room and elsewhere,

       15   who gave you an overview of what you were looking for?

       16   A   Well, first of all, when it all started, David Caldwell

       17   did.   And while he was still here, he would give me all the

       18   directions as to what it was I was supposed to produce and

       19   what it was I was supposed to find.       And I did that.

       20               And in doing so, I would go through files at the

       21   storage room, I would talk to other people, I would go into my

       22   accounting system, which was the MAS system.         I have never

       23   seen, had never had anything to do with the MACS system; that

       24   was before I came there.      And then, whatever it was that was

       25   being requested, I would produce.
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                                       Jensen - Direct                           115

       1               If there wasn’t anything, I would say I can’t find

       2    anything, I don’t have anything and that’s it.

       3    Q   Did he explain to you what the allegations the company had

       4    against Mr. Palmeroni?     Did you have an understanding of what

       5    the allegations were in 2006 and 2007?

       6    A   Yes, against -- absolutely, yeah.

       7    Q   So, you knew what you guys were looking for, in terms of

       8    trying to prove your case against Mr. Palmeroni.

       9    A   That’s correct.

       10   Q   And you did your best to pull that information and provide

       11   that to your in-house counsel, who then ultimately would

       12   provide it to outside counsel.

       13   A   Yes.

       14   Q   What about, did he ever explain to you what the

       15   allegations were against you all?       That there were certain

       16   claims that were being filed -- they’re called counterclaims --

       17   by Mr. Palmeroni and, in fact, there were actual defenses that

       18   he would have also asserted when he answered your complaint

       19   after November 15, 2006.      Did he talk to you about the

       20   defenses in the case?

       21   A   Well, I mean, I -- I don’t particularly recall that.

       22   Q   You don’t recall him kind of giving you an overview of,

       23   you know, things that you needed to look at that were relevant

       24   to, you know, the things that were being lodged against you,

       25   allegations against you with respect to insurance or the vans
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                                       Jensen - Direct                             116

       1    or income tax or anything like that?

       2    A   Oh, I believe that everything with all the insurance

       3    certificates and all that, I am not certain, but that came

       4    later on, as far as I am concerned.       While David Caldwell was

       5    here, I do not recall anything about insurance companies,

       6    insurance certificates or any such things.        It wasn’t until

       7    later on, after he left and --

       8    Q   And he said that was around April of 2007.

       9    A   Yeah, I believe it was June of 2007.

       10   Q   Okay.

       11   A   But it could have been April of 2007.        But the records,

       12   you know, would indicate --

       13   Q   When he left.

       14   A   When it was.    And it wasn’t until after that, that I even

       15   heard about insurance correspondence or anything like that,

       16   and I heard that from Pashman Stein, not from David Caldwell.

       17   And whatever time frame it was, I mean, I looked -- I looked

       18   through the old legal files, I looked through the storage room

       19   and there was -- yeah, there was correspondence and policies

       20   from Universal, from Evanston in Illinois, and they were also

       21   part of the bankruptcy case and there were paperwork in

       22   connection with that.     That has all been produced.

       23               There is nothing at N.V.E. that has anything to do

       24   with Universal, with insurance or anything like that.          There

       25   is absolutely not a piece of paper.       Everything has been
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                                       Jensen - Direct                           117

       1    turned over, you know, to these people.

       2    Q   When you went looking -- do you remember how often you

       3    would go to the storage room and try to look for things?           Did

       4    you do it all sporad -- like, was it one time that you did it

       5    or did you find yourself going back to the storage room

       6    several times?

       7    A   Several times, depending on what the issue was at the

       8    time.

       9    Q   And what they were asking you to look for?

       10   A   That’s right.

       11   Q   Did you ever look for, like, communication in any form,

       12   but in the storage room with respect to commissions?

       13   A   Well, it -- yeah, absolutely.       We have also -- we have

       14   produced -- when I say we, that’s N.V.E., --

       15   Q   Mm-hmm.

       16   A   -- you know, including myself.       We have produced I can’t

       17   even tell you how many, I would think in the thousands of

       18   pages of commission statements, check stubs, you know, that

       19   had to do with commissions.

       20   Q   Did you look for information with respect to the brokers

       21   and any of the brokers you heard mentioned here today?          And I

       22   know that counsel is saying one of them was not a broker.           But

       23   in particular, Wayne Dail, Harold Miller and Kris Sujack?

       24   A   yeah.

       25   Q   And you remember physically going into that storage room
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                                       Jensen - Direct                           118

       1    and looking for information with respect to that?

       2    A     Yes, I absolutely do.

       3    Q     So, you believe what was -- whatever was asked, at least

       4    during the period of time where in-house counsel was there and

       5    guiding you, and even past his departure, that you went into

       6    that room and pulled all of the information that was requested

       7    of you?

       8    A     Absolutely.

       9    Q     And when you say you did, like, what would you do?        Would

       10   you go box by box?     How was everything kept in there?

       11   A     Well, it depends on what it was.     For argument sake, if it

       12   was commission statements for Sunbelt, I’d go into the box

       13   that was marked Sunbelt at the end and then I would take that

       14   out.    That may not be the best example, because all of these

       15   things, they were taken out prior.       But if it was a term, if

       16   it was a customer, say a CB Distributor, who has been involved

       17   in the case, then I would go in wholesale orders A through J

       18   or something like that and then I would go to C and take out

       19   CB.

       20   Q     Now, I’m going to jump around a bit.      But you heard

       21   counsel stand up a moment ago, counsel for the defense, Mr.

       22   Scampato, and he said one of the things that we’re alleging

       23   are these cash payments that were received by the company and

       24   that those payments would be documented in one of two places:

       25   the MACS system -- which you say you had really no contact
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                                         Jensen - Direct                         119

       1    with; you were only doing the MAS system, right?         M-A-S?

       2    A   That’s correct.     Yes.

       3    Q   You didn’t have anything to do with the MACS system, the

       4    M-A-C (sic) system?

       5    A   That’s correct.

       6    Q   All right.    So, I can’t ask you about that, because you

       7    wouldn’t know whether those cash payments were noticed on the

       8    MACS system, you had no -- you didn’t look at that system.

       9    Correct?

       10   A   No, I did not.     No.

       11   Q   So, the other place where they say it would be -- where

       12   there would be a record of cash payments would be in hard copy

       13   form, if at all, in the storage room.        At any time were you

       14   asked to look for that kind of information?

       15   A   I can categorically states that since I started in June

       16   23, 2006, N.V.E. has never made a cash sale.         And when he

       17   brought up cash sales, that’s the first time that I have heard

       18   the term --

       19   Q   So, there was --

       20   A   -- cash sales.

       21   Q   There was never any box or any type of information that

       22   was kept for cash sales?

       23   A   Not that I know of.

       24   Q   Did you --

       25   A   I never saw any.
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                                       Jensen - Direct                             120

       1    Q   Did you look through all the documents?        I mean, there

       2    must have been a lot of documents that you purged from 1980 to

       3    2004.   Could you say -- and, again, you’re under oath.         Could

       4    you say you looked at every single piece of paper in that

       5    room?

       6    A   I would have no reason to look at stuff from 1980, 1981,

       7    whatever the years, you know, --

       8    Q   Or in 1996?    Did you look at ‘96?      That’s when Palmeroni

       9    started with the company.

       10   A   I believe that there was a -- you know, there was a term,

       11   you know, relative time frame and, yes, I would have.          Did I

       12   ever see anything about cash sales?       No, I didn’t.     I haven’t

       13   seen anything about it.     And in the -- I’m in my sixth year.

       14   N.V.E. has not made a cash sale in the -- you know, in those

       15   five-plus years.

       16   Q   All right.    So, you say that there was nothing in that

       17   storage room that would support the defendant’s assertion that

       18   there was a record of cash sales?

       19   A   That would be -- no, I -- I would say --

       20   Q   You never saw.

       21   A   I --

       22   Q   You can’t say for certain, but as far as you can testify

       23   to, having looked through that -- those documents, you came

       24   across no documents that support that.

       25   A   That’s correct.     I did not.
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                                       Jensen - Direct                            121

       1    Q   Okay.    So, bring me now to the moment that you decide that

       2    you want to get rid of some stuff.       What happened?     What went

       3    through your mind and what were your instructions to Ms.

       4    Gamboa?

       5    A   The so-called storage room, that’s a room that’s -- I

       6    don’t know, I can’t really tell you how big it is, but it’s

       7    not like -- it may be one-tenth of this room.         There were all

       8    sorts of things in that room and you could -- whenever you

       9    needed to find something, you always spend a lot of extra time

       10   finding it, because every time a box was pulled out, it never

       11   was put back into place.      You know, people would pull a box

       12   out, take whatever files out that was needed, and then just

       13   leave it on the floor and the next time you needed to pick up

       14   another box, you top that on top of the one that was on the

       15   floor and took out what was needed.

       16               So, at one point in time, everything was helter-

       17   skelter and then I decided that we needed to start clearing

       18   up, we needed additional storage space, and I told Heather

       19   Gamboa that seek and destroy.      In other words, she was

       20   sitting, you know, waiting for the telephone to ring, so we

       21   brought the shredder, we brought that down next to her desk --

       22   Q   Mm-hmm.

       23   A   -- and then she would then start to shred documents that

       24   was 2004 and prior.

       25               Now, those 2004 and prior had been looked at.       And
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                                       Jensen - Direct                           122

       1    then besides, what was there was --

       2    Q   Can I stop you right there?

       3    A   Yeah.

       4    Q   You use the term helter-skelter, but how did you know that

       5    she was only grabbing -- if everything was -- if boxes were

       6    out and things were kind of disorganized, how did you know

       7    that she wasn’t perhaps getting something that wasn’t supposed

       8    to be shredded?    What kind of supervision were you doing and

       9    in what kind of order was everything kept?

       10   A   Well, that’s -- I can’t say that for 100 percent sure,

       11   because of the fact that I am not personally 100 percent sure

       12   if she herself, after the initial boxes were put out by her --

       13   you know, I would put the initial boxes out -- and they would

       14   have to do with accounts payables and stuff that had nothing

       15   to do with what we are talking about here.        I would bring a

       16   number of boxes out to her desk and she would start -- and she

       17   would just start shredding, you know, in between the, you

       18   know, the phones ringing.

       19               Now, did I personally bring her every box that she

       20   shredded?    No, I didn’t, you know, and I’m not really 100

       21   percent sure, after I had brought the initial boxes out and

       22   told her, okay, so you get the drill here.        And, yeah, she did

       23   get the drill.    Did she then ask some -- one of the guys,

       24   because these boxes -- I mean, she could lift them, but I mean

       25   it’s like -- she was a young woman and I don’t know what the
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                                       Jensen - Direct                            123

       1    boxes weigh, maybe 25-30 pounds.       Now, did she ask one of the

       2    guys that come back and say, oh, can you get me a 2004 or

       3    whatever it is prior to 2004 box or if she would herself tote

       4    a box out?   That I can’t tell for certain.

       5    Q   And you don’t know where she grabbed them from or where

       6    she may have asked the guy to grab them from?

       7    A   No, I can’t say that for certain.        No.

       8    Q   All right.    And the reason that you want -- that you

       9    thought it was time to shred this was because you needed the

       10   storage space?

       11   A   Well, we wanted to go and have a general cleanup, start to

       12   make things, you know, look nice.       I mean, that’s all.     It is

       13   a, you know, sort of in the sense of a pharmaceutical

       14   manufacturing plant and, you know, you want things to look

       15   nice and I wanted things to look nice and get all the junk

       16   that we didn’t need.

       17             You know, I mean even -- you know, IRS requires you

       18   to keep documents for a certain amount of years and, hey, what

       19   do we need stuff from 1984 for?       We don’t.    So, we wanted to

       20   make things that we did need accessible, make everything look

       21   nice and so forth.

       22             So, that was the motivation for having her, while she

       23   was sitting doing nothing, to have her do that.

       24   Q   Right.   Did you, in making this decision, did you ever

       25   think, hmm, we’re in litigation with Mr. Palmeroni, I should
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                                       Jensen - Direct                           124

       1    contact my attorney, because now I don’t have an in-house

       2    attorney to confer with, I should contact Pashman Stein and

       3    let them know that I’m intending on shredding documents that

       4    clearly fall within, I would argue, the temporal scope here?

       5    I’m thinking 1999 to 2006.

       6              Did you ever think of calling your attorney -- and I

       7    don’t want to know the con -- if you had a conversation, we

       8    don’t want that, we just want to know, did you ever think to

       9    notify your attorneys that you were going to start shredding

       10   documents?

       11   A   No, I -- I didn’t -- you know, I mean, there wouldn’t be

       12   any reason for me to contact them and say that we’re going to

       13   get rid of, because the stuff that we were getting rid of was

       14   stuff that had nothing to do with anything.        Everything --

       15   Q   Well, how do you make that determination?

       16   A   Well, I -- the determination that I make, the reason for

       17   that is that I had already, at that point in time, I had

       18   already picked out of that room, out of every box, I had

       19   picked every file that had any bearing on what we were talking

       20   about at the time.

       21   Q   See, but the problem is, sir, that the complaint has

       22   subsequently been amended to add new allegations, there were

       23   supplemental requests that I authorized the defendants to make

       24   in the fall of 2010.     So, what you thought you had -- didn’t

       25   need, you really didn’t know, because litigation was ongoing.
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                                       Jensen - Direct                           125

       1    A   Well, I mean, if that’s the answer, that’s the answer.           I

       2    mean, I didn’t see anything in 2009, I didn’t see anything

       3    that had to do with what we knew at that time.         And what we

       4    knew at the time was commission kickbacks, Palmeroni giving

       5    Sunbelt accounts that he shouldn’t be getting.         We paid 8,

       6    900,000 to Sunbelt on accounts that Sunbelt had nothing to do

       7    with.   Sunbelt kicked half of that money back to Palmeroni.

       8    That was the case --

       9    Q   But there were also --

       10   A   -- and there was noth --

       11   Q   -- claims against you, too, though.        Do you understand a

       12   counterclaim against --

       13   A   Yeah, there was a claim of wrongful termination.

       14   Q   And other things, too, though.       There were other --

       15   A   Yeah, but --

       16   Q   There were other claims against --

       17   A   There were other such ridiculous things, this sexual

       18   harassment at Christmas parties?       There was no paper files on

       19   that in those boxes in the storage room anyway.

       20   Q   But there were other counter -- there are other

       21   counterclaims in the case as well and I guess I’m trying to

       22   understand what you did and what your understanding of the

       23   universe of documents and what you looked at when you would go

       24   in there on these occasions and what you -- everything sounds

       25   like, you know, you looked periodically, but I don’t know how
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                                       Jensen - Direct                             126

       1    much information you were provided, since in-house counsel may

       2    have left by the time you were asked to go into this room.

       3              So, I am just trying to determine why you felt like

       4    these documents had -- were clearly not relevant and not

       5    necessary and therefore could be shredded.

       6    A   Well, that was because, as an example, there was accounts

       7    payables took out or took up a lot of rooms.         That had nothing

       8    to do with it.    Accounts payables.     I’m talking about, you

       9    know, invoices from our vendors, receiving tickets, you know,

       10   bill of ladings that would support the invoice, the check stub

       11   that the invoice had been paid.       That clearly is totally

       12   irrelevant.

       13             In addition to that, there were accounts receivable

       14   records and same thing, there were check stubs from, you know,

       15   customers, there were backup paperwork from customers that

       16   showed deductions, if there were deductions, and other

       17   miscellaneous items.     That had nothing to do with it.       There

       18   were old time cards.     There were marketing literature, boxes

       19   of old catalogues from 1990 and 1984, whatever it was.          There

       20   were boxes that contained, you know, cassette tapes which had

       21   nothing to do with it.     There were -- you know, there were

       22   boxes that had some old, you know, construction information.

       23   That kind of stuff.

       24             And then, of course, there were also -- you know,

       25   there were also retail orders; you know, like Rite Aid, CVS,
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                                       Jensen - Direct                            127

       1    Walmart.    That all -- not -- that had nothing to do with

       2    anything.

       3    Q   Now, when you say, again, just so we understand your

       4    testimony, you said that you took out the first couple boxes

       5    for Ms. Gamboa, but thereafter there wasn’t -- you kind of

       6    left it to her to go pull what she needed and start shredding

       7    what she thought was responsive to your instructions.

       8    A   Well, yeah, no, but that was basically everything.

       9    Everything from 2004 and -- 2004 and back and earlier and

       10   there was also a possibility -- and I -- there’s a possibility

       11   that she might have erroneously grabbed the 2005 box, but she

       12   was specifically instructed to look everything -- there wasn’t

       13   -- it was not up to her to look through anything that she

       14   shredded, you know, whatsoever.

       15   Q   It was up to you to make sure that all that was not

       16   necessary.

       17   A   That’s correct.

       18   Q   And you did, but you can’t say for certain what she might

       19   have, in the course of doing what you asked her to do, she

       20   might have grabbed something else.

       21   A   No, she might have grabbed the box from 2005 erroneously,

       22   but not -- not 2 --

       23   Q   Why did you pick the 2004 date?

       24   A   Well, that was because of the year.        2009 and 2005.    So

       25   then I wanted to keep what was five years old, roughly.
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                                        Jensen - Cross                           128

       1              THE COURT:    Okay.   Any questions, counsel?

       2              MR. SCAMPATO:    Yes, Your Honor.

       3                              CROSS-EXAMINATION

       4    BY MR. SCAMPATO:

       5    Q   Just so I’m clear.     Mr. Caldwell gave you instructions

       6    during 2006 and up to maybe June of 2007 regarding what to

       7    keep and not to keep, is that correct?

       8    A   No, I don’t believe that’s what I said.        I said that I

       9    believe that -- or I produced all reports and records that he

       10   asked for.

       11   Q   So then, knowing what to keep and what not to keep, Mr.

       12   Caldwell is the one who told you what to keep and what not to

       13   keep?

       14   A   No, because back then in 2006 and 2007, there was no

       15   question whatsoever about cleaning up the room or throwing

       16   anything out.    That wasn’t until --

       17             THE COURT:    Right, I think the --

       18             THE WITNESS:    -- 2009.

       19             THE COURT:    I think the question is better suited:

       20   what he needed to pull for discovery purposes.

       21             MR. SCAMPATO:    Right.    I’m sorry.   That’s what I

       22   meant.

       23             THE COURT:    Okay.

       24   BY MR. SCAMPATO:

       25   Q   Regarding discovery, what needed to be pulled for
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                                        Jensen - Cross                           129

       1    discovery, you figured that out based on what the instructions

       2    that Mr. Caldwell gave you.

       3    A   That’s correct.

       4    Q   And after Mr. Caldwell left, I believe you testified that

       5    there were no other attorneys that explained to you what

       6    discovery was to be pulled out.

       7    A   Well, then what -- I would then be -- at the time Caldwell

       8    left, I would then be responsive to pulling and producing what

       9    Pashman Stein -- whatever.      You know, interrogatories would

       10   come in, I would look at them and I would be the one who would

       11   walk around to everybody in -- that worked at N.V.E. who might

       12   have information regarding the questions.        I would go into the

       13   storage room, I would look in or ask people to look in their

       14   personal files, etcetera, and then after that was completed,

       15   then we would have a conversation, you know, the -- well, at

       16   the time it was basic -- mostly it was I guess --

       17             THE COURT:    Mr. Samaro?    Mr. White?

       18             THE WITNESS:    Yeah.   And then we would go through the

       19   -- you know, we would go through the questions, we would

       20   discuss the questions and then, after that was done -- and

       21   there would be many times, you know, the answer to that --

       22   some of these questions, the answers would be, well, I have no

       23   idea, no one else knows about, you know, that, that’s

       24   something that happened in 2004 or 2003 or whatever it was and

       25   no one knows about that.
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                                        Jensen - Cross                            130

       1              And then the -- all the questions would be completed

       2    and some of them I would sign and the other -- some other ones

       3    would be signed by Robert Occhifinto, if he was the one that

       4    had the major input into answering the questions.

       5    BY MR. SCAMPATO:

       6    Q   But as far as knowing -- having instructions as to what to

       7    pull, what discovery to pull and what discovery not to pull --

       8    A   Well, that’s very -- that’s -- that’s simple enough.          I

       9    read the question and then, if I don’t understand what the

       10   question is, I will call up Sam Samaro and I would say, Sam,

       11   I’m not really sure, what am I supposed to do with this; and

       12   then he’d give me the instructions what I am supposed to do

       13   and then I would do it, to the extent that it was there, to

       14   the extent that some of the people -- and again, there was --

       15   there’s some of the people in -- you know, that had to do with

       16   stuff today, they weren’t, you know, back then in 2002 and

       17   2003, they were not employed by N.V.E.

       18             THE COURT:    But if the people weren’t there, you did

       19   go to the storage area to look for the documents or did you

       20   not?   I mean, I don’t --

       21             THE WITNESS:    Yes, I did.    Absolutely.

       22             THE COURT:    To try to find responsive documents --

       23             THE WITNESS:    That’s correct.

       24             THE COURT:    -- that also were being requested.

       25             THE WITNESS:    That’s correct.
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                                        Jensen - Cross                           131

       1                THE COURT:   And you did that?

       2                THE WITNESS:   I did that.

       3    BY MR. SCAMPATO:

       4    Q   So, what was your understanding of the documents that you

       5    had to pull regarding Mr. Palmeroni’s counterclaim?          What

       6    documents, what categories of documents was it your

       7    understanding that you had to pull?

       8    A   Well, I mean, I -- to the best of my recollection, I don’t

       9    think that -- I don’t remember specifically, you know, what

       10   those interrogatories were, if indeed there were any.          I don’t

       11   remember specifically that.

       12   Q   Okay.

       13               THE COURT:   So you don’t -- I’m sorry, counsel, I

       14   just have one.    You don’t specifically remember particular

       15   documents that were being requested that related to the

       16   counterclaims.    You can’t say that you recall having those

       17   conversations and/or looking for those documents?

       18               THE WITNESS:   Yeah, but what -- can we recap what

       19   were those -- what exactly are -- let’s recap what are the

       20   counterclaims and what kind of documents were requested in

       21   connection with those.     Every document that has been requested

       22   that we had has been produced, whether it’s on one side or

       23   whether it’s on the other side.       That didn’t make any

       24   difference to me.

       25   BY MR. SCAMPATO:
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                                         Jensen - Cross                          132

       1    Q   Okay.    Well, for example, sales generated in paper by the

       2    MACS system.    How -- what did you do?       Did you provide any

       3    documents regarding the MACS system?

       4    A   No, because the --

       5    Q   In your response to any questions that were asked?

       6    A   Well, the -- the --

       7                MR. O’CONNOR:    Objection --

       8                THE WITNESS:    -- the questions when it came to that --

       9                MR. O’CONNOR:    -- to the hypothetical nature of that

       10   question.

       11               THE WITNESS:    -- are relatively simple to --

       12               MR. O’CONNOR:    But just wait.    Mr. Jensen!

       13               THE COURT:   Rephrase the --

       14               THE WITNESS:    Oh, I’m sorry.

       15               THE COURT:   Wait.   Hold on.    What’s the objection?

       16               MR. O’CONNOR:    The objection is to the hypothetical

       17   nature of the question.      It was a question that might have

       18   been asked.    If there was a request made, then he can ask what

       19   it was, not as did you respond to a question that may or may

       20   not have been made, because that’s an impossible question.

       21               THE COURT:   Ask if there was a specific request made.

       22               MR. SCAMPATO:    Well, the question was really the

       23   category of the MAC forms.

       24               THE COURT:   Were there any documents in the storage

       25   room that were -- that appeared to be hard copy forms of
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                                        Jensen - Cross                            133

       1    information that was kept on the MACS system?

       2              THE WITNESS:    No.

       3              THE COURT:    And you say no and I know you hesitated,

       4    I’m just -- were there any boxes that were marked, you know,

       5    specifically MAC docs or --

       6              THE WITNESS:    No, there was not.     The information

       7    that was kept in the MACS system -- and, again, I did not, you

       8    know, work on the MACS system, that had been discarded before

       9    I came to N.V.E. -- the information that was in the MACS

       10   system was -- it was an order entry system, substantially, --

       11             THE COURT:    Yeah, but -- okay.

       12             THE WITNESS:    Yeah, no.    Orders were, you know,

       13   purchase orders from customers were entered into the system --

       14             THE COURT:    Where do you get that knowledge from, Mr.

       15   Jensen, since you didn’t work on the system?         Who is telling

       16   you what it contained?

       17             THE WITNESS:    Well, I mean, that’s -- I talk to

       18   people on my staff that work the system.

       19             THE COURT:    But you never actually worked on the

       20   system, so you can’t --

       21             THE WITNESS:    I never --

       22             THE COURT:    -- specifically tell me what was on the

       23   system.

       24             THE WITNESS:    No.   I mean, I can -- I know from

       25   talking to the staff.     I would say, do you have -- can you
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                                         Jensen - Cross                          134

       1    generate sales statistics for a given customer for a given

       2    period of time and then they either could or they could not.

       3    It depended on sometimes the -- sometimes you could get

       4    scanned information out of the system and other times you

       5    couldn’t.

       6                It was -- then at one point in time, it was on the so-

       7    called fritz, if you will, and it had been on the fritz for

       8    quite a while and that was the reason why a new system was

       9    brought on board.    And I can assure you, if you know Mr.

       10   Occhifinto, he was not one to spend money frivolously and if

       11   he were to put out a quarter of a million dollars for a new

       12   accounting system or a new -- you know, yeah, software system,

       13   then I can assure you that the old one was on its very, very,

       14   very, very last leg.       And eventually it just totally bombed

       15   out.

       16               THE COURT:    Okay.   Continue.

       17   BY MR. SCAMPATO:

       18   Q   But there were no hard copy of the MACS system documents,

       19   you know, purchases, etcetera.

       20   A   No, it --

       21   Q   There were no hard copies.

       22   A   There was not.       It was the other way around.    It was based

       23   on hard copies that the system -- or the stuff was entered

       24   into the MACS system.

       25   Q   So, what happened to those hard copies?        Where were they
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                                        Jensen - Cross                           135

       1    kept, if they weren’t kept at that particular location?

       2    A   They were -- they were --

       3    Q   Were they kept at another location?

       4    A   They were kept -- for a current year, it was kept at

       5    whoever customer service rep that was responsible for a

       6    certain set of customers.       Was it EDI customer, a retail

       7    customer, wholesale customers?      And then, when the year was

       8    up, you know, it would basically be boxed and put into a

       9    storage room.

       10             And the files that were pulled out of there were CB,

       11   Import Warehouse, Sunbelt International Sales Group and

       12   anything else that had to do with Sumicek and all the accounts

       13   that we were talking about here and all their orders were

       14   pulled out, all the commission statements, not only from

       15   those, but I believe that I pulled out all commission -- yeah,

       16   I did, as a matter of fact -- all commission statements, be it

       17   Profit Motivator or this guy or that guy, that was all pulled

       18   out of the storage room.      Stuff like that was never on the

       19   MACS system or any other place.

       20             THE COURT:    When you say pulled out of the storage

       21   room, pulled out of the storage room by whom?

       22             THE WITNESS:    By me.

       23             THE COURT:    Oh, and provided to counsel?

       24             THE WITNESS:    Yeah.

       25             THE COURT:    Okay.
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                                        Jensen - Cross                           136

       1    BY MR. SCAMPATO:

       2    Q     If there was a cash sale, how would -- what kind of an

       3    N.V.E. form would it be documented on?

       4    A     I have no idea.

       5    Q     Wouldn’t it have been --

       6    A     I have never seen anything that had to do with cash sales

       7    the five-plus years that I have been with N.V.E., which

       8    included, by the way, the birth period of operating under

       9    Chapter 11.    We have never done a five dollar cash sale.

       10   Never.

       11   Q     Isn’t it correct that if there was a cash sale, that it

       12   would have been identified on a hard copy of the MAC generated

       13   documents?

       14   A     I have no idea.   I can’t answer that.

       15   Q     How big is the facility that your storage room was located

       16   in?

       17   A     That’s -- I would say there’s about roughly 10,000 square

       18   foot of office area.

       19   Q     Okay.

       20   A     Including the storage room.

       21   Q     Ten thousand square feet and yet how large was the storage

       22   room?

       23   A     Maybe -- let me try to think.     I would say that maybe 15

       24   feet wide, 25 feet deep.      No, 15-18 by 30, approximately.

       25   Q     So, there was plenty of room to -- elsewhere in the
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 137 of 197 PageID: 4685
                                        Jensen - Cross                           137

       1    facility to store boxes in, isn’t that correct?

       2    A   Yeah, but that has -- that’s got nothing to do with it.           I

       3    said earlier and I’m going to repeat again, it wasn’t a space

       4    problem that prompted me to clean out the storage room and

       5    then get rid of stuff that would never be needed for anything,

       6    it was simply to, in an effort to make the place look nice.

       7    That was the motivation.      It wasn’t that we didn’t have room.

       8                As a matter of fact, we cleaned out another room and

       9    whatever we wanted to keep from the storage room, 2005

       10   onwards, we started to separate it so that we had certain

       11   items in the original storage room and then brought other

       12   items into the other room, which was under double lock and

       13   key.   And as an example of what was brought into the new

       14   storage room, those were bank records that we didn’t -- that

       15   the first storage room anyone can walk in and look, so we kept

       16   bank records, personnel records, some time cards and a certain

       17   amount of, you know, legal stuff.       There were confidential

       18   files from my office that would be boxed and then put into the

       19   new storage room that where only certain people had a key to

       20   get into.

       21               So, it was in an effort of cleaning up things,

       22   sprucing up things, making it more efficient when you needed

       23   something.

       24               THE COURT:   Can I --

       25               THE WITNESS:   That was the motivation.
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                                        Jensen - Cross                           138

       1              THE COURT:    Can I ask you a question?      And I’m going

       2    to call it the double lock and key storage room.

       3              THE WITNESS:    Yeah.

       4              THE COURT:    When you would look for responsive

       5    documents, did you go to the double lock and key storage room,

       6    too?

       7              THE WITNESS:    Yes, I did.

       8              THE COURT:    Okay.

       9    BY MR. SCAMPATO:

       10   Q   And one last question.      I believe you testified that prior

       11   to Mr. Caldwell leaving, a lot of documents were taken out?

       12   A   That’s correct.

       13   Q   What percentage would you say of the documents that were

       14   taken out had -- were taken out from the storage room prior to

       15   him leaving?

       16   A   That’s -- you know, that’s -- if you count catalogues,

       17   accounts payable pages and things like that, and then put that

       18   -- put the commission statements, the order file for CB,

       19   Important Warehouse and I forget what the third one was that

       20   was in -- oh, the Sunbelt Marketing and things like that, when

       21   you pulled out those, I mean, in terms of percentage, what the

       22   entire number of pages, it wasn’t that much in terms of

       23   percentage, because generally what would happen is that an

       24   order from CB, for instance, that ord -- that would only be

       25   two pages; that would be the order itself and then there would
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                                        Jensen - Cross                           139

       1    be the submission form that Sunbelt would -- you know, that

       2    Sunbelt would submit it to N.V.E.       And if you looked at the

       3    dates, it was very clear that the order from CB had come to

       4    N.V.E. first and then someone within N.V.E. had been notified

       5    and sent it to Sunbelt, so that Sunbelt could make up their

       6    order form, so that it appeared that the order came from

       7    Sunbelt.

       8               Now, there was only two pages on an order and if you

       9    take, for example, a account payable transaction, then you

       10   have a packing slip, you have a bill of lading, you have an

       11   invoice and then you have a check copy.        So, you have four

       12   pieces of paper versus two pieces of paper.

       13              And when you were talking about CB, Sunbelt, Import

       14   Warehouse and somebody else, then you’re talking about six or

       15   seven entities in total.      On the other hand, you’ve got 500 or

       16   more vendors, you’ve got 500 or more customer records, you

       17   know, as far as accounts receivables are concerned.          So, hey,

       18   you know, you figure out what the percentages are; I can’t.

       19   Q   Now what I meant was, what percentage of all the documents

       20   that were supplied to -- in discovery, what percentage of that

       21   -- those documents, if you can tell me, were done -- were

       22   taken out prior to Mr. Caldwell leaving?

       23   A   I would say that a -- I would say that probably at least

       24   maybe 80 percent of them were taken out prior to David

       25   Caldwell leaving.    That would be my guess.
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                                     Jensen - Cross / Colloquy                   140

       1    Q   Okay.    But interrogatories that you received in September,

       2    the first set of interrogatories that you received in

       3    September 2007, they -- those were only served upon -- given

       4    to you after Caldwell left, right?

       5    A   Yeah, certainly.

       6                MR. SCAMPATO:    Okay.

       7                MR. O’CONNOR:    May I?

       8                THE COURT:    Questions?   Of course, Mr. O’Connor.

       9                                 (Extended pause)

       10               MR. ROSTAN:    Your Honor?

       11               THE COURT:    Mm-hmm.

       12               MR. ROSTAN:    I have to call my daughter’s babysitter

       13   to make -- and I don’t have a cell phone and I was wondering

       14   if we could just take a two-minute break and I could use a

       15   phone?

       16               THE COURT:    Certainly.

       17               MR. O’CONNOR:    Judge, I’ll give him my cell phone.

       18               THE COURT:    Okay.   Let’s take a break.

       19                   (Recess from 6:18 p.m. to 6:27 p.m.)

       20               THE COURT:    All right.   We’re back on the record in

       21   the matter of N.V.E. versus Palmeroni, et al.         The time is now

       22   6:29.    We took a small break to allow counsel to make a

       23   personal call.

       24               Yes, Ms. Smith?

       25               MS. SMITH:    In addition to the Palmeroni e-mails that
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                                Colloquy / Jensen - Redirect                      141

       1    we’re going through, I also have some insurance documents that

       2    Mr. Jensen located when he searched Mr. Caldwell’s old office

       3    and I think they were in (indiscernible).        It has a lot of

       4    attorney-client privilege and so I am in the process of

       5    redacting them, but I will be serving them eventually.

       6              THE COURT:    Well, that’s good to know.       All right.

       7    We’ll be getting some insurance documents and --

       8              MR. SCAMPATO:    Yes, Your Honor.

       9                               (Extended pause)

       10             MR. O’CONNOR:    Yes, Your Honor.     The --

       11             THE COURT:    They’re going to redact those and we -- I

       12   still have to deal with the motion to withdraw, so I assume

       13   they’ll be provided to Mr. Palmeroni if he’s pro se and/or --

       14   you know, assuming I grant your motion -- and/or provided to

       15   new counsel, if and when Mr. Palmeroni obtains new counsel.

       16             MR. O’CONNOR:    Your Honor, --

       17             MR. SCAMPATO:    Thank you, Judge.

       18             Do you have any other questions?

       19             MR. ROSTAN:    I didn’t have any other questions.

       20             MR. SCAMPATO:    Then let’s let Mr. O’Connor --

       21             THE COURT:    Go ahead, Mr. O’Connor.

       22             MR. O’CONNOR:    May I proceed?     Thank you, Your Honor.

       23                           REDIRECT EXAMINATION

       24   BY MR. O’CONNOR:

       25   Q   Mr. Jensen, what is your -- just your title at N.V.E.,
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 142 of 197 PageID: 4690
                                        Jensen - Redirect                        142

       1    Inc.?

       2    A   Chief financial officer and corporate secretary.

       3    Q   During the course of your employment there, this -- -- you

       4    have been involved in this lawsuit, is that correct?          In terms

       5    of helping to manage the lawsuit?

       6    A   Correct.

       7    Q   First with Mr. Caldwell, who was the general counsel of

       8    N.V.E.?

       9    A   Yes.

       10   Q   And then directly with the lawyers of Pashman Stein?

       11   A   Yes.

       12   Q   Okay.    During that, do you get copies of all the documents

       13   that are filed in this case?

       14   A   I would say I believe so, yeah.

       15   Q   Okay.    Do you -- but do the lawyers provide you with

       16   documents in this case?

       17   A   Yes.

       18   Q   Okay.    Have you --

       19               MR. SCAMPATO:   Your Honor, if I could --

       20               THE COURT:   But there’s an objection?

       21               MR. SCAMPATO:   Objection.   Under the circumstances, I

       22   don’t think Mr. O’Connor should be leading Mr. --

       23               THE COURT:   I’m going to give him a little leeway.

       24   I’m going to give him a little -- it’s an evidentiary hearing.

       25               Go ahead, counsel.
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                                        Jensen - Redirect                        143

       1                MR. O’CONNOR:   I’m sorry, Judge.    I’m just trying to

       2    go as -- because I know the hour and we’ve been here a long

       3    time.

       4                THE COURT:   Don’t worry about the hour, counsel.       It

       5    doesn’t matter.

       6                MR. O’CONNOR:   All right.   Thank you, Judge.

       7    BY MR. O’CONNOR:

       8    Q   During the course, then, had you seen a copy of N.V.E.’s

       9    original complaint?

       10   A   Yes, I have seen a -- I’ve seen a copy of that, yes.

       11   Q   Okay.    And you also -- you got a copy of N.V.E.’s amended

       12   complaint, which was just filed recently, correct?

       13   A   Yes.

       14   Q   And what about the answers and the counterclaims filed by

       15   Mr. Palmeroni?    Had you seen copies of those?

       16   A   Yes.

       17   Q   And had you read them?

       18   A   Yeah.

       19   Q   Okay.    And had you read them at about the time they were

       20   filed back in 2007?

       21   A   I believe so, yeah.

       22   Q   Okay.

       23   A   I believe so.

       24   Q   And so, I think you testified earlier you knew that part

       25   of the claims dealt with issues of insurance coverage, is that
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                                        Jensen - Redirect                          144

       1    correct?

       2                THE COURT:   You’ve got to stay by the mic, Mr.

       3    O’Connor.

       4                MR. O’CONNOR:    I apologize, Judge.   I’m sorry, I --

       5                THE COURT:   That’s okay.

       6                MR. O’CONNOR:    You know I like to walk.

       7    BY MR. O’CONNOR:

       8    Q   Mr. Erling, you testified earlier that you knew that one

       9    of the issues in this case dealt with insurance coverage

       10   obtained by N.V.E. for its customers, correct?

       11   A   Yes.    Yeah.

       12   Q   Okay.    And I think -- I believe you also testified that

       13   you knew that some of the allegations dealt with issues of Mr.

       14   Palmeroni’s termination of employment with N.V.E., is that

       15   correct?

       16   A   Yes.

       17   Q   Including involving some whistleblower provisions?          Were

       18   you aware of that?

       19   A   Yes.

       20   Q   Okay.    And also involved, I think you testified a little

       21   bit earlier, about you’re aware that there are allegations of

       22   sexual harassment going on at N.V.E., is that correct?

       23   A   Yeah.    I mean, that was -- I -- I read the -- you know, I

       24   read the paperwork.

       25   Q   I -- yeah, right.       I’m not asking you whether they’re true
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                                       Jensen - Redirect                         145

       1    or they’re true, all I’m asking you is whether you knew that

       2    that’s what Mr. Palmeroni was alleging.

       3    A   Yes.

       4    Q   Okay.    And did you also know that he had made allegations

       5    relating to bankruptcy fraud?

       6    A   Yes.

       7    Q   And I think you also testified to this a little bit

       8    earlier.    The -- did you know that there was also some

       9    allegations relating to the so-called van program with N.V.E.?

       10   A   Yeah, but I’m not 100 percent sure what the allegations of

       11   -- you know, with the vans were, because that was -- that was

       12   extremely early in the process while David Caldwell was

       13   handling most of it.

       14               THE COURT:   So your answer is, you’re really not --

       15   you’re not -- you don’t have -- you’re not aware of the

       16   allegations.

       17               THE WITNESS:   I’m not really sure what the details of

       18   the van program allegations were, no.

       19   BY MR. O’CONNOR:

       20   Q   Okay.    Did you know -- do you know generally what the van

       21   program was at N.V.E. back at that time that Mr. Palmeroni was

       22   employed?

       23   A   Yes.

       24   Q   Okay.    And did you know that if you saw the documents

       25   relating to the van program, that you had to -- you had to
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                                        Jensen - Redirect                        146

       1    keep those documents or -- and -- and you might have to

       2    produce them in this litigation?

       3    A   Yeah, that’s -- that’s correct.

       4    Q   Now, I think Mr. Scampato asked you about cash

       5    transactions.       Do you recall Mr. Scampato --

       6    A   Yes.    Yeah.

       7    Q   Okay.    And, well, you understand that the issue of cash

       8    transactions had been raised in this litigation and if you had

       9    found documents, that you had to hold onto those or produce

       10   them?

       11   A   Yeah.    Yeah.

       12                               (Extended pause)

       13               THE COURT:    While you look, Mr. O’Connor.

       14               Before Mr. Caldwell left the company, did he ever go

       15   into the storage room with you and look for these documents?

       16               THE WITNESS:    To be honest with you, --

       17               THE COURT:    You have to be.

       18               THE WITNESS:    -- I -- I don’t believe so.     David

       19   Caldwell was not much of a doer, if you will, so I don’t

       20   recall specifically that he didn’t.         I doubt that he would do

       21   that.

       22               THE COURT:    So, you don’t recall him going in with

       23   you and looking at the storage room with the double secret

       24   lock and key storage room and the open to the public storage

       25   room?
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                                      Jensen - Redirect                          147

       1              THE WITNESS:    Yeah, no, I -- I --

       2              THE COURT:    It was all you.

       3              THE WITNESS:    Yeah.   Yeah.

       4              THE COURT:    And when he left in June of 2007, any

       5    other attorneys ever come down to the storage room and look

       6    around and get a lay of the land of that storage room or the

       7    double lock and key storage room?

       8              THE WITNESS:    Yeah, but actually the double lock and

       9    key wasn’t established until we started the process in 2009.

       10   So, prior to -- you know, prior to 2009, when we started to

       11   shred files, prior to that we only had the so-called open --

       12             THE COURT:    Okay.   Okay.   So, double lock and key

       13   doesn’t happen until you clean up --

       14             THE WITNESS:    That -- that’s correct.

       15             THE COURT:    -- clean up the storage room.       Okay.

       16             THE WITNESS:    That’s correct.

       17             THE COURT:    So, but did attorneys go down and sort of

       18   get a lay of the land of the storage room that -- in question?

       19             THE WITNESS:    yeah.

       20             THE COURT:    They did?   Did they help you search for

       21   documents?

       22             THE WITNESS:    Well, this was in a different case.

       23             THE COURT:    Oh, in a different case.

       24             THE WITNESS:    Yeah.   Yeah.

       25             THE COURT:    Okay.   But in this case?
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                                        Jensen - Redirect                          148

       1                THE WITNESS:    No, the -- Mr. O’Connor has been

       2    looking at it.

       3                THE COURT:   But before 2009?

       4                THE WITNESS:    No, not before 2009.

       5                THE COURT:   (Indiscernible)    Okay.

       6                THE WITNESS:    That I -- that I recall.

       7                THE COURT:   Okay.

       8    BY MR. O’CONNOR:

       9    Q   Was it your understanding that Mr. Caldwell relied on you

       10   to look for the documents that he talked about a lot, the

       11   various issues or types of documents?

       12   A   Yes.

       13   Q   Okay.    Prior to the time when you asked Ms. Gamboa to

       14   start shredding documents out of the storage room, whether the

       15   double secret one or the regular storage room, did you believe

       16   that you had pulled all the relevant documents out of those

       17   boxes?

       18   A   Yes.

       19   Q   And would that include documents before 2004 and 2005 and

       20   later?

       21               MR. SCAMPATO:    Your Honor, I -- this is --

       22               THE COURT:   I understand why you’re trying to speed

       23   things along.    Maybe take a couple steps, Mr. O’Connor.        Try

       24   not to lead as much --

       25               MR. O’CONNOR:    Yes, ma’am.
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                                       Jensen - Redirect                         149

       1               THE COURT:   -- as you are at --

       2               MR. O’CONNOR:   Yes.   Yes, Your Honor.

       3               THE COURT:   -- at this point.

       4    BY MR. O’CONNOR:

       5    Q   What did you tell Ms. Gamboa with regard to what document

       6    -- what boxes of documents to take out of the storage room?

       7    A   Anything 2004 and prior.

       8    Q   When you did your searched or your review of these

       9    documents in response to discovery requests, did you make a

       10   distinction in documents before 2004 and after 2005 or did you

       11   look at all of them?

       12   A   I look -- I -- I looked at all of them.

       13   Q   Did anyone ever tell you to destroy documents that are

       14   relevant to this lawsuit?

       15   A   No.

       16   Q   Did anyone, including Mr. Occhifinto, ever tell you to get

       17   rid of documents that might be helpful to Mr. Palmeroni?

       18   A   No.

       19   Q   Did anyone tell you, including Mr. Occhifinto, to get rid

       20   of documents that might be helpful to Mr. Sumicek or to

       21   Sunbelt Marketing?

       22   A   No.

       23   Q   Prior to 2010, did you have any knowledge of the

       24   conspiracy involving Smart World and Mr. Palmeroni and Mr.

       25   Rosarbo?
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                                 Jensen - Redirect / Recross                     150

       1    A   No, I did not.

       2    Q   Do you have -- to your knowledge -- well, let’s start with

       3    this first.    Did you ever tell Mr. Yang or Mr. Rader to delete

       4    accounts from any N.V.E. computers?

       5    A   Absolutely not.

       6    Q   And did you ever tell anyone else at N.V.E. that they

       7    could delete e-mail accounts or any other documents from

       8    N.V.E. computers relating to this lawsuit?

       9    A   Absolutely not.

       10   Q   Okay.    To your knowledge, did anyone else at N.V.E.

       11   instruct any employee or agent of N.V.E. to delete e-mail

       12   accounts from any N.V.E. computer?

       13   A   Absolutely not.

       14               MR. O’CONNOR:    No further questions, Your Honor.

       15               THE COURT:   Anything else, Mr. Rostan?

       16                               RECROSS-EXAMINATION

       17   BY MR. ROSTAN:

       18   Q   Mr. Jensen, it’s correct that you’ve never seen a

       19   litigation hold letter, correct?

       20   A   I’ve seen a litigation hold letter.

       21   Q   Have you ever seen one in this case?

       22   A   Not that I recall.

       23   Q   And you’ve never gotten a written protocol as to what

       24   documents to save and what documents to keep.

       25   A   I want to retract --
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                                 Jensen - Redirect / Recross                       151

       1                MR. O’CONNOR:    Objection on attorney-client privilege

       2    to the substance of any doc -- of any --

       3                MR. ROSTAN:    Well, his receipt of it, not whether --

       4    what it contains.

       5                MR. O’CONNOR:    All right.   As long as --

       6                THE WITNESS:    Yeah, no, I want to retract that.      I

       7    believe -- I believe that very, very early on -- I can’t be

       8    100 percent sure, but I do believe that David Caldwell, if he

       9    didn’t send out an official letter, I believe that via e-mail

       10   and other conversation that he did inform people that they

       11   couldn’t destroy certain documents.

       12   BY MR. ROSTAN:

       13   Q   What year was that?

       14   A   That would have been in 2006.

       15   Q   Okay.    And you said you believed.      Do you know with any

       16   certainty?

       17   A   Well, I am trying to, you know, like trying to have, like,

       18   a photographic mind.       I do believe that I saw something to

       19   that extent very early in my employment at N.V.E. and I --

       20               THE COURT:    Well, when did you start with N.V.E.

       21   again?

       22               THE WITNESS:    January 23, 2006.

       23               THE COURT:    And you think you saw an e-mail from Mr.

       24   Caldwell advising employees what they were to keep and not

       25   destroy?
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                                        Jensen - Recross                         152

       1                THE WITNESS:    I believe that there was something

       2    about that, yeah.

       3    BY MR. ROSTAN:

       4    Q     And that e-mail -- I’m sorry.

       5    BY MR. SCAMPATO:

       6    Q     And any other subsequent written instructions other than

       7    that e-mail?

       8    A     No.

       9                MR. SCAMPATO:   Okay.

       10   BY MR. ROSTAN:

       11   Q     And you never saw, is that correct, that the defendant’s

       12   initial disclosures of 2007?

       13   A     I’m sorry, can you just repeat that?      I’m --

       14   Q     Isn’t it correct that you have never seen the Defendant

       15   Palmeroni’s initial disclosures of 2007?

       16               THE COURT:   Do you know what an initial disclosure

       17   is?

       18               THE WITNESS:    Yeah, I -- I believe that I saw that.

       19   Yeah.

       20   BY MR. ROSTAN:

       21   Q     And is it correct that you have never reviewed the

       22   defendant’s first set of interrogatories of 2007?

       23   A     I don’t recall what the first set was.

       24   Q     And isn’t it correct that you have never seen defendant’s

       25   first third-party -- defend -- Mr. Palmeroni’s third-party
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                                       Jensen - Recross                          153

       1    plaintiff’s first set of interrogatories dated December of

       2    2009?

       3    A   No, if it -- if it’s dated December 2009, I would have

       4    seen it.

       5    Q   You said that Mr. Caldwell wasn’t a doer?

       6    A   That -- yeah.

       7    Q   So, when you were in that storage room it was you and you

       8    alone, correct, that was reviewing documents?

       9    A   Well, yeah.

       10   Q   Okay.

       11   A   But I -- I’m not reviewing documents at that point in

       12   time, I am finding specific documents at that point in time

       13   and there’s a distinction here.

       14               THE COURT:   Can you tell me what the distinction --

       15               THE WITNESS:   The distinction is that if --

       16               THE COURT:   -- between reviewing and finding?

       17               THE WITNESS:   -- if I am reviewing documents, I am

       18   going through many, many different types of documents,

       19   reviewing them for a specific reason, for a specific purpose.

       20   When I am retrieving document, I am only looking for what it

       21   is that I’m looking for.      In other words, I am looking for a

       22   specific file.    As an example, CB; I have no reason to review

       23   Walmart’s or Walgreen’s or CVS’s file, when I know that I am

       24   in the room looking for CB.

       25               So, that’s the distinction    between a specific file
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 154 of 197 PageID: 4702
                                       Jensen - Recross                          154

       1    that I am retrieving, that I am looking for, and then

       2    reviewing files.

       3              THE COURT:    Did you ever review the files in this

       4    case?   Did you review any -- what did you do in order to

       5    determine that you had gone to the right place to look for the

       6    right documents?

       7              THE WITNESS:    Well, first of all, at that particular

       8    time, the only place there would be documents related to this

       9    would be in the storage room and in individual employees’

       10   personal files and I would go through -- and with the

       11   individual employees, I would go through their personal -- or

       12   not personal -- personal file, but, you know, whatever a --

       13             THE COURT:    Hard copy or electronic?

       14             THE WITNESS:    Hard copy.    Philip would do the

       15   electronic.

       16             THE COURT:    Who would?    Philip Yang?

       17             THE WITNESS:    Philip Yang, yeah, would.      But I would

       18   go through the -- I would go through hard copy files that each

       19   person would have.     For example, Michele Canzone, she would

       20   handle wholesalers and then she would have -- by her desk, she

       21   would have files for each of the wholesalers that she dealt

       22   with and I would -- with Michele, I would go through those

       23   files with her and then take out what was pertinent.

       24             THE COURT:    Can I ask you, in the course of -- you

       25   said your title was CFO and what was the --
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                                       Jensen - Recross                          155

       1              THE WITNESS:    Corporate secretary.

       2              THE COURT:    Corporate secretary.     So, in the process

       3    of gathering this information that was needed for this

       4    litigation, did you ever think to review Mr. Palmeroni’s hard

       5    drive?

       6              THE WITNESS:    Actually, no.    For whatever reason,

       7    that never really came up.      And it wasn’t until, you know,

       8    like his personal -- it wasn’t until I believe six, you know,

       9    maybe six months ago, seven months ago, only in connection

       10   with the -- you know, with the Smart World thing.         That was

       11   actually the first time that I asked Philip for specifically

       12   about Palmeroni, Vinnie and the other two or three girls, and

       13   that’s when he comes out of the woodwork and say, oh by the

       14   way, I have Palmeroni’s, you know, personal computer or the PC

       15   desktop, I have that, I took that out, because the computer

       16   was sitting in Palmeroni’s office and no one occupied the

       17   office, so then he said, oh, it’s sitting there and then he

       18   took it out and he said, but there’s nothing on it.

       19             THE COURT:    Okay.   So, in the course of gathering

       20   either with Mr. Caldwell’s assistance or the assistance of

       21   counsel from Pashman Stein, you never had the occasion to go

       22   into Palmeroni’s office, that was now unoccupied, and look at

       23   his computer and/or in any of the cabinets or anything that

       24   was in there?

       25             THE WITNESS:    No, I went in there and I looked for
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                                       Jensen - Recross                          156

       1    hard copy files and there was a whole bunch of mail that was

       2    unopened.    I gathered that and opened it to see if there was

       3    anything that -- you know, of consequence.

       4                THE COURT:   Okay.

       5                THE WITNESS:   So, even after Palmeroni was separated,

       6    mail that was addressed to him was put into the office that he

       7    used to occupy and at one point in time, I went through

       8    everything and I opened all the unopened files.         It was mostly

       9    junk mail.    I went through, you know, whatever cabinets were

       10   there.   It was very scant, there was very little, you know, of

       11   these manilla file folders in there.

       12               THE COURT:   Okay.

       13   BY MR. ROSTAN:

       14   Q   And Mr. Jensen, is it correct that you did not keep a

       15   written record of the dates that Heather Gamboa was in the

       16   storage room?

       17   A   That’s correct.

       18   Q   And isn’t it correct that you don’t have a written record

       19   of the dates that you were in the storage room?

       20   A   Oh, well that -- that’s true.       I must have been in there

       21   500 times.    So, no, I do not have a record, a written record

       22   of that.

       23   Q   And isn’t it correct that you do -- as you sit here today,

       24   you do not have a specific recollection of everything that was

       25   in the -- the e-mail that you believe was sent by Mr. Caldwell
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                                        Jensen - Recross                         157

       1    in 2006?

       2    A   Yeah, that’s correct.

       3                MR. ROSTAN:    Okay.

       4                THE COURT:    All right, counsel, it’s -- one more

       5    question.

       6                MR. SCAMPATO:    This is the last one.

       7                THE COURT:    We’re exhausting --

       8    BY MR. SCAMPATO:

       9    Q   The e-mail that Mr. Caldwell gave you in 2006, that didn’t

       10   include -- did not include any instructions regarding Mr.

       11   Palmeroni’s counterclaim, isn’t that correct?

       12   A   Well, it -- I -- I believe that I said that, as I think

       13   about it, I have a scant recollection that there was something

       14   to the extent that David had sent around that dealt with --

       15   that people couldn’t throw out things that had to do with the

       16   -- you know, with that particular litigation.

       17   Q   No, I’m mentioning specifically Mr. Palmeroni’s

       18   counterclaim.    The e-mail that you received in 2006 from Mr.

       19   Caldwell, it did not have anything regarding instructions as

       20   to what to retrieve from Mr. Palmeroni’s counterclaim, --

       21   A   No, it did not.

       22   Q   -- isn’t that correct?

       23   A   That -- it did not.

       24   Q   All right.

       25   A   No, I mean, to the best of my recollection, but then
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                          Jensen - Recross / Scampato - Argument                 158

       1    again --

       2               THE COURT:   Do we have a --

       3               THE WITNESS:    -- I -- I said that I only remember it

       4    very scant.    I think that there was something, but I can’t be

       5    100 percent sure.    I said I was trying to draw on my, you

       6    know, photographic mind to, you know, bring it up in front of

       7    me, but I can’t be 100 percent sure.

       8               THE COURT:   That’s -- very well, Mr. Nelson -- Mr.

       9    Jensen.    I want to thank you for your testimony here today.

       10   You now may step down from the stand.        Thank you.

       11              THE WITNESS:    Thank you.

       12                              END OF TESTIMONY

       13              THE COURT:   All right, counsel; any further arguments

       14   with respect to the spoliation motion?

       15              MR. SCAMPATO:    Your Honor, only that it would have

       16   been impossible for Mr. Caldwell to have instructed Mr. Jensen

       17   regarding Mr. Palmeroni’s counterclaim in an e-mail dated

       18   2006, because Mr. Palmeroni never filed a counterclaim and an

       19   amended counterclaim until 2007.

       20              THE COURT:   Okay.   It’s noted.    Anything further?

       21              MR. O’CONNOR:    No, Your Honor.

       22              THE COURT:   All right, counsel.     I am not going to

       23   render an opinion or a ruling, better said, here today with

       24   respect to the current motion before me.        I am going to take

       25   some time to consider some of the arguments that have been
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                                           Colloquy                              159

       1    raised.   I am also going to provide the parties either by way

       2    of a written ruling in the record and an order regarding that

       3    and order the transcript or I’ll actually do a written opinion

       4    with respect to spoliation.

       5              We are now moving to the motion by counsel -- that’s

       6    document 194, which was filed on May 6, 2011, doc -- again,

       7    document 194 -- and that’s the notice of motion to withdraw as

       8    counsel for Jesus J. Palmeroni.       That motion has been

       9    forwarded to the Court by both Mr. Rostan and Mr. Scampato.

       10             Counsel, who will be addressing it with respect to

       11   the motion to withdraw?

       12              (Discussion among counsel, off the record.)

       13             MR. ROSTAN:    Your Honor, my understanding is that the

       14   -- because the motion to withdraw entails confidential and

       15   privileged information, that the protocol would be that we

       16   would have information --

       17             THE COURT:    Yeah, I’m definitely going, despite Mr.

       18   Palmeroni’s objection in a letter dated May 13th to me that he

       19   would “object to any in camera meeting involving my counsel

       20   without my presence,” I am going to, over Mr. Palmeroni’s

       21   objection, meet with you.

       22             But before I meet with you, there are certainly areas

       23   that you’ve raised within your motion papers that are not

       24   privileged that you could elaborate on with respect to

       25   problems you may be having in continuing to represent Mr.
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 160 of 197 PageID: 4708
                                             Colloquy                            160

       1    Palmeroni.   Those are of a financial nature, I believe.

       2              And, in fact, Mr. Palmeroni, in his letter seems to

       3    intimate that this is really a financial issue, more than it’s

       4    anything else and I would want to hear from you with respect

       5    to the financial aspects of it and all -- any other grounds

       6    you seek withdrawal that are not privileged.

       7              MR. ROSTAN:    Okay.

       8              MR. SCAMPATO:    Okay.    Well, regarding --

       9              THE COURT:    Mr. O’Connor, did you want to say

       10   something?

       11             MR. O’CONNOR:    The only thing I’d just note, Judge,

       12   is -- is -- and just for the record -- that we have not seen a

       13   letter from Mr. Palmeroni to the Court and I’ll leave it to

       14   your judgment as to how to deal with that, but I just want to

       15   make clear that we have not seen a copy of that letter.

       16             THE COURT:    Well, counsel, I don’t see any problem in

       17   reading in and, in fact -- unless there’s objection by counsel

       18   -- to read the letter.     I think that it’s part of the record

       19   and part of what I would consider on the -- and, in fact, I’m

       20   overruling his objection, so I think it’s necessary that I

       21   read the letter into the record.

       22             MR. SCAMPATO:    Your Honor, it was really -- we --

       23             THE COURT:    God bless.

       24             MS. SMITH:    -- we objected based on -- we objected,

       25   Your Honor, based on not wanting to reveal anything from Mr.
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                                           Colloquy                                161

       1    Palmeroni.   And, really, I don’t know if he would consent to

       2    allowing that letter to be read or not, but that was really

       3    the only reason that we objected to it, because he had not

       4    provided it --

       5              THE COURT:    In fact, Mr. Palmeroni should be on

       6    notice that anything in the future, depending on how I rule,

       7    anything he sends to the Court must be scanned if he’s a pro

       8    se litigant.    So, anything that he sends me from this moment

       9    on will be automatically scanned by the clerk’s office.          So,

       10   he should be aware of that.

       11             I don’t see that there’s anything in this letter that

       12   I am not free to discuss, Mr. Palmeroni, do you?

       13             MR. PALMERONI:    Well, in terms of (indiscernible) --

       14             THE COURT:    You better approach the podium, Mr.

       15   Palmeroni.   You might as well come forward and sit right in

       16   front of one of those mics.

       17                              (Extended pause)

       18             MR. PALMERONI:    Only in terms, Your Honor, of in

       19   speaking with my lawyers for quite a while now, the -- the

       20   things we have talked about between the -- between us and --

       21   and I’ve been --

       22             THE COURT:    But that’s not in your letter.

       23             MR. PALMERONI:    Oh, I --

       24             THE COURT:    I’m asking you if I can read your letter.

       25             MR. PALMERONI:    Yeah, I believe -- yes.      Uh-huh.
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                              Reading into Record by the Court                   162

       1              THE COURT:    All right.    The letter is dated May 13,

       2    2011.   It’s addressed to me.     It says:

       3              “Dear Magistrate Salas:      I write this letter in

       4        response to my co-counsel’s motion to withdraw.          To date,

       5        I believe counsel has adequately effective” -- I think you

       6        might have meant adequately and effectively, but I’ll read

       7        it as it is -- “has been adequately effective and we have

       8        not had any material disagreements regarding any issues of

       9        which I am aware of” -- open paren -- “(notwithstanding

       10       the opposition to plaintiff’s motion to amend, which was

       11       not executed as I have requested).” -- close parens,

       12       period.

       13             “I hereby object to the motion to withdraw on the

       14       grounds it would prejudice my case and further delay these

       15       proceedings.    I have made various attempts to make

       16       adequate assurances of payment to counsel, however,

       17       counsel has rejected all such assurances.         I would also

       18       object to any in camera meeting involving my counsel

       19       without my presence.

       20             Thank you for your time and consideration.         Joe

       21       Palmeroni.”    And provides a phone number and he CCs David

       22       Rostan and Fred Scampato.

       23             That’s the extent of the full letter.

       24             MR. O’CONNOR:    Thank you, Your Honor.

       25                              (Extended pause)
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                                        Scampato - Argument                      163

       1                MR. SCAMPATO:    First of all, Your Honor, the

       2    agreement entered into by Mr. Palmeroni, separate agreements

       3    between myself and Mr. Rostan, has one clause that is

       4    identical and that clause provides that Mr. Palmeroni is to

       5    provide us with payment of any outstanding bill within two

       6    weeks of receipt.    That was the contract that he entered into

       7    with us.    And as solo practitioners, we have to be able to

       8    honor our contracts and also be expected that the people who

       9    are entering into contracts with us will honor their

       10   contracts.    We make our small business decisions based on such

       11   things as contract law.

       12               Subsequent to us being retained by Mr. Palmeroni, we

       13   indicated to him on numerous occasions that because we are

       14   solo practitioners, we basically are -- our firms are month-

       15   to-month.    We might have some excess resources, but not

       16   anything that would last more than a month or two; therefore,

       17   that was one of the reasons why it was absolutely critical

       18   that we be paid promptly as according to our contract.

       19               As of March of 2011, we had requested Mr. Palmeroni

       20   to make his next payment and we indicated what that payment

       21   would be to each of Mr. Rostan, to myself and also cover costs

       22   for the litigation.      We --

       23               THE COURT:   Was he invoiced?

       24               MR. SCAMPATO:    He was invoiced.

       25               THE COURT:   And what are the total invoices that are
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                                      Scampato - Argument                           164

       1    outstanding?

       2              MR. SCAMPATO:    It was approximately $30,000 for --

       3    that are outstanding for Mr. Rostan and myself.         We had asked

       4    him for 40, because we also wanted to, at that particular

       5    time, because we wanted to get money for costs as well, as we

       6    anticipated depositions and litigation costs relating to

       7    subpoenas.

       8              THE COURT:    So, you have outstanding invoices as of

       9    what date?

       10             MR. SCAMPATO:    As of present, approximately $30,000.

       11             THE COURT:    And how -- what forum did you use to

       12   notify Mr. Palmeroni of his outstanding -- of the outstanding

       13   invoices and his obligation to pay said outstanding invoices

       14   within two weeks of receipt?

       15             MR. SCAMPATO:    Always the same way, Your Honor.        We

       16   would mail him our invoices and we would also scan the

       17   invoices and e-mail them to him in the beginning of the month.

       18   And I believe that particular month of -- was it April?

       19             MR. ROSTAN:    The last one was April 1st.

       20             MR. SCAMPATO:    April.   April 1st we sent it to him.

       21   We requested that he provide us payment by the 18th.          He

       22   indicated that he would provide us payment by the 18th.

       23   Subsequently, we learned that the only promise that he made to

       24   us was that he had a condo that he wanted to sell.          He didn’t

       25   have a seller.    He had just put it out on the market and he
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                                      Scampato - Argument                        165

       1    said, once it sells and once he collects the money on it, he

       2    would be able to pay our bill.

       3              We indicated that that was not acceptable under our

       4    contract and also was not acceptable, because we don’t know,

       5    how -- you know, being that the housing market is so bad,

       6    there’s no way that we can tell when he would actually get a

       7    buyer, whether or not that buyer would be able to get a

       8    mortgage and when we would actually get paid.

       9              So, we also knew at that time that he had other

       10   sources of income and we indicated at that time, without

       11   getting too --

       12             THE COURT:    Right.

       13             MR. SCAMPATO:    -- detailed, that there were other

       14   sources of income and that we would require that he please

       15   provide it with those sources of income.

       16             THE COURT:    When was the last payment received by Mr.

       17   Palmeroni?

       18             MR. SCAMPATO:    It was in March.

       19             THE COURT:    The last payment received by Mr.

       20   Palmeroni was in March?

       21             MR. SCAMPATO:    Yes.

       22             THE COURT:    So, he has missed April and you

       23   immediately filed this motion?      One miss?

       24             MR. SCAMPATO:    Well, we filed the motion in --

       25             THE COURT:    You filed it on --
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                                        Scampato - Argument                        166

       1                MR. ROSTAN:    April.

       2                THE COURT:    I know when you filed it.    April --

       3                MR. SCAMPATO:    In the end of April.    Right.   The end

       4    of April.

       5                THE COURT:    You actually notified me of an issue back

       6    in April, but you also -- that was April 19th, but you filed

       7    the motion to withdraw as counsel on May 6.

       8                MR. SCAMPATO:    Yes, Your Honor.

       9                THE COURT:    So, he’s technically only missed one

       10   payment.    That he has been late for.

       11               MR. SCAMPATO:    He has -- we continued to send him out

       12   bills, that’s correct.       There has been no indication that

       13   anything other than the sale of the condo will be forthcoming

       14   with regard to the payment of our bill.

       15               And we explained in great detail, face-to-face and on

       16   the telephone, that our bills could not be held that way.           Our

       17   vendors won’t -- would not be so forgiving and allow us to

       18   miss payments.    Therefore, we --

       19               THE COURT:    All right.   So, when was the exact date

       20   of the invoice?    April 1st was a Friday.        Would it have been

       21   at the end of March or would it have been --

       22               MR. SCAMPATO:    It was always the first day, Your

       23   Honor.

       24               THE COURT:    All right.   So, assuming you mail it out

       25   and you scan it, he gets it April 4th or 5th.         It was due the
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                                Scampato / Rostan - Argument                     167

       1    19th.   We had a conference on the 19th, so I’m assuming

       2    though, based on your communications with him, he had already

       3    made it clear he was not going to pay you as the contract

       4    required, but instead wanted to try to work out this condo

       5    deal.

       6              MR. SCAMPATO:    Right.

       7              THE COURT:    Okay.

       8              MR. SCAMPATO:    Actually, Your Honor, we did request

       9    it even prior to the 1st of April, we told him that, you know,

       10   the next time we were going to be in -- in March we told him,

       11   the next time that we were going to be asking you, we’re going

       12   to be asking you for this amount of money and we’re going to

       13   be asking you for the -- from you at this date, can you --

       14   will you be able to provide it to us by this date --

       15             THE COURT:    Okay.

       16             MR. SCAMPATO:    -- and he indicated that he would at

       17   that time.

       18             THE COURT:    Here’s what I’m having trouble

       19   understanding.

       20             MR. ROSTAN:    Yeah, okay.

       21             THE COURT:    You have an outstanding bill of 30,000.

       22   I’m assuming there were missed payments at some point.

       23             MR. ROSTAN:    Yeah.   Your Honor, if I may add this,

       24   because I think it’s pertinent?

       25             Mr. Palmeroni -- and we have attempted many times to
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                                       Rostan - Argument                         168

       1    discuss this with you, Mr. Palmeroni -- has made it abundantly

       2    clear that not only was the condominium not under a contract,

       3    no clear buyers, but that that was his sole source moving

       4    forward and that -- and that, in light of the lack of funds

       5    and in light of the fact that there was no assurance that

       6    future litigation costs would be paid, that if the Court

       7    directed us to depose such and such a person or to go to

       8    Illinois or Texas, that we would have the ability to pay the

       9    plane fare, that we would have the ability to pay the

       10   deposition costs and/or indeed the ability to make strategic

       11   or legal decisions with regard to the case and there was

       12   absolutely no clear -- other than his expressed subjective

       13   intention to say that he would like to, you know, make such

       14   payments.

       15               And I think it’s also pert -- worth noting that prior

       16   to that, there was never an indication prior to that that he

       17   would not be able to make the ongoing costs going forward.

       18   And this was, of course, in light of the fact that there was a

       19   motion pending to amend the complaint to include 30 parties

       20   and that was a case that we were not originally brought on --

       21   had not originally part of this.       And there were aspects of

       22   this conversation that I think begin to border on attorney-

       23   client privilege, so --

       24               THE COURT:   I would be careful.    Here’s what I am

       25   trying to understand.     Where is the 30,000 coming from?       Is it
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                                      Rostan - Argument                            169

       1    from the month of March that you racked up 30,000 or was it --

       2    were there periods where you were --

       3              MR. ROSTAN:    No.

       4              THE COURT:    -- you were billing him --

       5              MR. ROSTAN:    No, actually, --

       6              THE COURT:    -- and he wasn’t paying you the total

       7    amount?

       8              MR. ROSTAN:    There -- no.    There was a prior period

       9    in which there was only partial payment and there was an

       10   arrears for that.    So, it was really --

       11             THE COURT:    That’s what I need --

       12             MR. ROSTAN:    So, really, two months.

       13             THE COURT:    -- on the record, counsel.

       14             MR. ROSTAN:    It’s really -- it’s really two months.

       15   And what had occurred was that there were a series of requests

       16   for XYZ payments and then Mr. Palmeroni would give us

       17   approximately two-thirds and then over time we started

       18   developing an arrears and then it amounted to 30,000 as of the

       19   last billing date.     And with every indication that the arrears

       20   would continue to build and we would be out without any

       21   ability to pay for costs and really, without even getting into

       22   the personal hardship that -- that -- that --

       23             THE COURT:    You were to -- well, would you place on

       24   the record, please, the makeup of the law offices.          How many

       25   attorneys work there.     I’m understanding now that the motion
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                                      Rostan - Argument                          170

       1    to amend has been granted.      The amount of work that it would

       2    require to not only prosecute as you are prosecuting the

       3    counterclaims in this case, but also defend against the newer

       4    allegations that are contained in the amended complaint.

       5              MR. ROSTAN:    That’s right.

       6              THE COURT:    So, how many -- you have to place that

       7    information on the record.

       8              MR. ROSTAN:    I’m sorry, say it again?

       9              THE COURT:    How many people are in your office,

       10   what’s the makeup, is it a solo firm.        I heard counsel say

       11   solo practitioners.     That needs to be placed on the record.

       12             MR. ROSTAN:    Right.    Well, on the record, Your Honor,

       13   you’re looking at my office.       There is -- we have employed Ms.

       14   Carol Stenger to help us with some paralegal work on a --

       15             THE COURT:    Per diem?

       16             MR. ROSTAN:    On a per diem basis.     And Fred and I,

       17   who have known each other for a number of years, and one of

       18   the reasons that we joined up was we thought it was way too

       19   much for one person and it’s probably, you know, in some ways

       20   too much for two persons, but we felt that if we worked

       21   together, that we’d be able to -- to --

       22             THE COURT:    Are your offices affiliated?

       23             MR. ROSTAN:    Pardon?

       24             THE COURT:    Are you one and the same?

       25             MR. SCAMPATO:    No, Your Honor.
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                                      Rostan - Argument                          171

       1              MR. ROSTAN:    No, we’re not.    We’re -- we’re --

       2              THE COURT:    So solo practitioners.

       3              MR. SCAMPATO:    Yes.

       4              MR. ROSTAN:    Yeah.

       5              THE COURT:    Okay.

       6              MR. ROSTAN:    I mean, Fred can speak for himself, but

       7    Fred is basically a solo practitioner and he has a part-time

       8    secretary.

       9              MR. SCAMPATO:    A full time.    Full time.

       10             THE COURT:    Okay.

       11             MR. SCAMPATO:    Full-time secretary.

       12             THE COURT:    In any event, --

       13             MR. ROSTAN:    A full-time secretary.

       14             THE COURT:    -- you’re both solo practitioners and you

       15   have obviously expressed outstanding invoices in the amount of

       16   $30,000; plus, based on the fact that you now have -- that Mr.

       17   Palmeroni was in arrears, you felt the need to have up-front

       18   payment with respect to perceived cost in the near future.

       19             MR. ROSTAN:    Absolutely.

       20             THE COURT:    That’s summing it up?

       21             MR. SCAMPATO:    Yes.

       22             MR. ROSTAN:    Yeah, absolutely.     I mean, we were

       23   before Judge Garrett Brown and the -- that it was a short

       24   phone conference.    Judge Brown made it very clear, you know, I

       25   want you to be ready, I want you to, you know, have the
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                                      Rostan - Argument                          172

       1    depositions scheduled, I want you to -- you know, if you need

       2    to fly to Illinois or fly to Texas, you be ready and you do it.

       3              THE COURT:    And based on what you’re placing on the

       4    record right now, you now -- when you wrote this motion,

       5    obviously, counsel, the ruling wasn’t official with respect to

       6    the motion to amend, correct?

       7              MR. ROSTAN:    If the ruling, I’m sorry?

       8              THE COURT:    The ruling --

       9              MR. SCAMPATO:    Was not.    That’s correct, Your Honor.

       10             THE COURT:    The ruling -- I had not ruled on the

       11   motion to amend.    I have since ruled on the motion --

       12             MR. ROSTAN:    Yes.

       13             THE COURT:    -- to amend, in which I granted the

       14   motion to amend.

       15             MR. ROSTAN:    That’s correct.

       16             THE COURT:    And so I am now asking you, do these

       17   costs, in terms of trying to defend the action, as well as

       18   prosecute the original action, there’s no money that is set

       19   aside for any costs associated with depositions and/or flying

       20   to Illinois and --

       21             MR. ROSTAN:    There is $822 sitting in my attorney

       22   trust account which we have set aside for working on the

       23   motion -- opposing the motion to amend and also on the

       24   spoliation, and I have reserved that 822, it’s still sitting

       25   in the attorney trust account, but that is the sum total of
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 173 of 197 PageID: 4721
                                Rostan / Scampato - Argument                       173

       1    what we have.

       2                And we estimated $10,000 of costs between travel and

       3    -- it -- I mean, you -- just in the first complaint we have

       4    Bengoa, you have --

       5                THE COURT:    Counsel, I don’t need you to outline.

       6                MR. ROSTAN:    Yeah.

       7                THE COURT:    I understand this case.    I’ve been

       8    involved in this case for years now.         I understand.   And I

       9    also know well my ruling with respect to the motion to amend

       10   and I can take judicial notice of the parties that have been

       11   added and the extent and complexity of the matter in total.

       12   All right?

       13               MR. ROSTAN:    Right.

       14               THE COURT:    Anything else?

       15               MR. SCAMPATO:    Only, Your Honor, I think I made a

       16   one-month mistake.       The last payment that we received was in

       17   February.    It was on March 1st that we requested the $40,000

       18   and it was on March 18th that we had requested that it be

       19   provided to us and he has not since provided it to us.           So,

       20   the last payment was in February.        April -- March and April

       21   and May have not been paid.

       22               THE COURT:    Okay.    Thank you, counsel.

       23               Before we go into my jury room, I will permit Mr.

       24   Palmeroni to place his objections on the record with respect

       25   to at least the financial aspects.         I remind you, Mr.
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                                    Palmeroni - Argument                         174

       1    Palmeroni, that you don’t want to get into conversations you

       2    may have had with your attorneys that are privileged and that

       3    relate to the defense of this action.

       4              We’re talking specifically now as to the amounts owed

       5    to your attorneys.     That they say, as of March 1st, you

       6    received an invoice of $40,000, that includes the $30,000 you

       7    still owed them, plus $10,000 in projected costs, to conduct

       8    some of the deposition and discovery and provide a defense and

       9    prosecute some of the claims in this case.        And that was even

       10   before the motion to amend was granted.        You also -- they

       11   requested payment on March 18th and the date obviously now is

       12   the 26th of May and they have yet to receive payment.

       13             What do you say with respect to the financial

       14   obligations that you have to your attorneys and, in

       15   particular, the contract that you signed that suggested that

       16   payment was due and owing to the attorneys within two weeks of

       17   the receipt of their invoice?

       18             MR. PALMERONI:    First of all, I think there’s a small

       19   misunderstanding or mischaracterization of how we were paid

       20   and billed, and also it leads into how much work there would

       21   be or that was projected in this case.

       22             Mr. Rostan and Mr. Scampato had al -- has always --

       23   has -- I’m sorry -- have always had monies up front as a

       24   retainer, so their bills were going against retainers.          And so

       25   to characterize it as missing payments, certainly when the
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 175 of 197 PageID: 4723
                                    Palmeroni - Argument                          175

       1    most recent payment became due, but I was warning them for

       2    months before that I just -- I just -- I was going to be

       3    running into trouble and it -- as it -- and, in fact, what --

       4    before Mr. Scampato came on, two days before, because you had

       5    instructed me I had 30 days to find a new attorney.

       6                I had been -- started to talk to Mr. Scampato

       7    immediately and wanted to try to make sure he was up and ready

       8    before the 30 days.     He expressed to me that he was taking the

       9    vacation of a lifetime and he wanted to do a joint contract

       10   between the two of them, so that while he was gone, he

       11   wouldn’t be required to stay and -- by you or give up his

       12   vacation.

       13               I refused to do that, because Mr. Rostan had already

       14   had a contract, but what I ended up getting is, in the mean

       15   time, Mr. Samaro sent a letter threatening to extend the scope

       16   of the case at that time, before Mr. Scampato came on.          And

       17   Mr. Scampato then doubled what he wanted for his retainer.

       18   And they have been paid retainers in advance.

       19               At a certain time, the retainers did -- did -- with

       20   these latest motions, get used up and there was a request for

       21   $15,000 a month or when it had to be -- when we got down to

       22   $5,000 in the retainer account, for it to be another $15,000

       23   to -- for each of them.     And I simply told them what I have

       24   been telling them and I -- and I ref -- and part of the reason

       25   this was brought so fast was I -- I had been telling them for
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                                    Palmeroni - Argument                         176

       1    months, I -- I -- I can’t accord $20,000 a month.         I don’t

       2    know how many human beings can, but I -- I can’t and I never --

       3    I refused to promise them and string them on and I -- and I

       4    requested many times that to -- to put the brakes on, to talk

       5    about what we -- because it doesn’t make a lot of sense to be

       6    going forward with all this without knowing where the end game

       7    is or whatever, because in the end, if -- if this is a

       8    monetary case, the other side is looking for money and -- and

       9    I -- I expressed many, many times that -- where I was

       10   financially.

       11             When the last retainer ran low is -- immediately I

       12   was told -- I was -- I was being requested 30,000 a month, but

       13   I wasn’t able to do that and so I was -- they were fine with

       14   20,000 a month.    When the next retainer came up, I said, well,

       15   I don’t have 20,000, I can give you 10.        At that point, it was

       16   raised to 40.

       17             So, you know, technically, I’m absolutely in arrears

       18   and -- and it’s about six weeks worth of legal work and I

       19   don’t take that lightly.      But I think there was a

       20   mischaracterization.     I have been paying up front for costs as

       21   long as I could until it was exhausted.

       22             The motion to amend.     I didn’t really want to fight

       23   that, but I was told that there was a fight there.          That’s

       24   money that, you know, again is getting taken out of the

       25   retainer every time.
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                                    Palmeroni - Argument                         177

       1              Without getting into -- I have a lot of issues that I

       2    think that could be discussed in camera, but without getting

       3    into that, I just wanted to address the billing, because it

       4    was a mischaracterization.      I have been paying an up-front

       5    retainer until the retainer ran out the last time and I said I

       6    can -- you know, I can get 10,000, but when I couldn’t get 20,

       7    it was, well then it’s 40.      Because the conference was three

       8    days away, three to four days.      It was six days away and I was

       9    told there had to be a decision by then.         So, the decision was

       10   that -- was then changed to a $40,000 retainer.

       11             And at this point, for me, Mr. Scampato insisted on

       12   about -- I spent about $15,000 so he could get cut up --

       13   caught up with the case and read through the case and I just --

       14   I just -- to get another lawyer to do that and to -- and to --

       15   I just think it would delay -- delay the procedures.          But

       16   certainly, --

       17             THE COURT:    The problem I have though, Mr. Palmeroni,

       18   is that this case has only got that much more complicated now,

       19   based on the ruling on the motion to amend.

       20             MR. PALMERONI:    Mm-hmm.    Mm-hmm.

       21             THE COURT:    The amount of parties involved.

       22             MR. PALMERONI:    Mm-hmm.

       23             THE COURT:    The amount of claims against you, as you

       24   know.   I mean, there are 30 new parties in this action.

       25             MR. PALMERONI:    Mm-hmm.    Mm-hmm.
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                                     Palmeroni - Argument                          178

       1              THE COURT:     So, the case is a lot different than what

       2    the attorneys signed on for initially and there’s a -- you’re

       3    stating very clearly on the record that there is a cash flow

       4    issue coming your way or coming their way from you.          And so,

       5    they are solo practitioners and, again, I cannot -- and I have

       6    to be cognizant of the financial burden it would place on solo

       7    practitioners to be forced to stay in a case in which they

       8    haven’t been paid thus far for the work that they have done,

       9    at least as of March.

       10             MR. PALMERONI:    Well, I mean, they have been paid in

       11   excess of $100,000, but they haven’t -- they haven’t been paid

       12   -- yeah, the retainer ran out -- I’m not -- I don’t believe it

       13   ran out in March.    I mean, as the bills came, there was --

       14   there was money forward, so I would believe as of April 1st,

       15   though, and then -- then that I was in arrears as of April

       16   1st.   That’s correct.

       17             But as far as the scope of the case, as I said,

       18   although there wasn’t a motion to amend, certainly a motion to

       19   amend was out there.     Certainly, the -- Mr. Scampato himself

       20   said that those are almost always granted.        So, you know,

       21   that’s -- I had been saying, since that was even talked about,

       22   as I said, my retainer with Mr. Scampato was doubled because

       23   of a letter from Mr. -- from Mr. -- you know, and -- and I

       24   guess that’s attorney-client privilege, but you’ve asked me

       25   and -- and that’s -- you know, that’s what happened.          You
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                                    Palmeroni - Argument                         179

       1    know, I have the e-mails and that’s -- that’s the position I’m

       2    in.

       3              I have been asking since the very beginning of this

       4    case what we could do to settle the case, what -- what we were

       5    looking for and I was finally told by Mr. Rostan and Mr.

       6    Scampato that they would ask for a settlement case at the same

       7    time they asked to be let off the case.        So, I was always told

       8    it wasn’t the --

       9              THE COURT:    Do you still have an interest to settle

       10   this case?

       11             MR. PALMERONI:    What’s that?

       12             THE COURT:    Do you still have an interest to settle

       13   this case?

       14             MR. PALMERONI:    I have been -- I have had an interest

       15   since the beginning, Your Honor.

       16             THE COURT:    Have you ever been given a demand?

       17             MR. PALMERONI:    Never.    And, in fact, Mr. Scampato

       18   did -- he -- you know, because I was -- I was struggling with

       19   this.   I don’t want to owe anybody anything and I -- and I

       20   said, you know, why isn’t anybody, you know, talking and all I

       21   keep being told by everyone is it’s not the time, it’s not the

       22   time.   And I said, it just doesn’t make sense.        And what ended

       23   up happening is -- and -- and I understand that this will be

       24   on the record, but if we’re not in camera, I’m going to say it

       25   right here.
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                                    Palmeroni - Argument                          180

       1               I was on a conference call with Mr. -- and I’m going

       2    to release this -- Mr. Rostan and Mr. Scampato and I said “At

       3    a certain point, you know -- you know, I’m going to be

       4    bankrupt.”   And Mr. Rostan said “Well, I want you to contact

       5    some bankruptcy attorneys.”      The next day is when I was -- I

       6    was told that my -- my retainers would be going up, etcetera.

       7               I can’t blame -- again, I can’t blame anybody, but I

       8    think everybody was cognizant of where were going here.          I

       9    have asked for settlements from day one.        There was -- we have

       10   asked even when Mr. Grossman -- in the first month with Mr.

       11   Grossman, we sent over formal requests for settlements.          Even

       12   a settlement request, as a said, Mr. Scampato said, you know,

       13   “I did send something over and I got no reply.         That’s all I

       14   can do.”

       15              So, you know, if I don’t know a number --

       16              THE COURT:   All right.    I understand.    I --

       17              MR. PALMERONI:   If I don’t know a number -- and --

       18   and, you know, now that these records are nowhere to be found

       19   and they’re talking about Smart World -- they were paid for --

       20   from what I --

       21              THE COURT:   Be careful, Mr. -- be careful.

       22              MR. PALMERONI:   Well, what I -- what I can see is --

       23              THE COURT:   Be careful with what you --

       24              MR. PALMERONI:   -- there is -- there is no -- without

       25   the very records that they destroyed, there is no legitimate
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 181 of 197 PageID: 4729
                               Palmeroni - Argument / Ruling                     181

       1    way that they could even say what their damages were.          And --

       2    and so, if -- if -- but they’ve given us a number.          We’ve

       3    asked since the first month and this has been going on five

       4    years.

       5               THE COURT:   All right.    I am going to at this point

       6    break.   The hour is 7:20.     I’ll be -- I am going to go into my

       7    jury room with both Mr. Rostan and Mr. Scampato to discuss

       8    what they deem as privileged and confidential information that

       9    they cannot disclose on the record.       I will meet with you now,

       10   counsel.

       11              (Off the record from 7:19 p.m. to 7:30 p.m.)

       12              THE COURT:   Please be seated, everyone.

       13              The time is now 7:31.     We’re back on the record in

       14   the matter of N.V.E., Inc. versus Jesus J. Palmeroni, et al.,

       15   Civil Action Number 06-5455.

       16              Counsel has provided the Court with both a written

       17   document and then I have met with the attorneys as well ex

       18   parte do discuss some of the aspects of the motion.          It is

       19   clear to this Court that clearly there is a breakdown in the

       20   attorney-client relationship.

       21              There -- the Court would note that Local Civil Rule

       22   102.1 provides that, quote:      “Unless counsel is substituted,

       23   no attorney may withdraw an appearance except by leave of

       24   court.   After a case has been first set for trial,

       25   substitution and withdrawal shall not be permitted, except by
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 182 of 197 PageID: 4730
                                            Ruling                               182

       1    leave of Court.”    End of quote.

       2              As the language in Local Civil Rule 102.1 reflects,

       3    quote, “The decision of whether to permit counsel to withdraw

       4    is left to the sound discretion of the court.”         End of quote.

       5    Rusinow versus Kamara, 920 F.Supp. 69, 71 (D.N.J. 1996).

       6              In determining if good cause for withdrawal exists,

       7    the court begins with Rule of Professional Conduct 1.16(b),

       8    which permits an attorney to withdraw from representing a

       9    client if withdrawal can be accomplished without material

       10   adverse effect on the interest of the client.

       11             And I would note that Mr. Palmeroni has indicated

       12   that he feels that the case would be delayed and that he would

       13   be prejudiced, so I am bearing in mind his statement on the

       14   record with respect to that point.

       15             I also find, however, that number 5 is applicable,

       16   which is “The client fails substantially to fulfill an

       17   obligation to the lawyer regarding the lawyer’s services and

       18   has been given reasonable warning that the lawyer will

       19   withdraw unless the obligation is fulfilled.”

       20             And I have heard counsel’s recitation of the facts

       21   with respect to the financial obligation in this matter and

       22   clearly there was an agreement and a binding agreement upon

       23   Mr. Palmeroni in which he was to satisfy any and all

       24   outstanding invoices within two weeks of receipt.

       25             I understand Mr. Palmeroni’s position with respect to
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 183 of 197 PageID: 4731
                                            Ruling                               183

       1    the economic constraints he now faces; however, it is clear

       2    that this case is only going to be more complex and is more

       3    complicated in light of the Court’s recent ruling with regard

       4    to the motion to amend and, therefore, the outstanding

       5    invoices in the amount of 30,000 will likely double, triple in

       6    time.

       7              So, the Court is cognizant that, in fact, Mr.

       8    Palmeroni has already admitted that he does owe the attorneys

       9    $30,000 and that amount has not been paid and nor have I heard

       10   anything from Mr. Palmeroni that would suggest that he would

       11   be able to pay that amount within the time period as required

       12   by the contractual agreement.

       13             I’m also going to find that 6 is applicable, “The

       14   representation will result in an unreasonable financial burden

       15   on the lawyer or has been rendered unreasonably difficult by

       16   the client.”

       17             Quite frankly, both gentlemen have spoken candidly to

       18   me on the record regarding being solo practitioners and not

       19   having any other attorneys there.        Again, the only attorneys

       20   working the case, on different aspects, Mr. Scampato defending

       21   the claims and Mr. Rostan pursuing the counterclaims in this

       22   action.   Based on the fact that they are solo practitioners

       23   and understanding, again, the complexity of this case and that

       24   a great deal of discovery remains outstanding, including

       25   depositions and expert discovery, if necessary, I do find that
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                                            Ruling                                 184

       1    requiring solo practitioners to remain in a matter such as

       2    this one would be -- would impose an unreasonable financial

       3    burden on the solo practitioners.

       4              I also find that good cause is applicable in this

       5    case.   Quite frankly, I’m hearing from the attorneys, and

       6    based on -- and I am not going to elaborate based on our

       7    meeting, but I will say that it has been made known to the

       8    Court that there is an issue with cooperation from Mr.

       9    Palmeroni in cooperating with his counsel.

       10             MR. PALMERONI:    Your Honor, can I speak to that?

       11             THE COURT:    No, you can’t.    I’m ruling now.

       12             And, quite frankly, I can see the tension between the

       13   attorneys and the client and that is no way something that is

       14   good for anyone.    These are very serious allegations.        There

       15   are in upwards of -- last I heard on the phone, Mr. O’Connor,

       16   millions of dollars that would be sought in damages, correct?

       17             MR. O’CONNOR:    Yes, Your Honor.

       18             THE COURT:    This is a case that involves severe

       19   ramifications if indeed Mr. Palmeroni is found liable of some

       20   of the claims that are alleged in the complaint and the

       21   amended complaint.     There’s a lot at stake in this case and we

       22   cannot have attorneys and clients that are at odds, and clearly

       23   the attorneys are at odds with their client at this juncture.

       24   It’s evident from the proceeding, it’s evident from what I’ve

       25   heard and, in fact, I would have permitted Mr. Palmeroni and I
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                                            Ruling                               185

       1    would have gone in camera and discussed this matter with Mr.

       2    Palmeroni, but I find that it’s overwhelmingly clear to this

       3    Court that there is a reasonable basis and, in fact, good cause

       4    to grant the -- his motion -- your attorneys’ motion to

       5    withdraw in this case and, therefore, I find that good cause

       6    exists.

       7              I am going to also remind Mr. Palmeroni, as I have

       8    reminded him in the past when faced with yet a similar motion

       9    a few months ago from Mr. Grossman, that Mr. Palmeroni is not

       10   a licensed attorney, he cannot represent any of the

       11   corporations in this matter, corporations cannot be

       12   represented by non-attorneys and a corporate entity can only

       13   appear in federal court through a licensed attorney, as the

       14   Supreme Court of the United States made clear in Rowland v.

       15   California Men’s Colony, 506 U.S. 194, 202 (1993).

       16             “It has been the law of the land” -- and I am

       17       quoting.    “It has been the law of the land for the better

       18       part of two centuries that a corporation may not appear in

       19       federal court” -- well, strike that -- “a corporation may

       20       appear in federal court only through licensed counsel.”

       21       End quote.

       22             And counsel, if indeed there are any named defendants

       23   that are corporations, they will not be permitted to -- Mr.

       24   Palmeroni will not be permitted to represent any of the

       25   corporate entities that may be implicated with respect to not
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                                            Ruling                               186

       1    only prosecuting any counterclaims, but and/or defending

       2    against any claims in this matter.

       3              That being said, Mr. Palmeroni, how long do you need

       4    to try to find new counsel?

       5              MR. PALMERONI:    Sixty days, Your Honor?

       6              MR. O’CONNOR:    Judge, --

       7              THE COURT:    Mr. O’Connor?

       8              MR. O’CONNOR:    Judge, my objection is that I would

       9    ask that you give him 30 days to find counsel, because we all

       10   know that counsel is going to come in here and they’re going

       11   to ask for an extension of time to go over stuff and this is

       12   going to get delayed for five or six months without anything

       13   happening.   So, I really ask that you give Mr. Palmeroni 30

       14   days, not 60 days, to find new counsel.

       15             THE COURT:    I understand your objection.      I am going

       16   to give him slightly more than 30 days.        I am going to give

       17   him until the end of June.

       18             Mr. Palmeroni shall find new counsel.        His or her

       19   appearance must be entered and noticed, formally noticed for

       20   the record by June 30th.      Failure to provide -- failure to

       21   enter his or her appearance will mean --

       22             And I do hereby advise you Mr. Palmeroni that I’m

       23   viewing you as pro se at this point, so you are going to have

       24   to represent yourself as it relates to any claims you may have

       25   between you and against N.V.E., but any claims that may be
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                                            Ruling                               187

       1    lodged against you as an individual defendant.         Okay?   Do you

       2    understand that?    You’re representing yourself.       You’re pro se

       3    from this moment on.     Until counsel comes in.

       4              And you should advise any attorney that comes in that

       5    I cannot nor will I give them 60, 90; it’s not happening.

       6    They’re going to have to hit the ground running with respect

       7    to defending this action.      And that is, of course, in light of

       8    history of this case and, in fact, the age of the case as

       9    being of 2006.    It’s one of the older cases on His Honor’s

       10   docket.   I have been given instruction that we need to move

       11   this case and, therefore, I will not be permitted nor will I

       12   permit any counsel that may come into this case and extend the

       13   period of time to get, you know, familiar or acclimated.           It’s

       14   just not -- it’s not something I can give at this time.

       15             Counsel, there has been an objection raised in your

       16   opposition to the motion and I want to put that on the record.

       17   And now that we have Mr. Palmeroni here representing himself,

       18   we need to talk about the tax documents that you have

       19   requested and what you need from Mr. Palmeroni.         You noted

       20   specifically in your objection on page 4 with respect to

       21   documents.   And that was on March 9, 2011.

       22             And Mr. O’Connor or Ms. Smith, I understand there was

       23   a second request of production of documents from his then-

       24   counsel relating to IRS proceedings against Mr. Palmeroni.           He

       25   has refused to produce a single document, according to your
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                                      O’Connor - Argument                          188

       1    papers.   And he -- and with regard to tax-related documents,

       2    Mr. Palmeroni has claimed that they are protected by the

       3    attorney-client privilege.

       4              What is the basis of your objection with respect to

       5    these documents and what would you ask as a remedy from this

       6    Court?

       7              MR. O’CONNOR:    Your Honor, the documents do not seek

       8    any information with any attorney-client privilege.          What we

       9    have sought is correspondence and other documents between the

       10   IRS and Mr. Palmeroni or between the IRS and any tax counsel

       11   or lawyer that he’s had.      So, we didn’t ask for the documents

       12   between Mr. Palmeroni’s attorney and Mr. Palmeroni, we’re

       13   asking for the IRS documents.      So, there -- the fact that you

       14   give them to your lawyer doesn’t make them privileged.

       15             We’d ask one of two things, Judge:       one is that you

       16   order Mr. Palmeroni to either get us the documents or instruct

       17   his tax counsel to provide us the documents; or we had an

       18   authorization drafted up to Ms. Judith Harris, Esquire, which

       19   we understand to be his lawyer from Mr. Rostan and Mr.

       20   Scampato, and we had given them an authorization saying “If

       21   you have your client sign the authorization, then we’ll get

       22   them directly from Ms. Harris.”

       23             So, I would ask, I guess, for either one or both of

       24   those.

       25             THE COURT:    Mr. Palmeroni, what is your position with
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                                    Palmeroni - Argument                         189

       1    respect to the tax documents that have been referenced by the

       2    plaintiffs in this matter?

       3              And in particular, sir, I would note that clearly

       4    these tax documents, they are not asking you for

       5    correspondence or communication between your tax attorney, but

       6    any tax documents that were provided to your attorney that

       7    relate to an IRS proceeding against you.        That’s not

       8    necessarily privileged and you have an obligation under our

       9    discovery rules to provide that information and/or sign an

       10   authorization for them to get it.

       11             MR. PALMERONI:    Your Honor, originally I discussed

       12   this with Mr. Scampato.     He had said that the only thing that

       13   he felt was relevant were the tax documents themselves, the

       14   tax returns, not tax liens, etcetera, because we didn’t feel

       15   they were in your original order.       Nor do I feel they are

       16   relevant to the case.

       17             That being said, we made a counteroffer at the time

       18   that said, as long as we could redact anything in there that

       19   we found privileged or things such as my children’s Social

       20   Security Numbers, things that were not relevant to the case,

       21   that we --

       22             THE COURT:    Well, there’s a discovery confidentiality

       23   order, is there not?

       24             MR. O’CONNOR:    There is, Judge, and this is the first

       25   we’ve heard about redacting his children’s Social Security
Case 2:06-cv-05455-MCA-LDW Document 209 Filed 06/16/11 Page 190 of 197 PageID: 4738
                                O’Connor - Argument / Ruling                     190

       1    Numbers.

       2                THE COURT:   Do you have any objection to that?

       3                MR. O’CONNOR:   I don’t have an objection to his

       4    children’s Social Security Numbers.       I have -- what I want is

       5    the documents relating to Mr. Palmeroni and if they’re related

       6    -- well, I guess I’ll see the information.        If it turns out

       7    that Mr. Palmeroni has transferred assets to his children,

       8    then I’m going to want that information to trace the assets.

       9    But, you know, that’s -- you know, we can do this in steps,

       10   Judge, if you -- if that’s what you think appropriate.

       11               THE COURT:   First of all, there’s a discovery

       12   confidentiality order that clearly is --

       13               MR. O’CONNOR:   That -- and we’re --

       14               THE COURT:   -- in place; correct, Mr. O’Connor?

       15               MR. O’CONNOR:   Yes there is and, you know, we’ve -- I

       16   think the Court ordered a confidentiality order.         If you want,

       17   Judge, we will redo the stip -- the standard stipulation that

       18   the district court has to deal with that.        We can do that.

       19               THE COURT:   No, I have one in place.

       20               MR. O’CONNOR:   All right.

       21               THE COURT:   Mr. Palmeroni, this information is

       22   relevant.    I find that the tax information, including the

       23   liens, are relevant in this matter.       I have already ruled on

       24   this in a prior proceeding.      You’ve got to hand this stuff

       25   over.
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                                            Ruling                                 191

       1              So, quite frankly, it probably is safer for you to

       2    sign an authorization and let the attorneys get the documents

       3    from your attorney; but, if not, you’ve got to get these

       4    documents from your tax attorney and I don’t want to hear that

       5    you’re redacting anything other than your children’s Social

       6    Security Number.

       7              MR. PALMERONI:    Well, Your Honor, I regularly -- what

       8    we’ve received from N.V.E. is regularly redacted, customers’

       9    names and things such as that; and, again, in conferring with

       10   former counsel, they said nothing should be redacted.          But I

       11   see that, in fact, there was some paperwork that came in from

       12   a Quality K or something that had been subpoenaed and that was

       13   all redacted before it reached them or myself.

       14             N.V.E. and Mr. Jensen have redacted dozens and dozens

       15   of pages before they’ve reached me and there were simple

       16   things such as there were e-mails suggesting certain things

       17   that were going on, but the person to where the e-mail was

       18   going was not on there, so we couldn’t --

       19             THE COURT:    But I’m not dealing with right now

       20   redacting -- an objection with respect to redacted documents.

       21   I am dealing right now with tax information that I clearly

       22   find relevant.    And I understand your concern with your --

       23   with respect to your children’s Social Security Numbers and it

       24   may turn out that, depending on the paper trail, there may be

       25   a need to review those Social Security Numbers.
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                                            Ruling                                 192

       1              But there is a confidentiality order in place that

       2    doesn’t permit counsel to use the information outside the

       3    boundaries of this litigation.      I think that protects you and

       4    I find that you’re either going to sign the order that -- the

       5    authorization or you are going to get these documents and

       6    provide them to Mr. O’Connor by June 30th.

       7              MR. PALMERONI:    Yes, Your Honor.

       8              MR. O’CONNOR:    May I provide Mr. Palmeroni with the

       9    authorization?

       10             THE COURT:    Is he going to do an authorization or are

       11   you going to get the documents, Mr. Palmeroni?

       12             MR. PALMERONI:    I’ll discuss it with my tax attorney

       13   and --

       14             THE COURT:    Take the authorization and if you’re

       15   inclined to take the authorization and sign the authorization,

       16   that’s probably the easiest thing to do, but I am not telling

       17   you what to do.    I am just saying that whatever happens, I

       18   want to make sure that it is in the hands of the attorneys by

       19   June 30th.   And that’s also going to be included in my order,

       20   so I am going to ask defense counsel to do an order.          I know

       21   you gave me a proposed order, but here is the order:

       22             The order has to be amended to indicate that Mr.

       23   Palmeroni is deemed pro se from this moment on.         The order has

       24   to indicate that Mr. Palmeroni has to find counsel and counsel

       25   must enter his or her -- I’m going to be asking withdrawing
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                                            Ruling                               193

       1    counsel to do this order, so let’s make sure we know what

       2    we’re doing, okay?

       3              I am asking withdrawing counsel to give me an order

       4    that includes the standard language that was provided in the

       5    proposed order.    In addition, it is going to have language

       6    that asserts that Mr. Palmeroni is now representing himself

       7    pro se.

       8              That he is to have counsel that comes into this case

       9    no later than June 30th.

       10             That he is to provide any and all tax documents as it

       11   relates to the second request for production relating to his

       12   doc -- relating to documents regarding an IRS proceeding

       13   against Mr. Palmeroni.     Those documents need to be produced to

       14   N.V.E. no later than June 30th.       He is either going to sign

       15   the authorization and provide the -- or -- and -- strike that.

       16   He is either to sign the authorization or provide the

       17   documents by June 30th.

       18             The documents shall not be redacted, with the

       19   exception of personal information of his children, that being

       20   Social Security Numbers.

       21                              (Extended pause)

       22             THE COURT:    Anything further that the order should

       23   contain, Mr. O’Connor?

       24             MR. O’CONNOR:    Your Honor, if I might be so bold?        If

       25   you -- to provide docs by June 30th, that’s perfectly
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                                      Ruling / Colloquy                           194

       1    acceptable.    If he’s only going to sign the authorization, can

       2    we get that by June 15th, so that we can get the lawyer to

       3    provide the documents?

       4              THE COURT:    Great.   I don’t have a problem.      I was

       5    actually thinking that.

       6              So, if the authorization is only going to signed,

       7    then that should be signed by June 15th.        If Mr. Palmeroni is

       8    going to work in conjunction with his tax attorney to prepare

       9    those documents, copy them and send them over to N.V.E., then

       10   those documents can be received by Mr. O’Connor and his office

       11   by June 30th.

       12             MR. O’CONNOR:    Thank you, Judge.

       13             THE COURT:    Anything further?

       14             MR. O’CONNOR:    No, Your Honor.

       15             THE COURT:    We’re going to have a status conference

       16   in early July?

       17             MR. O’CONNOR:    Yeah.   Judge, I mean, I -- we have

       18   other things.    We have a couple motions to quash and whatnot,

       19   but there’s nothing further for today and I guess we’ll deal

       20   with that on June 30th on the motions.

       21             THE COURT:    Well, until I know who is in and who is

       22   out and if he’s representing himself and if any of the

       23   corporate entities that, you know, we now know they’re going

       24   to be seeking documents from, he can’t litigate that if he’s

       25   on his own.    And I know there was an intention to try to quash
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                                             Colloquy                              195

       1    some of the documents that are being sought from some of the

       2    new corporate entities, correct?

       3                MR. O’CONNOR:    Yes.    There is -- either Mr. Scampato

       4    or Mr. Rostan, I forget which one, had written a letter trying

       5    to object to the subpoenas.

       6                Judge -- and I’m not trying to take advantage.       Can

       7    we proceed with preparing other subpoenas, as necessary, as

       8    long as we have a return date after June 30th, so at least we

       9    get those out?

       10               THE COURT:   Sure.    Yeah, I mean we need to move this

       11   case.   Nothing is stayed.       You need to move this, prosecute it

       12   as you will.    Mr. Palmeroni is going to do what he can do as a

       13   pro se litigant and I strongly suggest that Mr. Palmeroni get

       14   himself onto the electronic filing, which he can as a pro se

       15   litigant.    I also strongly suggest he get the Guide to Federal

       16   Litigation and do his best.         He is very articulate.   I have

       17   noted that for the record and I think he’s going to be able,

       18   at least until the -- you know, until we know whether he’s

       19   going to find new counsel -- and he’ll have to do his best to

       20   get caught up on what he needs to do in the discovery process.

       21               MR. PALMERONI:    Your Honor, could you repeat the --

       22   you said get on the electronic filing system?         How would I do

       23   that?

       24               THE COURT:   You’ve got to call the clerk’s office.        I

       25   can’t give you legal advice.         Call the clerk’s office.   I’m
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                                           Colloquy                                196

       1    sure your attorneys will give you the clerk’s office number.

       2    Do me that favor.

       3              MR. PALMERONI:    And then --

       4              MR. SCAMPATO:    Yes, Your Honor.

       5              MR. PALMERONI:    And then you --

       6              THE COURT:    All right?

       7              MR. PALMERONI:    And then you said the Guide to

       8    Federal --

       9              THE COURT:    You can get that from the clerk’s office

       10   and you can also get it online.

       11             MR. PALMERONI:      -- Federal Litigation?

       12             THE COURT:    Yeah, the Pro Se Guide to Federal

       13   Litigation.

       14             Anything else, counsel?

       15             MR. O’CONNOR:    No, Your Honor.     Thank you.

       16             THE COURT:    I think the courtroom is open, but if you

       17   have any trouble getting downstairs, let me know.

       18             MR. O’CONNOR:    Judge, thanks for your patience.        I

       19   appreciate it.

       20             MR. ROSTAN:    Thank you, Your Honor.

       21             MR. SCAMPATO:    Thank you, Your Honor.

       22             THE COURT:    Not a problem, counsel.      Always a --

       23                    (Hearing concluded at 7:49 p.m.)

       24

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                                                                                 197

       1                         C E R T I F I C A T I O N

       2              I, TERRY L. DeMARCO, certify that the foregoing is a

       3    correct transcript from the electronic sound recording of the

       4    proceedings in the above-entitled matter.

       5

       6          06/08/11                         S / Terry L. DeMarco
                    Date                           Terry L. DeMarco, AD/T 566
       7                                           KLJ Transcription Service

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